Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 1 of 66

Electronically Filed

6/14/2019 10:46 AM

Fourth Judicial District, Ada County
Phil McGrane, Cierk of the Court
By: Amy King, Deputy Clerk

Wayne Meuleman, [SB #1419

Joe Meuleman, ISB #8029

Joseph F. Southers, ISB #9568
MEULEMAN LAW GROUP PLLC
950 West Bannack Street Suite 490
Boise, [Idaho 83702

(208) 472-0066 Telephone

(208) 472-0067 Facsimile
wmeuleman@meulemanlaw.com
jmeuleman@meulemanlaw.com

jsouthers@meulemanlaw.com
1:\,8335.006\PLD\ Complaint 190613.docx

 

Attorneys for Plaintiffs

IN THE DISTRICT COURT OF THE FOURTH JUDICIAL DISTRICT
OF THE STATE OF IDAHO, IN AND FOR THE COUNTY OF ADA

SBP LLLP, an Idaho limited liability Case No CV01-19-10818
limited partnership; JRS PROPERTIES ,
IH LP, an Idaho limited partnership;
and [‘R. SIMPLOT FOUNDATION, CPD CaATON TO STAY
INC, an Idaho corporation, ARBITRATION

Plaintitts, Fee Category: AA

Fee: $221.00
VS,

HOFFMAN CONSTRUCTION
COMPANY OF AMERICA, an Oregon
corporation,

Defendant.

 

 

Plaintiffs SBP LLLP, an Idaho limited liability limited partnership (“SBP”);
JRS Properties IIf LP, an Idaho limited partnership (“Properties”); and J.R. Simplot
Foundation, Inc., an Idaho corporation (“Foundation”) (collectively, “Plaintiffs”),
by and through their counsel of record, Meuleman Law Group PLLC, for causes of
action against Defendant Hoffman Construction Company of America

(“Hoffman”), complain and allege as follows:

COMPLAINT AND APPLICATION TO STAY ARBITRATION ~ Page 1

 
Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 2 of 66

PARTIES

1. SBP is and at all times material hereto an Idaho limited liability
limited partnership in good standing and authorized to do business in the State of
idaho.

2. Properties is and at all times material hereto an Idaho limited
partnership in good standing and authorized to do business in the State of Idaho.

3. Foundation is and at all times material hereto an Idaho corporation
in good standing and authorized to do business in the State of Idaho.

4, Plaintiffs are informed and believe that at all times material hereto,
Hoffman is and was an Oregon corporation authorized to do business in the State
of Idaho, with an office in Boise, Idaho.

JURISDICTION AND VENUE

5. This Court has jurisdiction over this matter pursuant to Idaho Code
§ 1-705.

6. Venue is appropriate in this Court pursuant to Idaho Code § 5-404.

GENERAL ALLEGATIONS

7. On or about October 14, 2009, SBP entered into a written agreement
(“SBP Agreement”) with Hoffman whereby, among other things, Hoffman agreed
to provide services and work as construction manager consistent with the interest
of SBP to construct certain improvements on real property located in Ada County
and owned by SBP commonly known as Office Complex and Related Facilities. A

true and correct copy of the executed SBP Agreement, as amended, is attached

hereto as Exhibit A.

8. The SBP Agreement does not include an arbitration provision.

9. Section 9.1 of the SBP Agreement, entitled Dispute Resolution, states
as follows:

COMPLAINT AND APPLICATION TO STAY ARBITRATION - Page 2
Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 3 of 66

In an effort to resolve any claim, dispute or other
matter in question arising out of or related to this
Agreement or breach thereof, either party may request
mediation in accordance with the Construction
Industry Mediation Rules of the American Arbitration
Association, the costs of which shall be equally shared
by the parties.

10.  Onor about January 9, 2012, Properties entered into a written
agreement (“Properties Agreement”) with Hoffman whereby, among other things,
Hoffman agreed to provide services and work as construction manager consistent
with the interest of Properties to construct certain improvements on real property
located in Ada County and owned by Properties commonly known as Demolition
of Existing Structures, Site Preparation and Project Mobilization. A true and
correct copy of the executed Properties Agreement is attached hereto as Exhibit B.

11. The Properties Agreement does not include an arbitration provision.

12. Section 9.1 of the Properties Agreement, entitled Dispute Resolution,

states as follows:

In an effort to resolve any claim, dispute or other
matter in question arising out of or related to this
Agreement or breach thereof, either party may request
mediation in accordance with the Construction
Industry Mediation Rules of the American Arbitration
Association, the costs of which shall be equally shared
by the parties.

13. On or about February 8, 2010, Simplot entered into a written
agreement (“Foundation Agreement”) with Hoffman whereby, among other
things, Hoffman agreed to provide services and work as construction manager
consistent with the interest of Foundation to construct certain improvements on
rea] property located in Ada County and owned by Simplot commonly known as
Simplot Foundation Park and Studio Complex. A true and correct copy of the

executed Foundation Agreement is attached hereto as Exhibit C.

COMPLAINT AND APPLICATION TO STAY ARBITRATION - Page 3
Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 4 of 66

14. The Foundation Agreement does not include an arbitration
provision.
15. Section 9.1 of the Foundation Agreement, entitled Dispute

Resolution, states as follows:

In an effort to resolve any claim, dispute or other
matter in question arising out of or related to this
Agreement or breach thereof, cither party may request
mediation in accordance with the Construction
Industry Mediation Rules of the American Arbitration
Association, the costs of which shall be equally shared
by the parties.
16. On or about June 5, 2019, Hoffman filed a Demand fer Arbitration
against Plaintiffs with the American Arbitration Association. Hoffman’s Demand
seeks to arbitrate Hoffman’s disputes arising out of each Agreement in a single

arbitration against Plaintiffs.

FIRST CAUSE OF ACTION
For Declaratory Relief under Idaho Code § 10-1201, et seq.,
Construing the SBP Agreement, Properties Agreement and Foundation
Agreement Dispute Resolution Provision

17. ‘Plaintiffs repeat and reallege each and every allegation set forth in
Paragraphs 1 through 16, inclusive, as though fully set forth herein.

18. SBP and Hoffman have disputed and still dispute whether an
arbitration agreement governs their relationship under the SBP Agreement.

19. Properties and Hoffman have disputed and still dispute whether an
arbitration agreement governs their relationship under the Properties Agreement.

20. Foundation and Hoffman have disputed and still dispute whether an
arbitration agreement governs their relationship under the Foundation
Agreement.

21. Pursuant to Idaho Code § 10-1201, Plaintiffs are entitled to

declaratory relief by the Court determining that the SBP Agreement, Properties

COMPLAINT AND APPLICATION TO STAY ARBITRATION ~ Page 4
Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 5 of 66

Agreement and Foundation Agreement (collectively, “Agreements”) do not

include agreements to arbitrate with Hoffman.

SECOND CAUSE OF ACTION
For Stay of Arbitration Demanded by Hoffman
under Idaho Code § 7-902{b)

22. ‘Plaintiffs repeat and reallege each and every allegation set forth in
Paragraphs 1 through 21, inclusive, as though fully set forth herein.

23. Hoffman filed the Demand before Plaintiffs filed this action.

24. Pursuant to Idaho Code § 7-902(b), this Court has authority to stay
the arbitration sought in the Demand because there is no agreement to arbitrate.

ATTORNEYS’ FEES AND COSTS

Plaintiffs have been required to retain the services of an attorney to bring
this suit and are entitled to an award of reasonable attorneys’ fees and costs
incurred pursuant to Idaho Code §§ 10-1210, 12-120 and 12-121, and Rule 54 of the
idaho Rules of Civil Procedure.

PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray for relief against Hoffman as follows:

A, As to the First Cause of Action, the entry of judgment in favor of
Plaintiffs against Hoffman as follows:

1. For a declaration under Idaho Code § 10-1201 determining

that none of the Plaintiffs agreed to arbitrate disputes with Hoffman;

2. For reasonable attorneys’ fees;

3. For costs of suit herein; and

4. For such other and further relief as the Court deems just and
proper.
B. As to the Second Cause of Action, the entry of an order under Idaho

Code § 7-902(b) staying the arbitration sought in the Demand.

COMPLAINT AND APPLICATION TO STAY ARBITRATION - Page 5
Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 6 of 66

DATED this _14th_ day of June, 2019.

 

Wayfie eman, tney for Plaintiffs

COMPLAINT AND APPLICATION TO STAY ARBITRATION -— Page 6
Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 7 of 66

WALA Document A121°CMc — 2003 and AGC

Document 565

Standard Form of Agreement Between Owner and Construction Manager where the
Construction Manager is Also the Constructor

| AGREEMENT made as of the First day of December in the year Two Thousand Fight
(in words, indicate day, month and year.)

ADDITIONS AND DELETIONS:
BETWEEN the Owner: The author of this document has
(Name and address) added information needed for its

completion. The author may also
SBP LLLP . have revised the text of the original
999 Main Street, Suite 1300 AIA standard form. An Additions and
Boise Idaho Deletions Report that notes added
USA 83702 information as well as revisions to the

and the Construction Manager:
(Name and address)

Hoffman Construction Company of America

standard form text is avaiable from
the author and should be reviewed. A
vertical fine in the left margin of this
document indicates where the author
has added necessary information
and where the author has added to of

805 SW Broadway Suite 2100 / deleted from the onginal AIA text.
Portland, Oregon This document has imporant legal
USA 97205 consequences. Consultation with an

attomey is encouraged with respect
ta its completion or modification.
The Project is:

(Name, address and brief description) The 1987 Edition of AKA Document

A201, General Conditions of the
Contract for Construction, is referred
to herein. This Agreement requires
modification if other general
conditions are utilized.

Office Complex & Related Facilities
Boise Idaho
Boise Mixed Use Development (Project Idaho)

The Architect is:
{Name and address)

Architect Susan Desko ALA — Lead (Design) Architect
Adamson Associates, AATArchitects Inc. — Executive Architect and Payment Certifier

The Owner and Construclion Manager agree as set forth below:

The Project includes approximately 180,000 square feet of office space and
approximately 20,000 square feet of cafeteria, tribute space (office reception) and
conference facilities and approximately 300,000 square feet of parking facilities and
support facilities.

 

AIA Document Ai2Z1™*GMc — 2003 and AGC Document 565. Copyright © 1991 and 2009 by The American Institute of Architects and The Associated General
Contractors of America, All rights reserved. WARNING; This dacument is protected hy U.S. Copyright Law and International Treaties. Unauthorized {
reproduction or distribution of thls document, or any portion of iL may resultin severe civit and criminal penallies, and will be prosecuted to the

t maximum extent possible under the law, This document was produced by ATA sofiware at 20:55:59 on 05/26/2009 under Order No.1000985170_1 which expires

on 1/49/2016, and ig nat for resale,

User Notes: {2075910671}

Init.

EXHIBIT A
Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 8 of 66

| TABLE OF CONTENTS
ARTICLE 7 GENERAL PROVISIONS
§ 1.4 Relationship of the Parties
§ 41.2 General Conditions

ARTICLE 2 CONSTRUCTION MANAGER'S RESPONSIBILITIES
§ 2.1 Preconstruction Phase
§ 2.2 Guaranteed Maximum Price Proposal and Contract Time
§ 2.3 Construction Phase
§ 2.4 Professional Services
§ 2.5 Hazardous Matenals

ARTICLE 3 OWNER’S RESPONSIBILITIES
§ 3.1 Information and Services
§ 3.2 Owner’s Designated Representative
§ 3.3 Architect
§ 3.4 Legal Requirements

ARTICLE4 COMPENSATION AND PAYMENTS FOR PRECONSTRUCTION PHASE SERVICES
§ 4.1 Compensation
§ 4.2 Payments

ARTICLE 5 COMPENSATION FOR CONSTRUCTION PHASE SERVICES
§ 5.1 Compensation °
§ 5.2 Guaranteed Maximum Price
§ 5.3 Changes in the Work

ARTICLES COST OF THE WORK FOR CONSTRUCTION PHASE
§ 6.1 Costs to Be Reimbursed
§ 6.2 Costs Not to Be Reimbursed
§ 6.3 Discounts, Rebates and Refunds
§ 6.4 Accounting Records

ARTICLE 7 CONSTRUCTION PHASE
§ 7.1 Progress Payments
§ 7.2 Final Payment

ARTICLE iNSURANCE AND BONDS

, § 8.1 Insurance Required of the Construction Manager
§ 8.2 Insurance Required of the Owner
§ 8.3 Performance Bond and Payment Bond

ARTICLES MISCELLANEOUS PROVISIONS
§ 3.1 Dispute Resolution
§ 9.2 Other Provisions

ARTICLE 10 TERMINATION OR SUSPENSION
§ 10.1 Termination Prior to Establishing Guaranteed Maximum Price
§ 18.2 Termination Subsequent to Establishing Guaranteed Maximum Price
§ 10.3 Suspension

ARTICLE 44. OTHER CONDITIONS AND SERVICES

 

AIA Document AT21™CMe ~ 2003 and AGC Document 565, Copyright © 1991 and 2003 by The American inslitute of Architects and The Associated General
Contractors of America. Ail rights reserved. WARNING: This document is protected by U.S. Capyrighi Law and [nternational Treaties, Unauthorized
reproduction a: distribulion of thls document, or any partlan of if, may resull in severe civil and criminal penallies, and will be prosecuted to the

! maximum exlent possibie under the low. This decument was produced by AlA sollware at 20:55:53 on 05/26/2009 under Order No.1000385176_1 which expires
on 1/19/2010, and is not for resale,

User Notes: {2075910671}

Ink.
init.

 

 

Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 9 of 66

ARTICLE 1 GENERAL PROVISIONS
§ 1.1 RELATIONSHIP OF PARTIES
The Construction Manager accepts the relationship of trust and confidence established with the Owner by this
Agreement, and covenants with the Owner to furnish the Construction Manager's reasonable skill and judgment and to
cooperate with the Architect in furthering the interests of the Owner. The Construction Manager shall furnish
construction administration and management services and use the Construction Manager’s best efforts to perform the
Project in an expeditious and economical manner consistent with the interests of the Owner and consistent with the
level of skill, experience and expertise as represented in the Construction Manager’s proposal dated October 15, 2008
(ihe "CM Proposal") which is incorporated herein by this reference. The Owner shall endeavor to promote harmony
and cooperation among ithe Owner, Architect, Construction Manager and other persons or entities employed by the
Owner for the Project.

§ 1.2GENERAL CONDITIONS

For the Construction Phase, the General Conditions of the contract shall be the ALA@ Document A201 ™.-1997,
General Conditions of the Contract for Construction, as modified , which is incorporated herein by reference. Por the
Preconstruction Phase, or in the event that the Preconstruction and Construction Phases proceed concurrently,
A201™-_—1}997 shall apply to the Preconstruction Phase only as specifically provided in this Agreement. The term
*Contractor" as used in A2017™—]997 shall mean the Construction Manager.

ARTICLE 2. CONSTRUCTION MANAGER'S RESPONSIBILITIES

The Construction Manager shall perform the services described in this Article and in the CM Proposal. The services to
be provided under Sections 2.] and 2.2 constitute the Preconstruction Phase services. If the Owner and Construction
Manager agree, after consuliation with the Architect, the Construction Phase may commence before the
Preconstruction Phase is completed, in which case both phases will proceed concurrently.

§ 2.1 PRECONSTRUCTION PHASE

§ 2.4.1 PRELIMINARY EVALUATION ‘

The Construction Manager shall provide a preliminary evaluation of the Owner's program and Project budget
requirements, each in terms of the other.

§ 2.1.2 CONSULTATION

The Construction Manager with the Architect shall joinily schedule and attend regular meetings with the Owner. The
Construction Manager shall consult with the Owner and Architect regarding site use and improvements and the
selection of materials, building systems and equipment. The Construction Manager shall provide recommendations on
construction feasibility; actions designed to minimize adverse effects of labor or material shortages; lime requirements
for procurement, installation and construction completion; and factors related to construction cost, including estimates
of altemative designs or materials, preliminary budgets and possible economies.

§ 2.1.3 PRELIMINARY PROJECT SCHEDULE

When Project requirements described in Section 3.1.1 have been sufficiently identified, the Construction Manager
shall prepare, and periodically update, a preliminary Project schedule for the Architect's review and the Owner’s
approval. The Construction Manager shall obtain the Architect's approval of the portion of the preliminary Project
schedule relating to the perforrnance of ihe Architect's services. The Constcuction Manager shall coordinate and
integrate the preliminary Project schedule with the services and activities of the Owner, Architect and Construction
Manager. As design proceeds, the preliminary Project schedule shall be updated to indicate proposed activity
sequences and durations, milestone dates for receipt and approval of pertinent information, submittal of a Guaranteed
Maximum Price proposal, preparation and processing of shop drawings and samples, delivery of materials or
equipment requiring long-lead-lime procurement, Owner's occupancy requirements showing portions of the Project
having occupancy priority, and proposed date of Substantial Completion. If preliminary Project schedule updates
indicate that previously approved schedules may not be met, the Construction Manager shall make appropriate
recommendations to the Owner and Architect.

§ 2.1.4 PHASED CONSTRUCTION
The Construction Manager shall make recommendations to the Owner and Architect regarding the phased issuance of
Drawings and Specifications to facilitate phased construction of the Work, if such phased construction is appropriate

 

AIA Document AT21 CMe — 2003 and AGC Document $65. Copyright @ 199t and 2003 by The Amesican lastitule of Architects and The Associated General
Contractors of America, All rights reserved. WARNING: This decument is protected by U.S. Copyright Law and international Treaties. Unaulhkorzed
reproduction o7 disiribulion of this document, or any portion of it, may result in severe civil and criminal pemaities, and will be prosecuted to the
maximum extent possible under the jaw. This document was produced by AIA software at 20:55:53 on 05/26/2009 under Order No.1000385170_1 which expires
oo 1/19/2040, and is not for resale.

User Notes: {2075910671}
init,

Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 10 of 66

for the Project, taking into consideration such factors as economies, time of performance, availability of labor and
materials, and provisions for temporary facilities.

§ 2.1.5 PRELIMINARY COST ESTIMATES

§ 2.1.5.4 When the Owner has sufficiently identified the Project requirements and the Architect has prepared other
basic design criteria, the Construction Manager shall prepare, for the review of the Architect and approval of the
Owner, a preliminary cost estimate utihzing area, volurne or similar conceptual estimating techniques.

§ 2.1.5.2 When Schematic Design Documents have been submitted by the Architect for approval by (he Owner, the
Construction Manager shall prepare, for the review of the Architect and approval of ihe Owner, a more detailed
estimate with supporting data. During the preparation of the Design Development Documents, the Construction
Manager shall update and refine this estimate al appropriate intervals agreed to by the Owner, Architect and
Construction Manager.

§ 2.1.5.3 When Design Development Documents have been prepared by the Architect and approved by the Owner, the
Construction Manager shall prepare a detailed estimate with supporting data for review by the Architect and approval
by the Owner. During the preparation of the Construction Documents, the Construction Manager shall update and
refine this estimate at appropriate intervals agreed to by the Owner, Architect and Construction Manager,

§ 2.1.5.4 If any estimate submitted to the Owner exceeds previously approved eslimates or the Owner's budget, the
Construction Manager shail make appropriate recommendations to the Owner and Architect. In the event such
detailed estimate indicates that the Cost of the Work for all or any portion of the Project exceeds the amount previously
estimated, the Construction Manager will coordinate with the Architect who shall revise the design in order to reduce
the estimated Cost of the Work of the Project or to take other action as may be authorized by the Owner.

§ 2.1.6 SUBCONTRACTORS AND SUPPLIERS

The Construction Manager shall seek to develop subcontractor interest in the Project and shall furnish to the Owner
and Architect for their information a list of possible subcontractors, including suppliers wha are to furnish materials or
equipment fabricated to a special design, from whom proposals will be requested for each principal portion of the
Work. The Architect will promptly reply in writing to the Construction Manager if the Architect or Owner know of
any objection to such subcontractor or supplier. The receipt of such list shall not require the Owner or Architect to
investigate the qualifications of proposed subcontractors or suppliers, nor shall it waive the right of the Owner or
Architect later to object to or reject any proposed subcontractor or supplier.

§ 2.4.7 LONG-LEAD-TIME ITEMS

The Construction Manager shall recommend to the Owner and Architect a schedule for procurement of long-lead-time
items which will constitute part of the Work as required to meet the Project schedule. If such long-lead-time items are
procured by the Owner, they shall be procured on terms and conditions acceptable to the Construction Manager. Upon
the Owner's acceptance of the Construction Manager's Guaranteed Maximum Price proposal, al] contracts for such
items shall be assigned by the Owner to the Construction Manager, who shall accept responsibility for such items as if
precured by the Construction Manager. The Construction Manager shall expedite the delivery of Iong-lead-time items.

§ 2.1.8 EXTENT OF RESPONSIBILITY
The Construction Manager does not warrant or guarantee estimates and schedules except as may be included as pari of
the Guaranteed Maximum Price. The recommendations and advice of the Construction Manager concerning design
altematives shall be subject to the review and approval of the Owner and the Owner’s professional consultants. It 1s
not the Construction Manager’s responsibility io ascertain that the Drawings and Specifications are in accordance wilh
applicable laws, statutes, ordinances, building codes, rules and regulations. However, the Construction Manager shall
use dilipence in its review of the Drawings and Specifications and if that review indicales that any portion of the
Drawings or Specifications are at variance therewith, the Construction Manager shall promply notify the Architect
and Owner in writing.

§ 2.4.9 EQUAL EMPLOYMENT OPPORTUNITY AND AFFIRMATIVE ACTION
The Construction Manager shall comply with applicable faws, regulations and special requiremenis of the Contract
Documents regarding equal employment opportunity and affirmative action programs,

 

AIA Document A121™CMec — 2003 and AGC Document 565. Copyright @ 1991 and 2003 by The American Institute of Architecis and The Associated Generat
Contractors of America. All rights reserved. WARNING: This document is protected by U.S. Copyright Law and tnternational Treaties. Unauthorized
reproduction or distributian of this document, or any gortion of jt, may resull in severe civil and criminal penaliies, and will be prosecuted to the
maxitum extent possibie under ike law. This document was produced by AIA sollware at 20:55:53 on 05/26/2009 onder Order No. 1000385170_1 which expires
on 1/19/2016, and is not for resale.

User Notes: {2075910874}
init.

Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 11 of 66

§ 22 GUARANTEED MAXIMUM PRICE PROPOSAL AND CONTRACT TIME

§ 2.2.1 When the Drawings and Specifications are sufficiently complete, the Construction Manager shal} propose a
Guaranteed Maximum Price, which shail be the sum of (he estimated Cost of the Work and the Construction
Manager's Fee.

§ 2.2.2 As the Drawings and Specifications may not be finished at the time the Guaranteed Maximum Price proposal is
prepared, the Construction Manager shall provide in the Guaranteed Maximum Price for further development of the
Drawings and Specifications by the Architect that is consistent with the Contract Documents and reasonably inferable
therefrom. Such further development does not include such things as changes in scope, systems, kinds and quality of
materials, finishes or equipment, all of which, if required, shall be incorporated by Change Order.

§ 2.2.3 The estimated Cost of the Work shall include the Construction Manager's contingency, a sum established by
the Construction Manager for the Construction Manager's exclusive use to cover costs arising under Section 2.2.2 and
other costs which are properly reimbursable as Cost of the Work but not the basis for a Change Order.

§ 2.2.4 BASIS OF GUARANTEED MAXIMUM PRICE

The Construction Manager shall include with the Guaranteed Maximurn Price proposal a written statement of its basis,

which shall inclade:

1 Alist of the Drawings and Specifications, including all addenda thereto and the Conditions of the
Contract, which were used in preparation of the Guaranteed Maximum Price propesal.

2 Alist of alowances and a statement of their basis.

3 A list of the clarifications and assumptions made by the Construction Manager in the preparation of {he

Guaranteed Maximum Price proposal to supplement the information contained in the Drawings and

Specifications. .

4 The proposed Guaranteed Maximum Price, including a statement of the estimated cost organized by
trade categories, allowances, contingency, and other items and the Fee that comprise the Guaranteed
Maximum Price.

Ai The Date of Substantial Completion upon which the proposed Guaranteed Maximum Price is based,
and a schedule of the Construction Documents issuance dates upon which the date of Substantial
Completion is based.

§ 2.2.5 The Construction Manager shall meet with the Owner and Architect to review the Guaranteed Maximum Price
proposal and the written statement of its basis. In the event that the Owner or Architect discover any inconsistencies or
inaccuracies in the information presented, they shall promptly notify the Construction Manager, who shal! make
appropriate adjustments to the Guaranteed Maximum Price proposal, its basis, or both.

§ 2.2.6 Uniess the Owner accepts the Guaranteed Maximum Price proposal in writing on or before the date specified in
the proposal for such acceptance and so notifies the Construction Manager, the Guaranteed Maximum Price proposal
shall not be effective without written acceptance by the Construction Manager.

§ 2.2.7 Prior to the Owner’s acceptance of the Construction Manager's Guaranteed Maximum Price proposal and
issuance of a Notice to Proceed, the Construction Manager shal] not incur any cost to be rejmbursed as part of the Cost
of the Work, except as the Owner may specifically authorize m writing.

§ 2.2.8 Upon acceptance by the Owner of the Guaranteed Maximum Price proposal, the Guaranteed Maximum Price
and its basis shall be set forth in Amendment No. 1. The Guaranteed Maximum Price shal] be subject to additions and
deductions by a change in the Work as provided in the Contract Documents, and the Date of Substantial Completion
shall be subject to adjustment as provided in the Contract Documents.

§ 2.2.9 The Owner shall authorize and cause the Architect to revise the Drawings and Specifications to the extent
necessary to reflect the agreed-upon assumptions and clarifications contained in Amendment No. 1. Such revised
Drawings and Specifications shall be furnished to the Construction Manager in accordance with schedules agreed to
by the Owner, Architect and Construction Manager. The Construction Manager shalt promptly notify the Architect
and Owner if such revised Drawings and Specifications are inconsistent with the agreed-upon assumptions and
clarifications.

 

AIA Document A121 ™CMe — 2003 and AGC Document 565. Copyright @ 1991 and 2003 by The American Instiute ol Architects and The Associated General
Contractors of Amenca. All rights reserved. WARNING: This document is protectad by U.S. Copyright Law and Internationat Treaties. Unauthorized
reproduction or distribulion of this document, ar any portion of ii, may resull in severe civil and criminal penaliies, and will be prosecuted to the
maximum extent possible under ihe law. This document was produced by ALA software al 20:55:53 on 05/26/2009 under Order No.1000485570_1 which expires
on 1/19/2010, and is not for resale,

User Notes: {2075910671}
Init.

Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 12 of 66

§ 2.2.10 The Guaranteed Maximum Price shall include in the Cost of the Work only those taxes which are enacted at
the ume the Guaranteed Maximum Price is established.

§ 23 CONSTRUCTION PHASE
§ 2.3.1 GENERAL
§ 2.3.1.4 The Construction Phase shall commence on the earlier of:
(1) the Owner’s acceptance of the Construction Manager's Guaranteed Maximum Price proposal and
issuance of a Notice to Proceed, or
(2) the Owner's first authorization to the Construction Manager to:
(a) award a subcontract, or
(b) undertake construction Work with the Construction Manager’s own forces, or
(c) issue 4 purchase order for materials or equipment required for the Work.

§ 2.3.2 ADMINISTRATION
§ 2.3.2.1 Except as expressly authorized by the Owner in writing, all Work shail be performed under construction
Subcontracts or by other appropriate agreements with the Construction Manager, the terms of such Subcontracts or
other appropriate agreements shall be subject to mutual agreement between the Owner and the Construction Manager.
‘The Construction Manager shall obtain bids from Subcontractors and from suppliers of materials or equipment
fabricated to a special design for the Work from the list previously reviewed and, afler analyzing such bids, shall
deliver such bids to the Owner and Architect. The Owner will then determine, with the advice of the Construction
Manager and subject to the reasonabie objection of the Architect, which bids will be accepted. The Owner may
designate specific persons or entities from whom the Construction Manager shall obtain bids; however, if the
Guaranteed Maximum Price has been established, the Owner may not prohibit the Construction Manager from
obtaining bids from other qualified bidders. The Construction Manager shall not be required to contract with anyone to
whom the Construction Manager has reasonable objection.

§ 2.3.2.2 Ef the Guaranteed Maximum Price has been established and a specific bidder among those whose bids are
delivered by the Construction Manager to the Qwner and Architect (1) is recommended to the Owner by the
Construction Manager; (2) is qualified to perform that portion of the Work; and (3) has submitted a bid which
conforms to the requirements of the Contract Documents without reservations or exceptions, but the Owner requires
that another bid be accepted, then the Construction Manager may require that a change in the Work be issued to adjust
the Contract Time and the Guaranteed Maximum Price by the difference between the bid of the person or entity
recommended to the Owner by the Construction Manager and the amount of the subcontract or other agreement
actaally signed with the person or entity designated by the Owner.

§ 2.3.2.3 Subcontracts and agreements with suppliers furnishing materials or equipment fabricated to a special design
shall conform to the payment provisions of Sections 7.1.8 and 7.1.9 and shal] not be awarded on the basis of cost plus
a fee without the prior consent of the Owner.

§ 2.3.2.4 The Construction Manager shall schedule and conduct meetings at which the Owner, ArchilectConstruction
Manager and specifically invited Subcontractors can discuss the status of the Work. The Construction Manager shall
prepare and promptly distribute meeting minutes.

§ 2.3.2.5 Promptly after the Owner's acceptance of the Guaranteed Maximum Price proposal, the Construction
Manager shall prepare a schedule in accordance with Section 3.10 of A20]™_1997, including the Owner’s occupancy
requirements.

§ 2.3.2.6 The Construction Manager shall provide monthly written reports to the Owner and Architect on the progress
of the entire Work. The Construction Manager shall maintain a daily log containing a record of weather,
Subcontractors working on the site, number of workers, Work accomplished, problems encountered and other similar
relevant data as the Owner may reasonably require. The log shall be available to the Owner and Architect.

§ 2.3.2.7 The Construction Manager shail develop a system of cost control for the Work, including regular monitoring
of actual costs for activities in progress and eslimates for uncompleted tasks and proposed changes. The Construction
Manager shall identify variances between actual and estimated costs and report the variances to the Owner and
Architect at regular intervals.

 

AIA Document Ai21™(CMc — 2003 and AGC Document $65. Copyright © 1991 and 2003 by The American Institute of Architecis and The Associated General
Contraclors of America. Aff rights reserved. WARNING: This document is prolected by U.S. Copyright Law and International Treaties. Unauthorized
reproduction o distribution of this document, ot any portion ef it. may resull in severe civil and criminal penatties, and will be prosecuted to the
mazimnwum extent possible under the jaw. This document was produced by AIA software af 20:55:53 on 05/26/2009 under Order No. 1000365170_1 which expires
on 1/19/2010, and is not for resale.

User Notes: {207591067 1)
Init,

Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 13 of 66

§ 2.4 PROFESSIONAL SERVICES
Section 3.12.10 of A201™-—1997 shail apply to both the Preconstruction and Construction Phases,

§ 2.5 HAZARDOUS MATERIALS
Section 10.3 of A2017M—1997 shall apply to both the Preconstruction and Construction Phases.

ARTICLE 3. GWNER’S RESPONSIBILITIES

§ 3.1 INFORMATION AND SERVICES

§ 3.1.4 The Owner shall provide full information in a timely manner regarding the requiremenis of the Project,
including a program which sets forth the Owner’s objectives, constraints and criteria, including space requirements
and relationships, flexibility and expandability requirements, special equipment and systems, and site requirements.

§ 3.4.2 The Owner shall, at the written request of the Construction Manager prior to commencement of the
Construction Phase and thereafter, furnish to the Construction Manager reasonable evidence that financial
arrangements have been made to fulfill the Owner’s obligations under the Contract. Furnishing of such evidence shall
be a condition precedent to commencement or continuation of the Work. After such evidence has been furnished, the
Owner shaji not materially vary such financial arrangements without prior notice to the Construction Manager.

§ 3.1.3 The Owner shall establish and update an overall budget for the Project, based on consultation with the
Construction Manager and Architect, which shall include contingencies for changes in the Work and other costs which
are the responsibility of the Owner.

§ 3.4.4STRUCTURAL AND ENVIRONMENTAL TESTS, SURVEYS AND REPORTS

Th the Preconstruction Phase, the Owner shall furnish the following with reasonable promptness and al the Owner's
expense. Except to the extent that the Construction Manager knows of any inaccuracy, the Construction Manager shall
be entitled to rely upon the accuracy of any such information, reports, surveys, drawings and tests described in
Sections 3.1.4.1 through 3.1.4.4 but shall exercise customary precautions relating to the performance of the Work.

§ 3.1.4.1 Reports, surveys, drawings and tests concerning the conditions of the site which are required by Jaw.

§ 3.1.4.2 Surveys describing physical characteristics, tegal limitations and utility locations for the site of the Project,
and a written legal description of the site. The surveys and legal information shall include, as applicable, grades and
lines of streets, alleys, pavements and adjoining property and structures, adjacent drainage; rights-of-way, restrictions,
easements, encroachments, zoning, deed restrictions, boundaries and contours of the site; locations, dimensions and
necessary data pertaining to existing buildings, other improvements and trees; and information conceming available
utility services and Hnes, both public and private, above and below grade, including inverts and depths. All
information on the survey shail be referenced to a project benchmark.

§ 3.4.4.3 The services of a geotechnical engineer when such services are requested by the Construction Manager. Such
services may include but are not limited to test borings, test pits, determinations of soil bearing values, percolation
tests, cvaluations of hazardous materials, ground corrosion and resistivity tests, including necessary operations for
anticipating subsoil conditions, with reports and appropnate professional recommendations.

§ 3.1.4.4 Structural, mechanical, chemical, air and water pollution tests, tests for hazardous materials, and other
Jaboratory and environmental tests, inspections and reports which are required by Jaw.

§ 3.1.4.5 The services of other consudtants when such services are reasonably required by the scope of the Project and
are requested by the Construction Manager.

§ 3.2 GWNER'S DESIGNATED REPRESENTATIVE

The Owner shall designate in writing a representative who shall have express authority to bind the Owner with respect
to all matters requiring the Owner's approval or authorization. This representative shall have the authority to make
decisions on behalf of the Owner concerming estimates and schedules, construction budgets, and changes inthe Work,
and shall render such decisions promptly and furnish information expeditiously, so as to avoid unreasonable delay in
the services or Work of the Construction Manager. Except as otherwise provided in Section 4.2.1 of A2Z0]™ —1997,
the Architect does nol have such authority.

 

AtA Document A121™CMe -- 2003 and AGC Document 565. Copyright © 1991 and 2003 by The American Institute of Architects end The Associated General
Contractors of America. All rights reserved. WARNING: This document is protected by U.S. Copyright Law and Iniernational Trealies. Unauthorized
reproduction or disiribution of this document, or any portion of it, may resull in severe civil and criminal penalties, and will be prosecuted to the
maximum extent possible under the faw. This document was produced by AIA software at 20:55:53 an 05/26/2009 under Order No.1000385170_1 which expires
on 1/19/201G, and is nol for resale.

User Noles: (2075910671)
Init.

 

Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 14 of 66

§ 3.3 ARCHITECT

_ The Owner shall retain an Architect and other design professionals to provide Basic Services, including ail civil,
jandscaping, architectural, structural, mechanical and electrical engineering services, other ihan cost estimating

services, described in the edition of AIA@ Document B141™, current as of the date of this Agreement. Such services
shall be provided in accordance with time schedules agreed to by the Owner, Architect and Construction Manager.
Upon request of the Construction Manager, the Owner shall furnish to the Construction Manager a copy of the
Owner's Agreement with the Architect, from which compensation provisions may be deleted.

§ 3.4LEGAL REQUIREMENTS

The Owner shall determine and advise the Architect and Construction Manager of any special legal requirements
relating specifically to the Project which differ from those generally applicable to construction in the jurisdiction of the
Project. The Owner shalt furnish such legad services as are necessary to provide the information and services required
under Section 3.1. Constrection Manager and its Subcontractors and Suppliers shall perform all Wosk in

- conformance with the requirement of the Construction Documents and ali applicable building codes and requirements

of governmental authorities having jurisdiction over the Project.

ARTICLE 4 COMPENSATION AND PAYMENTS FOR PRECONSTRUCTION PHASE SERVICES

The Owner shall compensate and make payments to the Construction Manager for Preconstruction Phase services as
follows:

§ 47 COMPENSATION

§ 4.1.4 For the services described in Sections 2.1 and 2.2, the Construction Manager's compensation shall be
calculated as follows:

(State basis of compensation, whether a stipulated sum, multiple of Direct Personnel Expense, actual cost, etc. Include
a statement of reimbursable cost hents as applicab¥e.)

   

RS
A "Not To Exceed" value of Baits Thousand (366-606) for all pre-construction work related to the project scope
described in the CM Proposal.

§ 4.1.2 Compensation for Preconstruction Phase Services shal! be equitably adjusted if such services extend beyond
Twenty Two months from the date of this Agreernent.

’ § 4.4.3 1f compensation is based on a multiple of Direct Personnel Expense, Direct Personnel Expense is defined as the

direct salanes of the Construction Manager's personnel engaged in the Project and the portion of the cost of their
mandatory and customary contributions and benefits related thereto, such as employment taxes and other statutory
employee benefits, insurance, sick Jeave, holidays, vacations, pensions and similar contributions and benefits.

§ 4.2 PAYMENTS
§ 4.2.4 Payments shall be made monthiy following presentation of the Construction Manager's invoice and, where
applicable, shall] be in proportion to services performed.

§ 4.2.2 Payments are due and payable Thirty ( 30 ) days from the date the Construction Manager’s invoice is
received by the Owner. Amounts unpaid after the date on which payment is due shall bear interest at the rale entered
below, ori the absence thereof, at the legal rale prevailing from time to time at the place where the Project is located.

(insert raie of interest agreed upon.)
1.00% per annum

{Usury laws and requirements under the Federal Truth in Lending Act, similar state and local constmer credit laws
and other regulations at the Owner's and Contractor's principal places of business, the location of the Project and
elsewhere may affect the validity of this provision. Legal advice should be obtained with respect io deletions or
modifications, and also regarding requirements such as written disclosures or waivers.)

ARTICLE § COMPENSATION FOR CONSTRUCTION PHASE SERVICES
The Owner shall compensate the Construction Manager for Construction Phase services as follows:

 

AJA Document A124™CMc — 2003 and AGC Dacument 565, Copyright @ 1991 and 2003 by The American institute of Archilects and The Associaled General
Contractors of America, All righis reserved. WARNING: This document is projected py U.5. Copyright Law and Injernational Treaties. Unauthorized
fepraduction o: distribution of this document, or any portion ot it, may result in severe civil and criminal penalties, and will be prosecuted te the
maximum extent possible under the Faw. This document was produced by AIA software at 20:55:53 on 05/26/2009 under Ordet No.1000385170,__1 which expires
on 1/19/2010, and is noi for resale.

User Notes: (20/591 0674)
init.

Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 15 of 66

§ 5.14 COMPENSATION

§ 5.1.1 For the Construction Manager's performance of (he Work as described in Section 2.3, the Owner shall pay the
Consiraction Manager in current funds the Contraci Sum consisting of the Cost of the Work as defined in Article 6 and
the Construction Manager’s Fee determined as follows:

(State a lump sum, percentage of actual Cost of the Work or other provision for determining the Construction
Manager's Fee, and explain how the Construction Manager's Fee ts to be adjusted for changes in the Work.)

2.6% of the Cost of the Work.

§ 5.2 GUARANTEED MAXIMUM PRICE

§ 5.2.1 The sum of the Cost of the Work and the Construction Manager's Fee are guaranteed by the Construction
Manager not to exceed the amount provided in Amendment No. 1, subject to additions and deductions by changes in
the Work as provided in the Contract Documents. Such maximum sum as adjusted by approved changes in the Work is
referred to in the Contract Documents as the Guaranteed Maximum Price. Cost which would cause the Guaranieed
Maximum Price to be exceeded shall be paid by the Construction Manager without reimbursement by the Owner.

(Insert specific provisions if the Construction Manager is to participate in any savings.}

§ 5.3 CHANGES IN THE WORK
§ 5.3.1 Adjustments to the Guaranteed Maximum Price on account of changes in the Work subsequent to the execution
of Amendment No. ! may be determined by any of the methods listed in Section 7.3.3 of A201™—1997,

§ 5.3.2 In calculating adjustments to subcontracts (except those awarded with the Owner’s prior consent on the basis
of cost plus a fee), the terms "cost" and "fee" as used in Section 7.3.3.3 of A2Q17™—]997 and the terms “costs” and "a
reasonable allowance for overhead and profit" as used in Section 7.3.6 of A201™_1997 shall have the meanings
assigned to them in that document and shall noi be modified by this Anticle 5. Adjustments to subcontracts awarded
with the Owner's prior consent on the basis of cost plus a fee shal] be calculated in accordance with ihe terms of those
subcontracts.

§ 5.3.3 In calculating adjustments to the Contract, ihe terms “cost” and “costs” as used in the above-referenced
provisions of A2017™_1997 shail mean the Cost of the Work as defined in Article 6 of this Agreement, and the term
“and a reasonable allowance for main office overhead and profit" shall mean the Construction Manager's Fee as
defined in Section 5.1.1 of this Agreement. Project Overhead directly related to the project shall be covered as a
reimbursable under Article 6,

(Paragraph deleted)

ARTICLE 6 COST OF THE WORK FOR CONSTRUCTION PHASE

§ &1COSTS TO BE REIMBURSED

§ 6.1.4 The term "Cost of the Work" shall mean costs necessarily incurred by the Construction Manager in the proper
performance of the Work. Such costs shall be at rates not higher than those customarily paid at the place of the Project
except with prior consent of the Owner. The Cost of the Work shal include only the items set forth in this Article 6,

§ G4.2LABOR COSTS
-i Wages of construction workers directly employed by the Construction Manager to perform the
construction of the Work at the site or, with the Owner’s agreement, at off-site workshops.
2 DELETED

Classification Name
To Be Determined To Be Determined

 

AIA Document A121™CMc — 2003 and AGC Document 565. Copyright © 1991 and 2003 by The American Institute of Architecls and The Associated General
Contractors of America, All rights reserved, WARNING: This dacument is protected by U.S. Copyright Law and International Treatles, Unauthorized
reproduction of distribution of thls document, or any portion of it, may resull in severe civil and criminal penallles, aad wili be proseculed to the
maximum exten! possible under the law. This document was produced by AIA software at 20:55:53 on 65/26/2009 under Order No, 100098517G_1 which expires
on 1/19/2010, and is not for resale.

User Notes: {207591067 1}
inil.

 

 

Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 16 of 66

3 With prior written approval of the Owner, wages and salaries of the Construction Manager's
supervisory or administrative personnel engaged on direct project work, at factories, workshops or on
the road, in expediting the production or transportation of materials or equipment required for the
Work, but only for that portion of their time required for the Work.

4 Cost of ail jabor add-ons insofar as such cost is based on wages, salaries or other remuneration paid to

employees of the Construction Manager and included in the Cost of the Project. Labor add-ons
include, but are not limited to, taxes, such as social security and unemployment; insurance such as
workers’ compensation, liability, medical, life and disability; vacation and sick pay and other welfare
and employee benefits such as pension plans, employee retirement income plans, and 13" month pay.
In lieu of Owner paying actual cost of labor add-ons for Construction Manager's salaried and non-craft
hourly employees, Owner shail pay fifty-two percent (52%) of such employees’ salary to cover labor
add-ons.

§ 6.1.3 SUBCONTRACT COSTS
Payments made by the Construction Manager to Subcontractors in accordance with the requirements of the
subcontracts.

§ 6.1.4COSTS OF MATERIALS AND EQUIPMENT INCORPORATED IN THE COMPLETED CONSTRUCTION

0 Costs, including transportation, of materials and equipment incorporated or to be incorporated in the
completed construction.

.2 Costs of materials described in the preceding Section 6.1.4.1 in excess of those actually installed but
required to provide reasonable allowance for waste and for spoilage. Unused excess materials, if any,
shail be handed over to the Owner at the completion of the Work or, at he Owner’s option, shall be sold
by the Construction Manager; amounts realized, if any, from such sales shall be credited to the Owner
as a deduction from the Cost of the Work.

§ 64.5 COSTS OF OTHER MATERIALS AND EQUIPMENT, TEMPORARY FACILITIES AND RELATED ITEMS

1 Costs, including transportation, installation, maintenance, dismantling and removal of materials,
supplies, temporary facilities, machinery, equipment, and hand tocls nol customarily owned by the
construction workers, which are provided by the Construction Manager al the site and fully consumed
in the performnance of the Work; and cost Jess salvage value on such items if not fully consumed,
whether sold to others or retained by the Construction Manager. Cost for items previously used by the
Constmiction Manager shall mean fair market value.

2 Rental charges for temporary facilities, machinery, equipment and hand tools not customarily owned
by the construction workers, which are provided by the Construction Manager at the stte, whether
rented from the Construction Manager or others, and costs of transportation, installation, minor repairs
and replacements, dismantling and removal thereof. Rates and quantities of equipment rented shall be
subject to the Owner’s prior approval.

3 Costs of removal of debris from the site.

4 Reproduction costs, , facsimile transmissions and long-distance telephone calls, postage and express
delivery charges, telephone at the site and reasonable petty cash expenses of the site office

.5 With owner prior approval, that portion of the reasonable travel and subsistence expenses of the
Construction Manager's personnel incurred while traveling in discharge of duties connected with the
Work.

& Cost or rental of temporary portable buildings and toilets as required, also cost of utilities, ice, water,
water containers, cups, fire extinguishers, first-aid supplies, safety equipment, safety awards and
incentives, safety lunches, drug and alcohol testing, and off-site storage space or facilities.

7 Cost of constructing, leasing or rental of buildings required for field offices, tool rooms, crew shacks and

warehousing and cost of operating such facilities, including utilities, furniture, office equipment and
supplies, telephone service, calls and telegrams, postage and expressage and similar flems in
connection with the Project.

 

AIA Document Al27™(CMc ~ 2009 and AGC Document 565. Copyright @ 1991 and 2003 by The American InstQute of Architects and The Assaclated General
Contractors of America. All rights reserved. WAANING: This document is protected by U.S. Copyrigh] Law and Iniernatioaal Treaties, Unauthorized 10
raproducticn or distribution of this documeni, or any portion of it, may resull in severe civiland criminal penalties, and will be prosecuied to the

maximum extent possible under ihe law. This document was produced by AIA soltware at 20,55:53 on 05/26/2009 under Order No.1000385170_? which expires

on 1/19/2070, and is not for resale.

User Notes: (20759106714)
Init.

 

 

Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 17 of 66

8 Cost of producing and handling reporis, schedules, manuals, drawings, specifications and other
documents required for the Project.

2 Cost of the premiums for ail bonds including Construction Manager’s bond and bonds far
Subcontractors and Suppliers. At Construction Manager's option, Construction Manager may elect to
enroll Subcontractors in Subguard in lien of requiring a performance and payment bond and the
premium cost of such Subguard coverage will be billed to and paid by the Project ata rate of .97%* of

the subcontract value and any subsequent adjustments.

*Rate is subject to adjustment at annual Subguard policy renewal. Premium cosis using (he renewal rate will
be billed to and paid by the Project.

0° Cost of outside consultants and professional personnel as may be necessary in connection with the

services to be provided by Construction Manager with prior Owner approval.

§ 6.1.6 MISCELLANEOUS COSTS
A) That portion directly attributable to this Contract of premiums for insurance and bonds.
{if charges for self-insurance are to be included, specify the basis of reimbursement.)

2 Sales, use or similar taxes imposed by a governmental authority which are related to ihe Work and for
which the Construction Manager is liable.

Fees and assessments for the building permit and for other permits, Hcenses and inspections for which
the Construction Manager is required by the Contract Documents to pay.

4 Fees of testing laboratories for tests required by the Contract Documents, except those related to
non-conforming Work other than that for which payment is permitted by Section 6.1.8.2.

6 Permit fees, licenses, tests and inspections, royalties, damages for infringement of patents and costs of
defending suits therefor. If royalties or tosses and damages, including costs of defense, are incurred
which arise from a particular design, process or the product of a particular manufacturer or
manufacturers specified by the Owner or Architect, such royallies, losses and damages shall be paid by
the Owner and not considered as wilhin the GMP.

4 Costs associated with the provision of the Project InformationWebsite and webcams

7

4. Legal, mediation and arbitration costs, other than those arising from disputes between the Qwner and
Construction Manager, reasonably incurred by the Construction Manager in the performance of the
Work and with the Owner’s written permission, which permission shall not be unreasonably withheld.

4 Expenses incurred in accordance with Construction Manager's standard personnel policy for
relocation and temporary living allowances of personnel required for the Work, in case it is necessary
to relocate such personnel from distant jocations with Owner prior approval,

10 At Construction Manager’s option, Construction Manager may elect to implement a genera! Jiability
wrap-up program providing Commercial General Liability insurance coverage to subcontractors as
well as the Construction Manager and the premium cost of such general liability wrap-up will be billed
to and paid by the Project at a rate of 1.4% of total Project cost (cost of work plus Construction
Manager’s fee}.

§ 6.1.7 OTHER COSTS

A Other costs incurred in the performance of the Work if and to the extent approved in advance in writing
by the Owner.

§ 6.1.8 EMERGENCIES AND REPAIRS TO DAMAGED OR NONCONFORMING WORK
‘The Cost of the Work shall also include costs described in Section 6.1. ] which are incurred by the Construction
Manager:

-1 In taking action to prevent threatened damage, injury or loss in case of an emergency affecting the
safety of persons and property, as provided in Section 10.6 of A2Q1™-1997.

2 Jn repairing or correcting damaged or non-conforming Work executed by the Construction Manager
or the Construction Manager’s Subcontractors or suppliers, provided that such damaged or
non-conforming Work was not caused by the negligence or failure to fulfill a specific responsibility te

the Owner set forth in this agreement of the Construction Manager or the Construction Manager’s

 

AIA Document A127 '™CMe ~ 2003 and AGC Document 565. Copyright © 1991 and 2003 by The American Institute of Architecis and The Associated Genera!
Contractors of America. All rights reserved. WARNING: This dacument is protected by U.S. Copyright Law and International Treaties. Unauthorized 11
reproduciion or distribution of ibis document, or any portion of i], may result in severe civil and criminal penalties, and will be prosecuted ta ibe

maximum extent passibie ynder the law. This document was produced by AIA software al 26:55:53 on 6/26/2009 under Order No. $000385170_t which expires

on 1/19/2010, and is not for resale.

User Notes: (2075910671)
Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 18 of 66

foremen, engineers or superintendents, or other supervisory, administrative or managerial personnel of
the Construction Manager, or the or the failure of the Construction Manager's personnel to supervise
adequately the Work of the Subcontractors or suppliers, and only to the extent that the cost of repair or
correction is not recoverable by the Construction Manager from insurance, Subcontractors or
suppliers. The Construction Manager shall be reimbursed for 50% (Fifty percent) of the costs without
any Construction Manager Fee related 10 Work that falls under this category of costs.

§ §.1.9 The costs described in Sections 6.1.1 through 6.1.8 shall be included in the Cost of the Work notwithstanding
any provision of AZOI7™.-1997 or other Conditions of the Contract which may require the Construction Manager to
pay such costs, unless such costs are excluded by the provisions of Section 6.2.

§ 6&2 COSTS NOT TO BE REIMBURSED
§ 6.2.1 The Cost of the Work shall not include:
4 Salaries and other compensation of the Construction Manager’s personnel stationed at the Construction
Manager's principal office or offices other than the site office, except as specifically provided in
Sections 6.1.2.2 and 6.1.2.3.
2 Expenses of the Construction Manager's principal office and offices other than the site office, except as
specifically provided in Section 6.1.
3 Overhead and general expenses, except as may be expressly included mn Section 6.1.
4 The Construction Manager's capital expenses, including interest on the Construction Manager's capital
employed for the Work. :
+ ‘Rental costs of machinery and equipment, except as specifically provided in Section 6.1.5.2.
A Except as provided in Section 6.1.8.2, costs due to the negligence of the Construction Manager or to
the failure of the Construction Manager to fulfill a specific responsibility to the Owner set forth in this
agreement.
a Costs incurred in the performance of Preconstruction Phase Services.
8 Except as provided in Section 6.1.7.1, any cost nol specifically and expressly described in Section 6.1.
§ Costs which would cause the Guaranteed Maximum Price to be exceeded.

§ 6.3 DISCOUNTS, REBATES AND REFUNDS

§ 6.3.4 Construction Manager shall notify the Owner of discount opportunities and if the Owner provides payment as
necessary to allow the Construction Manager to take the discount, then such cash discounts obtained on payments
made by the Construction Manager shall accrue to the Owner.

§ 6.3.2 Amounts which accrue to the Owner in accordance with the provisions of Section 6.3. shall be credited to the
Owner as a deduction from the Cost of the Work.

§ B4 ACCOUNTING RECORDS

§ 6.4.1 The Construction Manager shall keep full and detailed accounts and exercise such controls as may be
necessary for proper financia) management under this Contract; the accounting and control systems shall be
satisfactory to the Owner. The Owner and the Owner’s accountants shall be afforded access to the Construction
Manager's records, books, correspondence, instructions, drawings, receipts, subcontracts, purchase orders, vouchers,
memoranda and other data relating to this Project, and the Construction Manager shall preserve these for a period of
three years after final payment, or for such longer period as may be required by law.

ARTICLE 7 CONSTRUCTION PHASE PAYMENTS

§ 7.1 PROGRESS PAYMENTS

§ 7.1.1 Based upon Applications for Payment submitted to the Architect by the Construction Manager and Certificates
for Payment issued by the Architect, the Owner shall make progress payments for Work properly performed to the
date of such application for payment on account of the Contract Sum to the Construction Manager as provided below
and elsewhere in the Contract Documents.

§ 7.1.2 The period covered by each Application for Payment shall be one calendar month ending on the last day of the

 

month,
init ‘AIA Document A121™CMc — 2003 and AGC Document 565. Copyright © 1391 and 2003 by The American Institute of Architects and The Associated General
ni. Contractors of America. Al! rights reserved. WARNING: This document is protected by U.S. Copyright Law and International Treatles. Unauthorized 42
reproduction ar distribufton of this document, oy any portion of it, may result in severe civil and criminal penalties, and will be prosecuted to the
} anaximum extent possible under the law, This document was produced by AIA software at 20:55:53 on 05/26/2009 under Order No. t000385170_1 which expires

on 1/19/2040, and is Aol for resale.
User Notes: {207591067 t}
init.

Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 19 of 66

§ 7.1.3 Provided an Application for Payment is received by the Architect not later than the Thirty-first day of a
month, the Owner shall make payment to the Construction Manager not later than the Thirty-first day of the
following month. If an Application for Payment is received by the Architect after the application date fixed above,

payment shall be made by the Owner not later than Thirty ( 30) days after the Architect receives the Application for
Payment.

§ 7.1.4 With each Application for Payment, the Construction Manager shall submit payrolls, petty cash accounts,
receipted invoices or invoices with check vouchers attached and any other evidence required by the Owner or
Architect to demonstrate that cash disbursements already made by the Construction Manager on account of the Cost of
ihe Work equal or exceed (1) progress payments already received by the Construction Manager; less (2) that portion of
those payments attributable to the Construction Manager's Fee; plus (3) payrolls for the period covered by the present
Application for Payment.

§ 7.1.5 With each Application for Payment, the Construction Manager shail submit the Schedule of Values which
matches the estimated Cost of Work as of the date of such Application for Payment allocated among various portions
of the Work. Construction Managet’s Fee and Contingency allowance shall each be shown as separate line items in
the Schedule of Values. In the event the Schedule of Values exceeds the GMP, the Construction Manager shall submit
io the Owner a written plan to reduce the Cost of the Work, reduce the Contingency, reduce the Construction
Managers Fee or otherwise pay the casts exceeding the GMP.

§ 7.1.6 Applications for Payment shall show the percentage completion of each portion of the Work as of the end of
the period covered by the Application for Payment. The percentage completion shall be the lesser of (1} the percentage
of that portion of the Work which has actually been completed or (2) the percentage obtained by dividing (a) the
expense which has actually been incurred by the Construction Manager on account of that portion of the Work for
which the Constraction Manager has made or intends to make actual payment prior to the next Application for

Payment by (b) the share of the Guaranteed Maximum Price allocated to that portion of the Work in the schedule of
values.

§ 7.1.7 Subject to other provisions of the Contract Documents, the amount of each progress payment shall be
computed as follows:
100 The Cost of the Work properly performed and completed plus the cost of material purchased and
properly stored during the period applicable to the Application for Payment.
2
.3 = Add the Construction Manager’s Fee, less retainage of Five percent { 5.00% ). The Construction
Manager's Fee shall be computed upon the Cost of the Work described in the two preceding Sections at
the rate stated in Section 5.1.] or, if the Construction Manager's Fee is stated as a fixed sum in that
Section, shall be an amount which bears the same ratio to that fixed-sum Fee as the Cost of the Work in
the two preceding Sections bears to a reasonable estimate of the probable Cost of the Work upon its
completion.
4 Subtract the aggregate of previous payments made by the Owner.
5 Subtract the shortfall, if any, indicated by the Construction Manager in the documentation required by
Section 7.1.4 to substantiate prior Applications for Payment, or resulting from errors subsequently
discovered by the Owner's accountants in such documentation.
.6 = Subtract amounts, if any, for which the Architect has withheld or nullified a Certificate for Payment as
provided in Section 9.5 of A2017™-1997,

§ 7.1.8 Except with the Owner's prior approval, payments to Subcontractors shall be subject to retention of not Jess
than Five percent ( 5.00% ). The Owner and the Construction Manager shall agree upon a mutually acceptable
procedure for review and approval of payments and retention for subcontracts.

§ 7.1.9 Except with the Owner's prior approval, the Construction Manager shall not make advance payments to
suppliers for materials or equipment which have noi been delivered and stored at the site.

 

AIA Document AtZ1™ CMe — 2003 and AGC Document 565. Copyright © 1991 and 2003 by The American Instilude of Architects and The Associaled General
Contractors of America. Ail rights reserved. WAANING: This document ts protected by U.S. Copyright Law and International Treaties, Unauthorized 13.
reproduction or distribution of inis document, or eny poriton of it, may resule in severe civil and criminal penalties, and will be prosecuted to the

maximum extent possibile under the taw. This document was produced by AlA soltware ai 20:55:53 on 05/26/2009 under Order No.1000385170_1 which expires

on 1/19/2070, and is not for resale.

User Notes: (2075910671)
init.

Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 20 of 66

§ 7.1.40 In taking action on the Construction Manager's Applications for Payment, the Architect shall be entitled to
rely on the accuracy and completeness of the information furnished by the Construction Manager and shalt not be
deemed to represent that the Architect has made a detailed examination, audit or arithmetic verification of the
documentation subrnitted in accordance with Section 7.1.4 or other supporting data, that the Architect has made
exhaustive or continuous on-site inspections or that the Architect has made examinations to ascertain how or for what
purposes the Construction Manager has used amounts previously paid on account of the Contract. Such examinations,
audits and verifications, if required by the Owner, will be performed by the Owner’s accountants acting in the sole
interest of the Owner.

§ 7.2 FINAL PAYMENT

§ 7.2.1 Final payment shal] be made by the Owner to the Construction Manager when (1) the Contract has been fully
performed by the Construction Manager except for the Construction Manager's responsibility to correct
nonconforming Work, as provided in Section 12.2.2 of A2017™..1997, and to satisfy other requirements, if any, which
necessarily survive final payment; (2) a final Application for Payment and a final accounting for the Cost of the Work
have been submitted by the Construction Manager and reviewed by the Owner's accountants; and (3) a final
Certificate for Payment has then been issued by the Architect; such final payment shall be made by the Owner not
more than 30 days after the issuance of the Architect's final Certificate for Payment, or as follaws:

Forty Six (46) days following the issuance of the Architect’s Final Certificate.

§ 7.2.2 The amount of the final payment shall be calculated as follows:
1) Take the sum of the Cost of the Work substantiated by the Construction Manager’s final accounting
and the Consiruction Manager's Fee, but not more than the Guaranteed Maximum Price.
2 Subtract amounts, if any, for which the Architect withholds, in whole or in part, 4 final Certificate for
Payment as provided in Section 9.5.1 of A201™"—1997 or other provisions of the Contract Documents.
3 Subtract the aggregate of previous payments made by the Owner.

If the aggregate of previous payments made by the Owner exceeds the amount due the Construction Manager, the
Construction Manager shall reimburse the difference to the Owner.

§ 7.2.3 The Owner's accountants will review and report in writing on the Construction Manager’s final accounting
within 30 days after delivery of the final accounting to the Architect by the Construction Manager. Based upon such
Cost of the Work as the Owner's accountants report to be substantiated by the Construction Manager's final
accounting, and provided the other conditions of Section 7.2.1 have been mei, the Archilect will, within seven days
after receipt of the written report of the Owner's accountants, either issue to the Owner a final Certificate for Payment
with a copy io the Construction Manager or notify the Construction Manager and Owner in writing of the Architect's
reasons for withholding a certificate as provided in Section 9.5.1 of A20}7™—1997 . The time periods stated in this
Section 7.2 supersede those stated in Section 9.4.1 of A201™—1997,

§ 7.2.4 if the Owner's accountants report the Cost of the Work as substantiated by the Construction Manager's final
accounting to be less than claimed by the Construction Manager, the Construction Manager shall be entitled to
proceed in accordance with Articte 9 without a further decision of the Architect. Untess agreed to otherwise, a demand
for medialion or arbitration of the disputed amount shall be made by the Construction Manager within 60 days after the
Construction Manaper’s receipt of a copy of the Architect’s final Certificate for Payment. Failure to make such
demand within this 60-day period shall result in the substantiated amount reported by the Owner’s accountants
becoming binding on the Construction Manager. Pending a final resolution of the disputed amount, the Owner shall
pay the Construction Manager ihe amount certified in the Architect’s final Certificate for Payment.

§ 7.2.5

ARTICLE 8 INSURANCE AND BONDS

§ S.A INSURANCE REQUIRED OF THE CONSTRUCTION MANAGER

During both phases of the Project, the Construction Manager shall purchase and maintain insurance as set forth in
Section 11.1 of A2OG17™—1997. Such insurance shall be written for not less than the following limits, or greater if
required by jaw:

 

AIA Document A121™CMc — 2003 and AGC Document 565, Copyright G 1991 and 2003 by The American institule of Archilects and The Associated General
Contractors of America, Ail rights reserved, WARNING: This document is protected By U.S, Copyright Law and International Treaties. Unauthorized 14
reproduction or distribution of this document, or any portion of 1, may result in severe civil and criminal penaliies, and will be prasecujed to the

maximum extent possible under ine law. This documenl was produced by AIA software al 20:55:53 on 05/26/2009 under Order No.1000385170_1 which expires

on 1/49/2010, and is nat for resale,

User Notes: {2075910671}
init.

Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 21 of 66

§ 8.4.4 Workers’ Compensation and Employers Liability mecting statutory limits mandated by state and federal laws.
If (1} Limits in excess of those required by staiute are to be provided, or (2) the employer is not statutorily bound to
obtain such insurance coverage or (3) additional coverages are required, additional coverages and limits for such
insurance shal] be as follows:

TBA

§ 8.1.2 Commercial General Liability including coverage for Premises-Operations, Independent Contractors’
Protective, Products-Compleled Operations, Contractual Liability, Personal Injury and Broad Form Property Damage
(including coverage for Explosion, Collapse and Underground hazards):

$1,000,000.00 Each Occurrence

$2,000,000.00 General Agpregate

$1.00 Personal and Advertising Injury

$5,000,000.00 Products-Completed Operations Aggregate

1 The policy shall be endorsed to have the General Aggregate apply to this Project only.

2 Products and Completed Operations insurance shall be maintained for a minimum period of at least
Three ( 3 ) year(s) after either 90 days following Substantial Completion or final payment, whichever
is earlier.

3 The Contractua} Liability insurance shall include coverage sufficient to meet the obligations in Section
3.18 of A201™..1997,

§ 8.1.3 Automobile Liability (owned, non-owned and hired vehicles) for bodily injury and property damage:
$1,000,000.00 Each Accident

§ 8.1.4 Other coverage:

TBA

(if Umbrella Excess Liability coverage is required over the primary Insurance or retention, insert the coverage limits.
Commercial Generat Liability and Automobile Liability limits may be attained by individual policies or by a
combination of primary policies and Umbrella and/or Excess Liability policies. If Project Management Protective
Liability insurance is to be provided, state the limits here.}

§ §.2INSURANCE REQUIRED OF THE OWNER

During bath phases of the Project, the Owner shall purchase and maintain liability and property insurance, including
waivers of subrogation, as set forth in Sections 11.2 and 11.4 of A2017™--1997. Such insurance shal] be written for not
less than the following limits, or greater if required by law:

§ 82,1 Property Insurance:
$25,000.00 Deductible Per Occurrence
$50,000.00 Aggregate Deductible

§ 8.2.2 Boiler and Machinery insurance with a limit of: $1,000,000.00 |
(if not a blanket policy, list the objects to be insured.)

§ 8.3PERFORMANCE BOND AND PAYMENT BOND
§ 8.3.1 The Construction Manager shall not (insert “shall” or “shall not’) furnish bonds covering faithful

. performance of the Contract and payment of obligations arising thereunder. Bonds may be obtained through the

Construction Manager's usual source, and the cost thereof shall be included in the Cost of the Work. The amount of
each bond shall be equal to { ) of the Contract Sum.

§ 8.3.2 The Construction Manager shall deliver the required bonds to the Owner al least three days before the
commencement of any Work at the Project site.

 

AIA Document At211*CMc — 2003 and AGC Document 565. Copyright © 1991 and 2003 by The American Institute af Architects and The Associated General
Contractors of America. AH tights reserved. WARNING: This dacument is protected by U.S. Copyright Law and International Treatles. Unauthorized 15
feproduction or distribution of this document, or any poclion of it, ay result in severe civil and criminal penalties, and will be proseculed ta the

maximum extent possible under lhe law. This document was produced by AlA soflware at 20:55:54 on G5/26/2009 under Order No.t 000985 170_1 which expires

on 1/19/2010, and is not for resale.

User Notes: (2075910671)
init.

Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 22 of 66

ARTICLE 9 MISCELLANEGUS PROVISIONS

§ DADISPUTE RESOLUTION

§ 9.4.1 In an effort to resolve any claim, dispute or other matter in question arising out of of related to this Agreement
or breach thereof, either party may request mediation in accordance with the Construction Industry Mediation Rules
of the Amencan Arbitration Association, the costs of which shall be equally shared by the parties.

§ 39.2 OTHER PROVISIONS
§ 9.2.1 Unless otherwise noted, the terms used in this Agreement shall have the same meaning as those in
A2O1™_1997, General Conditions of the Contract for Construction.

§ 9.2.2 EXTENT OF CONTRACT

This Contract, which includes this Agreement and the other documents incorporated herein by reference, represents
ihe entire and integrated agreement between the Owner and the Construction Manager and supersedes all prior
negotiations, representations or agreements, either written or oral. This Agreement may be amended only by written
instrument signed by both the Owner and Construction Manager. If anything in any document incorporated inte this
Agreement is inconsistent with this Agreement, this Agreement shall govern.

§ 9.2.3 OWNERSHIP AND USE OF DOCUMENTS
Asticle 1.6 of A201™—1997 shall apply to both the Preconstruction and Construction Phases.

§ 9.2.4 GOVERNING LAW
The Contract shall be governed by the law of the place where the Project is located.

§ 9.2.5 ASSIGNMENT

The Owner and Construction Manager respectively bind themselves, their partners, successors, assigns and legal
representatives to the other party hereto and to partners, successors, assigns and legal representatives of such other
party in respect to covenants, agreements and obligations contained in the Contract Documents. Except as provided in
Section 13.2.2 of A20}™_[997, neither party to the Contract shall assign the Contract as a whole without written
consent of the other. If either party attempts to make such an assignment without such consent, that party shall
nevertheless remain legally responsible for all obligations under the Contract.

ARTICLE 16 TERMINATION OR SUSPENSION

§ 10.4 TERMINATION

§ 10.4.1 The Owner may terminate this Contract at any time with or without cause, and the Construction Manager may
terminate this Contract for any of the reasons described in Subparagraph 14.1.1 of ATA Document A201-1997.

§ 10.1.2 If the Owner or Construction Manager terminates this Contract pursuant to this Section 10.1, the Construction
Manager shali be equitably compensated for Preconstruction Phase Services performed prior to receipt of notice of

termination; provided, however, that the compensation for such services shall nol exceed the compensation set forth in
Section 4.1.1.

§ 10.1.3 If the Owner or Construction Manager terminates this Contract pursuant to this Section 10.1 after
commencement of the Construction Phase, the Construction Manager shall, maddition to the compensation provided
in Section 10.1.2, be paid an amount calculated as follows:
1 Take the Cost of the Work incurred by the Construction Manager to the date of termination
2 Add the Construction Manager’s Fee computed upon the Cost of the Work to the date of termination at
the rate stated in Section 5.1 or, if the Construction Manager's Fee is stated as a fixed sum in thal
Section, an amount which bears the same ratio to that fixed-sum Fee as the Cost of the Work at the lime
of termination bears to a reasonable estimate of the probable Cost of the Work upon its completion.
«4 Subtract the aggregate of previous payments made by the Owner on account of the Construction Phase.

The Owner shall also pay the Construction Manager fair compensation, either by purchase or rental at the election of
the Owne?, for any equipmeat owned by the Construction Manager which the Owner elects to retain and which is not
otherwise included in the Cost of the Work under Section 10.1.3.1. To the extent that the Owner elects to take legal
assignment of subcontracts and purchase orders (including rental agreements), the Construction Manager shail, as a
condition of receiving the payments referred to in this Article 10, execute and deliver all such papers and take all such
steps, including the legal assignment of such subcontracts and other contractual rights of the Construction Manager, as

 

AIA Document At21™CMc — 2003 and AGC Document 565, Copyright © 1991 and 2003 by The American Inalitute of Architects and The Associated General
Contractors of Amatica, Ail rights reserved. WAANING: This document is protected by U.S. Copyright Law and International Treaties, Unauthorized 16
reproduction or distribution of this document, or any portion of it, may result in severe civil and criminal penalties, and wiil be prosecuted to the

maximum extent possible under the law. This document was produced by AJA software at 20:55:53 an 05/26/2009 under Order No.4 000385170_1 which expires

on 4/19/2019, and is not for resale.

User Notes: {207591067 $}
Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 23 of 66

the Owner may require for the purpose of fully vesting in the Owner the righis and benefits of the Construction
Manager under such subcontracts or purchase orders.

Subcontracts, purchase orders and rental agreements entered into by the Construction Manager with the Owner's
written approval prior to the execution of Amendment No. 1 shali contain provisions permitting assignment to the
Owner as described above. if the Gwner accepts such assignment, the Owner shall reimburse or indemnify the
Construction Manager with respect to all costs arising under the subcontract, purchase order or rental agreement
except those which would not have been reimbursable as Cost of the Work if the contract had not been terminated. if
the Owner elects not to accept the assignment of any subcontract, purchase order or rental agreement which would
have constituted a Cost of the Work had this agreement not been terminated, the Construction Manager shall terminate
such subcontract, purchase order or rental agreement and the Owner shall pay the Construction Manager the costs
necessarily incurred by.the Construction Manager by reason of such termination.

| (Paragraphs deleted)
§ 10.3 SUSPENSION
The Work may be suspended by the Owner as provided in Article 14 of A2017™-1997; in such case, the Guaranteed
Maximum Price, if established, shall be increased as provided in Section 14.3.2 of A201™-1997 except that the term
“cost of performance of the Contract” in that Section shall be understood to mean the Cost of the Work and the term
“profit" shall be understood to mean the Construction Manager's Fee as described in Sections 5.1.1 and 5.3.4 of this
Agreement.

ARTICLE 14 OTHER CONDITIONS AND SERVICES
| TBA

This Agreement entered into as of the day and year first written above.

 

 

 

 

OWNER fi CONSTRUCTION MANAGER
Nabe S Merete: WAX a
(Sigranure) (Signahkjre)

webbie S SMe Dovand Mir ’ swtlent
‘Princd name and title) (Printed ge and title)

lOj is 1 Obes oa
Date Dat

Pasane, 5 rte

A AITEST

 

AIA Document AT27™CMc — 2003 and AGC Oocument 565. Copyright @ 1991 and 2003 by The American Institute of Architects and The Associated Genera!

init. Contractors of America. AH rights reserved. WARNING: This document is protected by U.S. Copyright Law and iniernational Treaties. Unauthorized 17
reproduction or distibution of his document, or any portion at it, may resull in severe civli and criminal penaities, snd will be proseculed to ihe
I maximum extent possibie under the law. This document was produced by AIA software al 20:55:53 on 05/26/2009 under Order No.1000385170_1 which expires

on 1/19/2010, and is not for resale.
User Notes: {2075910674}
19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 24 of 66

Case 1

‘aS BY) 79 pu (Sha au je sOurping Guneixe ety jo sade pug vowRWGp

20) Aysyaigdas Bunsnsju0s st aUAC Oyj ‘edoos jugpUDUY ou} Jo Zed SB PapNiriy
Jot 6 ays oy} Jo Pua jsee oy 1s Poase} sHwprtg Suse jo wsedsip nue LejoWog (>

“SqGpIOypety

yOUWZ 2 ays jO pasodsip PUR jRAOLUAs JO} AOPEEdes Buje. 31 Jou ay) ‘edoos
Sil Jo ped se PepHYoUL JOU s) SYS SUE WOM GELS euZeyY jo EGdsip pug jBAgIlay iq

TE SA0ge $1 peu] oEfoud eg fSnEpUNey aif

Yybnony passasse puw uM Paelipsecs aq [eys oBnsas oY) ‘suONAaO| YodD paae

JE 510900)5 Bupped o]nupAl jo vayQyO|SUL aiNTTy GY) Aye 0] PONGyUCS oq YOYys

OU ae} Aleeuxosdde ax jqea tyGioy Gujpao aGayah jesydAy ay. ‘py spovoues e pue
SlWe9g PUE SULUN{OS ayaZzQuE7 ‘opUIA UO Qeis ayo2GUNd Bg {lm auNjanus GOeIReh ay {8

SMO]1O) $8 PAQuosen AL BMIYed our ‘CUO, Pyne UlisOG, OU) WAY [IGAG JOAS"]

GALEN “gq WAS] PALONYS SU] LIM GOLMWWOJUGS Ul A[JeyaH spUBUAACIdLy Po}EINDOSSA pue

fod) auenbs pa0'0g) Ajaeurxadide jo salons Supied punczBlepun Bersyduoo elo
Big JO Udo? jeu} Pybq pue uBjssp yeys JaGeuByy) UOTINSUOD “YgOOS CUNNOISIG Z

Wailpuawly iy) Jo ogadind ple juDyU) ayy pIO Awad Of Alessadou jUapTG OLY OF paryMOL

2d 0] pawweep aq AjeouoG yous uawealby el, ‘poy Gujessues pingw4isop uy

Sursn JaSpuay UORONBLOD Bu Ag polsnypsues pus Paufsep ag peys ‘mow zuyuoeleg
tq POQLOSEP WOAA JO adoos Sy) AyUO BBNU! oO} eBlog at JO WOHOd Y LNSENT ot

“SAROLTOS
SE POpltnn ay [ERS JUOUTaATTY an Wy) ards JatUEEPA UONIITISUOD 91) PUR FAD 2,

SOTLG UO ‘pucyiog

OOLE MINIS “ABMpeoty ALS S08

nououly yo Audio} LONatysioL) UETZORT
LAR RUByA] ioyanysuEs 917 pale

ZOLER CUeMY ‘siOE

OOET as Hong WEE 666
ATT dis

UAC) BU,

suoaanyeg ggg shay yo

SY DANIO Sl PUMUpIOUTY SIL“ Gustudopsaag esr] paxifAy astag,, ayy jo wed se orpepy
‘OMO UT sOHTPOVT Porwpary ap KoPdUto;y doUTO 91 su pogttasop yofory oyy OF Feuwpnd
CatoumarTy,, 3 gO0T {f Jaquiacag, so st parep safizuryy HononasuOg pur 1atAC
HaeAag, Watlaardy JO WO. PLEpeLIS oY SOxLIPOLU pu spuOWT | “ORE ALUpUAUTY see

 

TON INSWCNSITY
19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 25 of 66

Case 1

HOA Bing-ubiseg ayy jo aseyd s;uSUINZop

UD}FAASUOS PLY jUSLUdOeAap UBiSap “LOISEp SBLUAYIS BY) JO JOM ty) Aq uaqudie

Pua UORENeAD JO Sagathng 19] SjeAsO}U PHINPAxYOS jE JAUME Ul O} STUSLUTOK UOWOTISLOD
BUE sWSwins0c WH seq PUgNS tsLorss|lugns Joka PU sepyg-UBjsOg “g

“SRIVOL)RE JEWaWIHOA0S pug save BY OL eA, pin@-ubseg
ou) Jo UBlsop O14 WEIxa Oo] suOgR SSO GHEY SHONELLOSEI UBlseq y0[org ‘g

yao{eig Oty JO) UBISap ay]
Sujdojaep uw sonatas pue yeliang yulorg eu) 'euaHO szoUuMC au) UO PSG SUOITRIOpIS OD
JaujO Wyn 301980) uawdinbe pue swayeés Gupyng ‘sjeuataW sayBuale jo uOyenjeAG

Ou) UA JUAN Ot) Js(SsY¥ THOReN eA Jwowelnby pue swopsts ‘gproye yy y

“S/BUOSSI/O.-| VBisOg SYED Aq PeUsjUNy Sodtasos Oo; Gunes
SIBYIO PUR JELUMO OU} JO PeRALe SUOISIIAP JO; SAIED BUGISOYL AIPUBP! EUS FAY B/NpALyOS
sous Ubsap 2 eygpdn Ayeoinouad pue asedad BUyNpOuoS SaajAsag Ubjseg “¢

“S1OVOSAUOD PUG SUT YNSYOT SA0WAE JY) PUL JUNO
au Aq PaplAgid salads asa LYMM SIUEHNSUOD s,(eUO}sse}Os4 UBjSaC Ou; Hue |BUOTISsO)Os5
UBISEG 6,80 AQ PApAOK! segj.JOs OLeUPIOND uo|eU;pAGED OLYydOSIq HRW “Zz

‘sOoKla5 SeUoissejq,4 Ubisag 3.4499 0) Gunyepad JuMG

01 spade ssedoid anes] pus wae] Pafug 94) JO UOQUIO YM aIeIUNUKIOD apanE-Uubleeg

ot Aq papjAoid Byay2o aqnapdde meas ‘sueyrstied Hous Aq papword aot) fue Saqes
SIEUOSTOOg UHISOQ 6, AO STRUIpINOS pUE AHeUaW TMOTTENSPUIUEY {etauES) ~E

SROAUSS NOUWHLSININGY NOISdG

WeYs JABaunyY UDYSN|SUAD “MONOTISUOD 40} JOEUAD at) JO SUON|PUOD
HJOUaEy SY) 30 OF TEES GMA SSUNpIONE Ui YOY, AING-UDiseg ay) 30 sOedeE UBIsup Alt say
giqiswodsas Ayny aq glys JOG ue] VONSUSUOD Hus “SALITISISNOdSae QINA-NSISST *9

“LON JuaWpUOUY Sy) AG POLO SUN UIGLUAT WEES EWE
Su) SlO1g Jyh UO udAA JOLIO fe oO] SY “aAOge Zz YderSeY UE Paquasep wWoAA jo Dd05 BY]
O1 Sayeja | se joel jUeWsOIBY ap oy Ayde Ayo geus jUDUIpLaIY Sud ALITY dd Yo

‘SME] PUB suaKE NGA!

FUTWLaACG 'sepog Bujptig alqeoydde ge unm GoUepsozoR UT OAK DING-UbisAg Duy

4M UOSBULO Uy SeqAsos UAjsap (qug)ssajatd ye Wsapad a) panded Sq YeuS PUG OYep;

40 @}218 OU) U] PasuDDy Apadoud oq UUs sjeUOIssajarg UMISeG SIND “JEU O1 a[qe;daqve

syuewuee..5e aajalas (buopssajoid uaplim o] URNS GEUAG ey] Aq aoueApE Ly poAode ot

olm (,S]2UOjssajol,) UBjsaq 3,4t0,) JaGaucyy UdONUISLOD alg Aq padedua {s}jeucissojold

L8[sop oO} Uolesuedwiod OPNPU HEUs 4OAA BUT JO ISO OY} YUOAA ping-udisog ou;

404) OMO/A FY] JO 2609 ey JO oe jo a04 sleieuspy UO IMIBUOD eB sryd juewaady Bi Jo

9 BIOL Ul POUUED SE YOAA Oi yO 1505 ou JO GuNs\stiOD WuAg PRAUOD au) SPUN} juaMND Uy
Jeteuyyy uoyAYSUGD ay) Aed WEYS JUG OY) UGA, PINE-UBISEq OJ “(NOLLYSNBdWOD ‘F

“sH0UTTIOG Je LOG
Ou) Ly poppAdsd se aGuByo oO} OafyNs WOUM_ OL AG HOAGve G\npaLDS aur YIM OIUepOI9R
Gp OM pHNg-UAisag OU] aaosOxl AUCOyp yeus GcUByY UO)NSUES BL “TINGTHOS

co

“HOHOANSUOS 40) |SBUOD Bi} J}O SUOMPLION paroUND oy) Jo OL 'ZLES UF Papiaosd
5g S]Uauiale Ub sag paleiarag, oq OF pawaep og Nays WOAA pHNg-tlisog ouL (p
19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 26 of 66

Case 1

 

“SANYIO UD JOB Ag slusWNoeEg Uubised ay) uy OpeLU SUOHBaApoUs Aue Jo} AWIGel AUR One
qOUS SUC SBA. Us|saC) SAO Jou saGeuey) UGIMSUOD BLE Jay}aU Pues UDSUOD VATA
ABUT MOUS SHEUCHSAOld UBISOQ $jyo JO WBeyey) URPONASLOD ey] a) sQuazdjas Aue
SPniaur pou |eYS jelOd Jao Ave 20) Ujadad) PAuIyUdS UOHULUJOt IO s]UsUTDOg UbRAg
@uy JO 3Sn yak] SoosEe aug) ‘umuoy Peppoid se esuaoy jo 1UB/5 oy Daypoiwounae
yeucissajo.) UbISeG SAND WBA O}UI SunquE Y UeUIOOI0e yore Lk UjstAnid aeudadde ue
Spnjayl yeys ID -(.sivawi96g UB}s9G,) Osh O1 aSAdH NE_RUAYT PUR YY Gly] JOUMG oO} WEG
Aqauay jeuoissajoj¢ wbisaq Ss]! Due Jobeuay vuopanjsuo7 "Aqaiou] peyese.dla ubisep
ou) Guyeass jeuossejouy Ublseg say Aq pesn jeLUO; Wweadod JalndiWos pawIBO ay}
PMIPNIOUY SBUME O} SIGE ase: jeLUICY ONION UE PUR Ua ut Leyueunded Ub{sod,
ay} MoeUosU) ubjsap pajejeu ite pue Ssjustungop UBiseg ‘subisap ye JUG Ou] CL

apiacud yeys JobeLeyy YONONNSUOD “WIYO DINOULOATA ONY SLNSINIO 30 ash “4

HO AA DANG-UbseC} OLY 30] PONNbat

SUIO]SAS PUR SIRUOIRL 30 s]ane} Ayjend ayy YsHaE se Jaly suOHeayeds uA sup Opn

HEYS PUB LOTONSUOS 20) S]UBWWEUINDO! otf) 1G] }OS Heys SHIOUIOOp HONOMPsuCE aut YOAA

PHN UBS] G4) Joy Woy ALY JO S05 ei so; ONG PapPdN pur syuawneg LBlseq pancidda
OU} UO PESEC S]USUINIO| LORINASUOD BpjAdsg IIOWNQOG LOYOMSsUOD 'Z

 

“suo OadS
SUING Ul] POqHOSeP 20 SGupAesp Guy UG POyort G4) HEYS SeLO WW UolONIsued gue sLudsAS
Buaipwid Jefe jo suoyoajog ‘sayojoys aaysodsued pud ‘sjapolu Aprys ‘sugywAulO ur sudqaas
‘sug Bupying ‘ual Bye @ BpMoUT ABW syuBWNOED Ubysep seWWGLOS OY) “BYOIO s s9UMO
By) oy ‘AUB JF Suoesep Guxmuep dyeayads pue wOAA ONE -ubyseq) ain JO spuauOdiuES
Ubisap aly Jo Upysuoyeay pub yess OUR Fugessnyy woug jo jeagudde vey pue MoIADL

40) SueWToop juBuIdo|eASp UBjsep nue SNRUWALIOS BpIADsY ISTUGWNIOg Ubfsog ",

 

SSDIAWAS NOISHA 'D

“UO AA PRN -UHISsog
aby JO} HOY SLY JO sop Ju) Jo OyeUSO au ayepd Ayeopaued ‘spugiungeg LVoyoRjsuED
any 30 vogeedaud au Sno sesseiSasd usjsap au} se PRE WIAA ININE-Ubsag By
40) UOAA OU; JU JSD Gy] JO Sees UA BBdOIY “HIO/Y UU} JO 1SOQ aI] Jo SOPCWUISS “¢

SOAR DING -UBSOC) at JO) HO AA,
aU) (0 1802 o1p 16) ;aGpNY pue snpeyss oy; pu esa}9 alos au) OUMO Sly Ag papiacut
UORBLWOJU OW UO paseq ays |salozg BU jo WOHAN|RAR UN ANADIG -‘MOnUNeAY ONS

“IAA

AY) JO 1S9D By) 404 JOSpAG ay puR ‘aNpaLIs eld OU ‘SUEYPEUOS JO DeyYsy Syp SUMO

8yi Aq paplrosd suOynbS! sip) 'eNeTd efor Guy Buypnjouy wauAC ay) Ag pausjuin{
UOIREVOU ay) Jo VOREeAe UE Apia JABpNE pur ojpayag “ROAD JIOIosg “yp

SAQAMES ONWVINLSS ONY NOLLYRIWAd “8

yoafosg Ott
JOA UOHOIPSUN] Buel SoYVOUING [BjUaWUZaACH 70 jaAC.ddE OU 30} PONbod SsUSLUNEP Huy
OX[L UNA UOMIOUUOS Ul LOLAC) BU] ISIESY ISUO(S (MGS SuyaUIMy [EPUULULLIGAOE) “2
19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 27 of 66

Case 1

aioe FAR CPT etsy omc

_ i PUL ATEL pag} (ag pur aun payuitg}
ne FBS POPRAL PUTA Soo ay,
nn “d
. Sa W ofontstenss a PRIM
“- ic? aN
1
Coe cme
a

“MO|O POyLspiy Saye O4) WO sLediapnes ayn WwW Ds ;noex7

     
  

 

 

 

 

“OUMO OY) Yl Papeiyye 2A O] PAO! Alnue Jaye Ae se JTF IH Ser
0} 'papicwe se yueWwoaHy ey) uBjsse Agu seu oy) e1y PAaISE StH] INSIWNSISSY ‘OT

 

juawaoy oj
42 POP|AGIG $2 pe USA[peE oO} joBlns yo‘, PUNg-UbseG aU] Oj se BulgosoOd aq [jeus
TUROWWe Yang "NS Sul SB JuRDLUE ue yo oweaDe Lod) “LopEJopjsuea $i6UMC) 10]
WOM bang-u8)sog eq) Jo UO SMysUGo pue UBISEP BNP Oty JO) (lfO,) BoUC tuMuUNCE
paauEeNG Jawad ayy o] asodeld yeUS PUR Load PHNGg-uBsAQG ot Jo UOHaHdUED Joy
SIPSYyss POYSED & pus VaHONsst0d pus ubisap Jo; BJeLUNSa 109 payRiep G apiAga
(leys s8GBURW) UORITSUOT “EUMG Aq OAR PIINE-UBlsacy Sur soy s|uEWAIOP oseud
juauidopaap ubjsap Jo aoue|dagae HIM UOdT AO AINWIXWH GSELNYEYNO “6

 

DUOAA PNg-ubisag
By JO Loyadiing jeu Suyac}o} sia4 omy Guus payed eyy io (gO'GO0'OON' Zs) SIEHO
LOLHA OW YEU] 696; JOU Jo JUnOWE UP Ly BSUBINSUy ATEN BUCISROjOLd UeyUretE puR
BABY O] SBUOSSofOLg YBjsaq] Sy Guinba, ‘aouewnsig sao OF USIP UL “yous ZaDeUE YA,
YOyFONSUOD “yZ0A, pyng- -ubisag aly jo uoNAdiues (tuy Beimoyoy sea omy BuIpUa
ponad 344) 16) {O0°ON0'GON'SS) SIROG WOYTKA Gay Vals ego] Jou Jo jUTOWE ue UI aoUeWTISUl
Agen teuojssajpod uayqjew pud ancy uaueai By ou) Aq peynbas equemnsuy 2auto

0} WOU ppe Uy ‘Reus JaeuEpy LORINSUOD “QONWANSNI ALMUISYI WNOSSAIOUd 8

 

  
Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 28 of 66

 

0-1-O¥

 

ROA SNOR
Od ior

eileen

errersnr re esrrrrs

 

 

AY TW) AN Ore sve TI AG

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ms oe 4
wa ke
|

- : ®

"| e- |

: ®-

@- i

o-

@-|-

&

~ an @-+ |

@-1.

ies” Oy |

we eee @- :

La e- 7

e. :

e- :

oe, tr ~ &- La

| |

|

ai fo +

_ | |
a

HOE

eg Er Te ca

 

 

a

o
Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 29 of 66

AMENDMENT No. 2

This Amendment No. 2 amends and modifies the Standard Form of Agreement Between Owner
and Construction Manager dated as of December 1, 2608 (the “Apreement”) pertaining to the
Project described as the Office Complex & Related Facilities in Boise, Idaho as part of the
“Boise Mixed Use Development”. This Amendment ts effective as of January 14, 2015,
between:

‘The Owner:

SBP LLLP
999 Main Street, Suite 1300
Boise, Idaho 83702

And
The Construction Manager:

Hoffman Construction Company of America
805 SW Broadway, Suite 2100
Portland, OR 97205

The Owner and the Constniction Manager agree that the Agreement shall be amended as
follows.

{, INTENT. This Amendment No. 2 madifies the Agreement only to the extent specifically
set forth herein. All provisions of the Agreement, except as modified by this Amendment
No. 2, shall remain in full force and effect. Nothing in this Amendment No, 2 is intended to
modify any provisions of Amendment No. 1 of the Agreement.

2. THE PROJECT. The description of the “Project” on page | of the Agreement is hereby
amended as follows:

The Project is comprised of (i) underground parking facilities and associated
improvements designed and constructed by Construction Manager pursuant to Amendment
No. 1 of the Agreement and (ii) the Simplot Office Building and Annex together with tenant
improvements (the “Office Complex”) to be constructed pursuant to this Amendment No. 2
of the Agreement. The Office Complex is more particularly described in the plans and
specifications prepared by the Architect as listed below:

a. Specifications (Core & Shell}:
i. Simplot Office Building, Progress Issue, 6/20/2014 (Core & Shell)
ii. [#01b] Lighting Fixture Catalog Cut Sheets (Core & Shell

b, Drawings (Core & Shell):
i. Structural, SuperStructure Permit Submittal, 6/9/2014 (Core & Shell)
ii, Architectural Progress Submittal, 6/20/2014 (Core & Shell)
Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 30 of 66

iii. Plumbing Progress Submittal, 6/20/2014 (Core & Shell)
iv. Mechanical Progress Submittal, 6/20/2014 (Core & Shell)
v, Electrical Progress Submittal, 6/20/2014 (Core & Shell)
vi. Telecom Progress Submittal, 6/20/2014 (Core & Shell)

- vil. Detail Book, Progress Set, 6/20/2014 (Core & Shell)
viii. Bid Set Update Submittal, 9/15/2014 (Core & Sheil)

3. THE ARCHITECT. Identification of the “Architect” on page | of the Agr cement is
hereby amended as follows:

The Owner’s Architect of the Office Complex is Adamson Associates, AAT Architects
Inc. It is acknowledged that Adamson Associates, AAI Architects, Inc. is also engaged
by the Construction Manager as architect for the underground parking facilities and
related improvements pursuant to Amendment No. 1.

4. GUARANTEED MAXIMUM PRICE. Section 5.2 of the Agreement is hereby amended
as follows:

§5.2.]

{a) Office Complex. The sum of the Cost of the Work and the Construction Manager’s
Fee for the Office Complex are guaranteed by the Construction Manager not to exceed the
sum set forth by Change Order at such time as the Drawings and Specifications are
sufficiently complete as provided in § 2.2, subject to additions and deductions by changes in
the Work as provided in the Contract Documents. Such maximum sum as adjusted by
approved changes in the Work is referred to in the Contract Documents as the Guaranteed
Maximum Price. Costs which would cause the Guaranteed Maximum Price to be exceeded
shall be paid by the Construction Manager without reimbursement by the Owner.

(b) Underground Garage and Related hmprovements. It is acknowledged that the
Guaranteed Maximum Price applicable to the improvements designed and constructed
pursuant to Amendment No. | is governed by the provisions of Amendment No. 1 and is
separate from the Guaranteed Maximum Price for the Office Complex pursuant to (a)
above.

Executed in counterparts on the dates set forth below.

 

 

OWNER CONSTRUCTION MANAGER

oy —
By Sabb MeDaveatel” py TY Sa
Debbie S. McDonald Fain] AAW
Its Peestdest General Partner its

Date 1] ma is” Date bp yu as
Init,

Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 31 of 66

WAIA Document A133” — 2009

Standard Form of Agreement Between Owner and Construction Manager as
Constructor where the basis of payment is the Cost of the Work Plus a Fee with a Guaranteed

Maximum Price

AGREEMENT made as of the 9th day of June in the year 2010
(in words, indicate dap, month and year)

BETWEEN the Owner:
(Name, legal status and address}

JRS Properties TI L.P,

999 Main Street, Suite 1300
Boise, Idaho

USA 83702

and the Construction Manager:
(Name, legal status and address)

Hoffinan Construction Company of America
805 SW Broadway, Suite 2100

Portland, Oregon

USA. 97205

for the following Project:
(Name and address or location)

Demolition of Existing Structures, Site Preparation and Project Mobilization
Boise, Idaho
Boise Mixed Use Development {Project Idaho)

The Architect:
Name, legal staius and address)

Adamson Associates, AAI Architects Inc. —Architect and Payment Certifier

The Construction Manager’s Designated Representative:
(Name, address and other information)

Daniel Drinkward, Operations Manager

(Paragraphs deleted)Hoffman Construction Company of America
805 SW Broadway, Suite 2100

Portland, OR 97205

(503) 221-8968

ADBITIONS AND DELETIONS:

The author of this document has
added information needed for its
completion. The author may also
have revised tha text of the orginal
AIA standard form. An Additions and
Deletions Report that notes added
Information as wall as revisions to the
standard form text's avaliable from
the author and should be reviewed, A
vertical line in the left margin of this
document indicates where the author
has added necessary information
and where the author has added te or
deleted from the original AFA text.

This document has Important Jegal
consequences. Consultation with an
attomey Is ericouraged with respect
to its completion or modification.

AIA Document A201 ™-2007,
General Conditions of the Contract
for Construction, is adopted in this
document by reference. Do not use
‘with offer genera conditions unless
this document is modified.

 

AlA Document 41331 — 2009 (formerly Al21™CMc — 2003}, Copyright 1991, 2003 and 2009 by The American Institute of Architects. All sights reserved.
WARNING: This AA” Document is protected by U.S. Copyright Law and International Treaties. Unauthorized reproduction er distrbutfian ef thls AA®
Document, or any portlon of it, may result in severe civil and criminal penaltles, and will be prosecuted to the maximum extent possible under the law.
This document was produced by AIA software at 16:17:45 on 61/04/2012 under Order No.8032869203_ 4 which expires on 03/22/2012, and Js nat for resale,

User Notes:

{1146127288}

4

EXHIBIT B
Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 32 of 66

The Architect’s Designated Representative:
(Name, address and other information)

| The Owner and Construction Manager agree as set forth below:

(Paragraphs deleted)

The Project includes demolition of the buildings at 301 and 333 SW 9" Street and other activities to prepare the JUMP
Project Site for construction including but not limited to construction of temporary office space within existing
structures, site clearing, surveying, site security, temporary utilities and establishing construction entrances.

 

. AIA Document A133™ — 2009 (formerly A1217™CMc — 2003}. Copyright @ 1991, 2003 and 2009 by The American Instltule of Architects. All rights reserved,
init. WARNING: This AtA® Document Is protectod by LS. Copyright Law and internatlonat Trealles. Unauthoized reproduction or distribution of this AIA® 2
Documant, or any portion of ft, may result In severe civil and criminal penaftias, and will ba prosecuted fo tha maximum extent possible under tha law.
I This document was produced by AIA software af 09:04:09 on 04/03/2012 under Order No.8092969203_4 which expires on 03/22/2012, and is not for resale.

User Notes: (84241951 1}
Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 33 of 66

| TABLE OF CONTENTS

ARTICLE 1 GENERAL PROVISIONS
§ 1.1 Relationship of the Parties
§ 1.2 General Conditions

ARTICLE 2 CONSTRUCTION MANAGER’S RESPONSIBILITIES
§ 2.1 Preconstruction Phase
§ 2.2 Guaranteed Maximum Price Proposal and Contract Time
§ 2.3 Construction Phase
§ 2.4 Professional Services
§ 2.5 Hazardous Materials

ARTICLE 3 OWNER'S RESPONSIBILITIES
§ 3.1 Information and Services
§ 3.2 Owner’s Designated Representative
§ 3.3 Architect
§ 3.4 Legal Requirements

ARTICLE 4 COMPENSATION AND PAYMENTS FOR PRECONSTRUCTION PHASE SERVICES
§ 4.1 Compensation
§ 4.2 Payments

ARTICLE 5 COMPENSATION FOR CONSTRUCTION PHASE SERVICES
§ 5.1 Compensation
§ 5.2 Guaranteed Maximum Price
§ 5.3 Changes in the Work

ARTICLE 6 COST OF THE WORK FOR CONSTRUCTION PHASE
§ 6.1 Costs to Be Reimbursed
§ 6.2 Costs Not to Be Reiimbursed
§ 6.3 Discounts, Rebates and Refunds
§ 6.4 Accounting Records

ARTICLE 7 CONSTRUCTION PHASE
§ 7.1 Progress Payments
§ 7.2 Final Payment

ARTICLE 8 INSURANCE AND BONDS
§ 8.1 Insurance Required of the Construction Manager
§ 8.2 Insurance Required of the Owner
§ 8.3 Performance Bond and Payment Bond

ARTICLE 9 MISCELLANEOUS PROVISIONS
§ 9.1 Dispute Resolution
§ 9.2 Other Provisions

ARTICLE 10 TERMINATION OR SUSPENSION
§ 10.1 Tennination Prior to Establishing Guaranteed Maximum Price
§ 10.2 Termination subsequent to Establishing Guaranteed Maximum Price
§ 10.3 Suspension

ARTICLE 41 OTHER CONDITIONS AND SERVICES

 

 

AIA Document A133™ = 2099 (formerly A121 Clic ~ 2003), Capyrighl @ 1991, 2003 and 2009 by The American Institute of Architects. All righ{s reserved.
WARNING: This AIA” Qocumant is protected by U.S. Copyright Law and Intematfonal Treaties. Uneuthorlzed reproduction of distribution of this AIA”
Docurment, or any portlan of it, may result in severe civil and criminal penalties, and wit be prosecuted to the maximum extent possible under the fa,
i This document wes produced by ALA software at 09:04:08 on 01/03/2012 under Order No.8032989203_ 4 which expires on 03/22/2012, and is not for resale,

User Notes: (842449541)

Init.
Init.

 

 

 

Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 34 of 66

ARTICLE 1 GENERAL PROVISIONS

§ 4.1 RELATIONSHIP OF PARTIES

The Construction Manager accepts the relationship of trust and confidence established with the Owner by this
Agreement, and covenants with the Owner to furnish the Construction Manager's reasonable skill and judgment and to
cooperate with the Architect in furthering the interests of the Owner. The Construction Manager shall furnish
construction administration and management services and use the Construction Manager’s best efforts to perform the
Project in an expeditious and economical manner consistent with the interests of the Owner and consistent with the
level of skill, experience and expertise as represented in the Construction Manager’s proposal dated October 15, 2008
(the "CM Proposal"} which is incorporated herein by this reference, The Owner shall endeavor to promote harmony
and cooperation among the Owner, Architect, Construction Manager and other persons or entifies employed by the
Owner for the Project.

§ 1.2 GENERAL CONDITIONS

For the Construction Phase, the General Conditions of the Contract shall be the AIA® Document A201™™ -1997,
General Conditions of the Contract for Construction as modified, which is incorporated herein by reference, For the
Preconstruction Phase, or in the event that the Preconstruction and Construction Phases proceed concurrently, A201™
-1997 shall apply to the Preconstruction Phase only as specifically provided in this Agreement. The term
“Contractor” as used in A201™ -1997 shall mean the Construction Manager.

(Paragraphs deleted)

ARTICLE 2 CONSTRUCTION MANAGER’S RESPONSIBILITIES

The Construction Manager shal! perform the services described in this Article and in the CM Proposal. The services to
be provided under Sections 2.1 and 2.2 constitute the Preconstruction Phase services. Ifthe Qwner and Construction
Manager agree, after consultation with the Architect, the Construction Phase may commence before the
Preconstruction Phase is completed, in which case both phases will proceed concurrently.

§ 2.1 PRECONSTRUCTION PHASE

§ 2.1.1 PRELIMINARY EVALUATION

The Construction Manager shall provide a preliminary evaluation of the Owner’s program and Project budget
requirements, each in tenns of the other.

§ 2.1.2 CONSULTATION

The Construction Manager With the Architect shall jointly schedule and attend regular meetings with the Owner. The
Construction Manager shall consult with the Owner and Architect regarding site use and improvements and the
selection of materials, building systems and equipment. The Construction Manager shall provide recommendations
on construction feasibility; actions designed to minimize adverse effects of labor or material shortages; time
requirements for procurcmsent, installation and construction completion; and factors related to construction cest,
including estimates of altemative designs or materials, preliminary budgets and possible economies,

§ 2.1.3 PRELIMINARY PROJECT SCHEDULE
When Project requirements in Section 3.1.1 have been sufficiently identified, the Coustruction Manager shall prepare
and periodically update a preliminary Project schedule for the Architect's review and the Owner's approval. The
Construction Manager shall obtain the Architect's approval for the portion of the preliminary Project schedule relating
to the performance of the Architect's services. The Construction Manager shall coordinate and integrate the
preliminary Project schedule with the services and activities of the Owner, Architect and Construction Manager, As
design proceeds, the preliminary Project schedule shall be updated to indicate proposed activity sequences and
durations, milestone dates for receipt and approval of pertinent information, submitted of a Guaranteed Maximum
Price proposal, preparation and processing of shop drawings and samples, delivery of materials or equipment
requiring long-lead time procurement, Owner’s occupancy requirements showing portions of the Project having
occupancy priority, and proposed date of Substantial Completion. Lfpreliminary Project schedule updates indicate the
previously approved schedules may net be met, the Construction Manager shall make appropriate recommendations
to the Owner and Architect.

§ 2.41.4PHASED CONSTRUCTION
The Construction Manager shall provide recommendations to the Owner and Architect regarding the phased issuance
of Drawings and Specifications to facilitate phased construction of the Work, if such phased construction is

 

AIA Boecument A1a3a™ ~ 2008 (formery A121 CMe — 2003}, Copyright S 1997, 2003 and 2009 by The American Institute of Architects. All rights reserved,
WARNING: This ALA” Decument is protected by U.S. Copyright Law and latematlonal Treatles. Unautherized regroduction of distribution of this AIA®
Document, or ary portion of if, may result in severe civil and criminal penalties, and wil be prosecuted ta the maximum extent possible under the law.
This document! was produced by AiA software at 09:04:09 on 01/03/2012 under Ordar No.8032969203_1 which expires on 03/22/2012, and ts not for resale.

User Notes: (842419511)
Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 35 of 66

appropriate for the Project, taking into consideration such factors as economies, time of performance, availability of
labor and materials, and provisions for temporary facilities.

§ 2.1.5 PRELIMINARY COST ESTIMATES

§ 2.1.5.4 When the Owner has sufficiently identified the Project requirements and the Architect has prepared other
basic design criteria, the Construction Manager shall prepare, for the review of the Architect and approval of the
Owner, a preliminary cost estimate utilizing area, volume or similar conceptual estimating techniques.

§ 2.1.5.2 When Schematic Design Documents have been submitted by the Architect for approval by the Owner, the
Construction Manager shall prepare, for the review of (he Architect and approval of the Owner, a more detailed
estimate with supporting data. During the preparation of the Design Development Documents, the Construction
Manager shall update and refine this estimate at appropriate intervals agreed to by the Owner, Architect and
Construction Manager.

§ 2.1.5.3 When Design Development Documents have been prepared by the Architect and approved by the Owner, the
Construction Manager shall prepare a detailed estimate with supporting data for review by the Architect and approval
by the Owner. During the preparation of the Construction Documents, the Construction Manager shall update and
refine this estimate at appropriate intervals agreed to by the Owner, Architect and Construction Manager,

§ 2.1.5.4 If any estimate submitted to the Owner exceeds previously approved estimates or the Owner's budget, the
Construction Manager shall make appropriate recommendations to the Owner and Architect. In the event such
detailed estimate indicates that the Cost of the Work for ail or any portion of the Project exceeds the amount previously
estimated, the Construction Manager will coordinate with the Architect who shall revise the design in order to reduce
the estimated Cost of the Work of the Project or to take other action as may be authorized by the Owner.

§ 2.1.6 SUBCONTRACTORS AND SUPPLIERS

The Construction Manager shall seck to develop subcontractor interest in the Project and shall furnish to the Owner
and Architect for their information a list of possible subcontractors, including suppiiers who are to furnish materials or
equipment fabricated to a special design, fom whom proposals will be requested for each principal portion of the
Work. The architect will promptly reply in writing to the Construction manager if the Architect or Owner knows of
any objection to such subcontractor or supplier. The receipt of such list shall not require the Owner or Architect to
investigate the qualifications of proposed subcontractors or suppliers, nor shall it waive the right of the Owner or
Architect later to object to or reject any proposed subcontractor ox supplier.

§ 2.1.7 LONG-LEAD-TIME ITEMS

The Construction Manager shail Recommend to the Owner and Architect a schedule for procurement of
long-lead-time items which will constitute part of the Work as required to meet the Project schedule. If such
long-lead-time items are procured by the Owner, they shall be procured om terms and conditions acceptable to the
Constraction Manager. Upon the Owner’s acceptance of the Construction Manager’s Guaranteed Maximum Price
proposal, all contracts for such items shall be assigued by the Owner to the Construction Manager, who shall accept
responsibility for such items as if procured by the Construction Manager. The Construction Manager shall expedite
the deliver of long-lead-time items.

§ 2.1.B EXTENT OF RESPONSIBILITY
The Construction Manager does not warrant or guarantee estimates and schedules except as may be included as part of
the Guaranteed Maximum Price. The recommendations and advice of the Construction Manager concerning design
altemative shall be subject to the review and approval of the Owner and the Owner’s professional consultants. [tis not
the Construction Manager’s responsibility to ascertain that the Drawings and Specifications are in accordance with
applicable laws, statutes, ordinances, building codes, rules and regulations. However, the Construction Manager shail
use diligence in its review of the Drawings and Specifications and if that review indicates that any portion of the
Drawings or Specifications are at variance therewith, the Construction Manager shall promptly notify the Architect
and Owner in writing,

§ 2.4.9 EQUAL EMPLOYMENT OPPORTUNITY AND AFFIRMATIVE ACTION
The Construction Manager shall comply with applicable laws, regulations and special requirements of the Contract
Documents regarding equal employment opportunity and afiimmative action programs.

 

 

AIA Document A133™ — 2008 (formerly Ai21™CMc — 2003). Copyright © 1991, 2003 and 2009 by The Amezican Institule of Architects. Atl rights reserved.
WARNING: This AIA® Document is protected by U.S. Copyright Law and international Treaties. Unauthorized repraduction ar distibution of this AA® 5
Decument, or any partion of if, may result In savera civil and criminal penaltles, and wil] ba prosecuted to tha maximum extent possible undertha law.

/ This document was produced by AIA software at 09:04:09 on 01/03/2042 under Order No.8032968203_1 which expires on 03/22/2012, and is not for resaie,

User Notes: {842419511}

Init.
Init.

 

Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 36 of 66

§ 2.2 GUARANTEED MAXIMUM PRICE PROPOSAL AND CONTRACT TIME
§ 2.2.1 When the Drawings and Specifications are sufficiently complete, the Construction Manager shall propese a

Guaranteed Maximum Price, which shall be the sum of the estimated Cost of the Work and the Construction
Manager's Fee.

§ 2.2.2 As the Drawings and Specifications may not be finished at the time the Guaranteed Maximum Price proposal is
prepared, the Construction Manager shall provide in the Guaranteed Maximum Price for further development of the
Drawings and Specifications by the Architect that is consistent with the Contract Documents and reasonably inferable
thereftom. Such further development does not include such things as changes in scope, systems, kinds and quality of

materials, finishes or equipment, all of which, ifrequired, shall be incorporated by Change Order,

(Paragraphs deleted)

§ 2.2.3 The estimated Cost of the Work shall include the Construction Manager’s contingency, a sum established by the
Censtruction Manager for the Construction Manager’s exclusive use to cover costs arising under Section 2.2.2 and

other costs which are properly reimbursable as Cost of the Work but not the basis for a Change Order,

§ 2.2.4 BASIS GF GUARANTEED MAXIMUM PRICE
The Construction Manager shall include with the Guaranteed Maximum Price proposal a written statement ofits basis,
which shall include the following:
1 A list of the Drawings and Specifications, including all Addenda thereto, and the Conditions of the
Contract, which were used in preparation of the Guaranteed Maxinvum Price proposal.
2 a List of allowances and a statement of their basis.

3 A list of the clarifications and assumptions made by the Construction Manager in the preparation of the
Guaranteed Maximum Price proposal to supplement the infonnation contained in the Drawings and
Specificatious.

4 — The proposed Guaranteed Maximum Price, including a statement of the estimated cost organized by
trade categories, allowances, contingency, and other items and the Fee that comprise the Guaranteed
Maxununt Price.

.5 The Date of Substantial Completion upon which the proposed Guaranteed Maxinyum Price is based;

and a schedule of the construction Documents issuance dates upon which the date of Substantial
Completion is based.

§ 2.2.5 The Construction Manager shall meet with the Owner and Architect to review the Guaranteed Maximum Price
proposal and the written statement ofits basis. In the event that the Owner or Architect discovers any inconsistencies
or inaccuracies in the information presented, they shall promptly notify the Construction Manager, who shall make
appropriate adjustments to the Guaranteed Maximum Price proposal, its basis, or both.

§ 2.2.6 Unless the Owner accepts the Guaranteed Maximum Price proposal in writing on or before the date specified in
the proposal for such acceptance and so notiftes the Construction Manager the Guaranteed Maximum Price proposal
shall not be effective without written acceptance by the Construction Manager.

§ 2.2.7 Prior to the Qwner’s acceptance of the Construction Manager’s Guaranteed Maximum Price proposal and.
issuance of a Notice to Proceed, the Construction Manager shall not incur any cost to be reimbursed as part of the Cost
of the Work, except as the Owner may specificaliy authorize in writing.

§ 2.2.8 Upon acceptance by the Owner of the Guaranteed Maximum Price proposal, the Guaranteed Maximum Price
and its basis shalt be set forth in Arnendment No. 1. The Guaranteed Maximum Price shall be subject to additions and
deductions by a change in the Work as provided in the Contract Documents, and the Date of Substantial Completion
shali be subject te adjustment as provided in the Contract Documents.

§ 2.2.9 The Owner shall authorize and cause the Architect to revise the Drawings and Specifications to the extent
necessary to reflect the agreed-upon assumptions and clarifications contained in Amendment No. 1. Such revised
Drawings and Specifications shall be finished to the Construction Manager in accordance with schedules agreed to
by the Owner, Architect and Construction Manager. The Construction Manager shall promptly notify the Architect
and Owner if such revised Drawings and Specifications are inconsistent with the agreed-upon asswumptions and
clarifications.

 

AIA Document Ai33™ ~ 2009 {formerly 4121™ CMe — 2003), Copyright © 1991, 2003 and 2009 by The American Institute of Architects. All cights reserved,
WARNING: This AIA? Document is protected by U.S. Copyright Law and internatlonal Treaties. Unauthorized reproduction or distribution of this AIA”

Document, or any pertion of It, may result In severe civil and criminal penaftles, and wil{ be prosecuted to the maximum extent possible under the law.

This document wes produced by AIA software af 09:04:09 on 07/03/2012 under Order No.6032969203_1 which expires on 03/22/20 12, and is not for resale,
User Notes: (842419571)

6
init.

 

Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 37 of 66

§ 2.2.10 The Guaranteed Maximum Price shalt inchide in the Cost ofthe Work only those taxes which are enacted at
the time the Guaranteed Maximum Price is established.

§ 23 CONSTRUCTION PHASE
§ 2.3.1 GENERAL
§ 2.3.4.1 The Construction Phase shall commence on the earlier of.
(1) the Owner’s acceptance of the Construction Manager’s Guaranteed Maximum Price proposal and
issuance of a Notice to Proceed, or
(2) the Owner’s first authorization to the Construction Manager to:
{a} award a subcontract, or
(b) undertake construction Work with the Construction Manager’s own forces, or
{c) issue a purchase order for materials or equipment required for the Work.

{Paragraph deleted)
§ 2.3.2 ADMINISTRATION
§ 2.3.2.1 Except as expressly authorized by the Owner in writing, all Work shall be performed under construction.
Subcontracts or by other appropriate agreements with the Construction Manager, the terms of such Subcontracts or
other appropriate agreements shail be subject to mutual agreement between the Owner and the Construction Manager.
The Construction Manager shall obtain bids from Subcontractors and from suppliers of materials or equipment
fabricated to a special design for the Work from the list previously reviewed and, after analyzing such bids, shall
deliver such bids to the Owner and Architect. The Owner will then determine, with the advice of the Construction
Manager and subject to the reasonable objection of the Architect, which bids will be accepted, The Owner may
designate specific persons or entities from whom the Construction Manager shall obtain bids; however, if the
Guaranteed Maximum Price has been established, the Owner may not prohibit the Construction Manager from
obtaining bids from other qualified bidders. The Construction Manager shall not be required to contract with anyone to
whom the Construction Manager has reasonable objection.

§ 2.3.2.2 ff the Guaranteed Maximum Price bas been established and a specific bidder among those whose bids are
delivered by the Construction Manager to the Owner and Architect (1) is recommended to the Owner by the
Construction Manager; (2) is qualified to perform that portion of the Work; and (3) has submitted a bid which
conforms to the requirements of the Contract Documents without reservations or exceptions, but the Owner requires
that another bid be accepted, then the Construction Manager may require that a change in the Work be issued to adjust
the Contract Time and the Guaranteed Maximum Price by the difference between the bid of the person or entity
reconunended to the Owner by the Construction Manager and the amount of the subcontract or other agreement
aciually signed with the person or entity designated by the Owner,

§ 2.3.2.3 Subcontracts and agreements with suppliers furnishing materials or equipment fabricated to a special design
shail conform to the payment provisions of Sections 7.1.8 and 7.1.9 and shall not be awarded on the basis of cost plus
a fee without the prior consent of the Owner.

§ 2.3.2.4 The Construction Manager shall schedule and conduct meetings at which the Owner, Architect, Construction
Manager and specifically invited Subcontractors can discuss the status of the Work. The Construction Manager shail
prepare and promptly distribute meeting minutes.

§ 2.3.2.5 Promptly after the Owner’s acceptance of the Guaranteed Maximum Price proposal, the Construction
Manager shall prepare a schedule in accordance with Section 3.10 of A201™--1997, including the Owmer’s occupancy
requirements.

§ 2.3.2.6 The Construction Manager shall provide monthly written reports to the Owner and Architect on the progress
of the entire Work. The Construction Manager shall maintain a daily log containing a record of weather,
Subcontractors working on the site, number of workers, Work accomplished, problems encountered and other similar
relevant data as the Owner may reasonably require. The log shall be available to the Owner and Architect.

§ 2.3.2.7 The Construction Manager shall develop a system of cost control for the Work, including regular monitoring
of actual costs for activities in progress and estimates for uicompleted tasks and proposed changes. The Construction
Manager shall identify variances between actual and estimated costs and report the variances to the Owner aud
Architect at regular intervals.

 

AIA Document 41323%% — 2009 (formerly A121 ™CMe — 2003}, Copyright © 1997, 2003 and 2009 by The American insti{ule of Archifects. All riahts reserved,
WARNING: This AIA” Decument fs protected by U.S. Copyright Law and Internatlonai Treatles. Unauthorized reproduction or distribution of this AIA®
Decument, or any portion of It, may result In severe clvil and criminal penalties, and will be prosecuted to the maximum extent possible under tha law.
This document was produced by AlA software ef 09:04:09 on 01/03/2012 under Order No.8032968203_1 which expires on 03/22/2012, and is not for resaic.

User Notes: {842419511)
Init.

 

Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 38 of 66

(Poragraph deleted}
§ 2.4 PROFESSIONAL SERVICES
Section 3.12.10 of A201™~—1997 shall apply to both the Preconstruction and Construction Phases.

§ 25 HAZARDOUS MATERIALS
Section 10.3 of A201™~-]997 shail apply to both the Preconstruction and Construction Phases.

ARHCLE 3 OWNER’S RESPONSIBILITIES

§ 3.1 INFORMATION AND SERVICES

§ 3.1.1 The Owner shall provide full information m a timely manner regarding the requirements of the Project,
including a program which sets forth the Owner’s objectives, constraints and criteria, including space requirements
and relationships, flexibility aud expandability requirements, special equipment and systems, and site requirements.

§ 3.4.2 The Owner shall, at the written request of the Construction Manager prior to commencement of the
Construction Phase and thereafter, fumish to the Construction Manager reasonable evidence that financial
arrangements have been made to fulfill the Owner's obligations under the Contract. Furnishing of such evidence shal!
be a condition precedent to commencement or continuation of the Work. After such evidence has been furnished, the
Owner shall not materially vary such financial arrangernents without prior notice to ihe Construction Manager.

§ 3.1.3 The Owner shal! establish and update an overall budget for the Project, based on consultation with the
Construction Manager and Architect, which shall include contingencies for changes in the Work and other costs which
are the responsibility of the Owner,

§ 3.4.4 STRUCTURAL AND ENVIRONMENTAL TESTS, SURVEYS AND REPORTS

In the Preconstruction Phase, the Owner shall furnish the following with reasonable promptness and at the Owner’s
expense. Except to the extent that the Construction Manager knows of any inaccuracy, the Construction Manager shall
be entitled to rely upon the accuracy of any such information, reports, surveys, drawings and tests described in
Sections 3.1.4.1 through 3.1.4.4 but shall exercise customary precautions relating to the performance of the Work.

§ 3.1.4.1 Reports, surveys, drawings and tests conceming the conditions of the site which are required by law.

§ 3.1.4.2 Surveys describing physical characteristics, legal limitations and utility locations for the site of the Project,
and a written legal description of the site. The surveys and legal informatian shall include, as applicable, grades and
lines of streets, alleys, pavements and adjoining property and structures; adjacent drainage; rights-of-way, restrictions,
easements, encroachments, zoning, deed restrictions, boundaries and contours of the site; locations, dimensions and
necessary data pexiaining to existing buildings, other improvements and trees; and information conceming available
ufility services and lines, both public and private, above and below grade, including inverts and depths. All
information on the survey shall be referenced to a project benchmark.

§ 3.1.4.3 The services of a geotechnical engineer when such services are requested by the Construction Manager. Such
services may include but are not limited to test borings, test pits, determinations of soil bearing values, percolation
tests, evaluations of hazardous materials, ground corrosion and resistivity tests, including necessary operations for
anticipating subsoil conditions, with reports and appropriate professional recommendations.

§ 3.1.4.4 Structural, mechanical, chemical, air and water pollution tests, tests for hazardous materials, and other
laboratory and environmental tests, inspections and reports which are required by law.

§ 3.1.4.5 The services of other consultants when such services are reasonably required by the scope of the Project and
are requested by the Construction Manager.

§ 3.2 OWNER'S DESIGNATED REPRESENTATIVE

The Owner shall designate in writing a representative who shall have express authority to bind the Owner with respect
to all matters requiring the Owner's approval or authorization. This representative shall have the authorily to make
decisions on behalf of the Owner conceming estimates and schedules, construction budgets, and changes in the Work,

and shall render such decisions promptly and fumish information expeditiously, so as to avoid unreasonable delay in

 

AIA Document A133%4 — 2009 (formerly AfZ#™C Me — 2003), Copyright © 1991, 2003 and 2009 by The American institule of Architects. Ail rights reserved.
WARNING: This AIA” Document fs protected by U.S. Copyright Law and International Treaties. Unauthorized raproductlon or distribution of thts AIA®

Document, of any partion of it, may result in severe civil and criminal penalties, and will be prosecuted to the maximum extent possible under the law.

This document was produced by AIA software a1 09:04:09 on 01/08/2012 under Order No.6032969203_1 which expires on 03/22/2012, and is not for resate.
User Notes: {842449541}

8
Init,

 

Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 39 of 66

the services or Work of the Construction Manager. Except as otherwise provided in Section 4.2.1 of A201™--1997,
the Architect does not have such authority.

(Paragraph deleted)

§ 3.3 ARCHITECT

The CM shallretain an Architect and other design professionals to provide Basie Services, including all civil,
landscaping, architectural, structural, mechanical and electrical engineering services, other than cost estimating
services, described in the edition of AIA@ Document B143™ 2004, current as of the date of this Agreement. Such
services shall be provided in accordance with time schedules agreed to by the Owner, and Construction Manager.

(Paragraphs deleted)

§ 3.4LEGAL REQUIREMENTS

The Owner shall determine and advise the Architect and Construction Manager of any special legal requirements
relating specifically to the Project which differ from those generally applicable to construction in the jurisdiction of the
Project. The Owner shall furnish such legal services as are necessary to provide the information and services required
under Section 3.1. Construction Manager and its Subcontractors and Suppliers shall perform all Work in
conformance with the requirement of the Construction Documents and all applicable building codes and requirements
of governmental authorities having juwisdiction over the Project.

ARTICLE4 COMPENSATION AND PAYMENTS FOR PRECONSTRUCTION PHASE SERVICES
The Owner shall compensate and make payments to the Construction Manager for Preconstruction Phase services as
follows:

§ 4.1 COMPENSATION

§ 4.1.4 For the services described in Sections 2.1 and 2.2, the Construction Managex’s compensation shall be calculated
as follows:

(State basis of compensation, whether a stipulated sunt, wiultiple of Direct Personnel Expense, actual cost, etc.
Inelude a statement of reimbursable cost items as applicable.)

A."Not To Exceed" value of Seven Hundred and fourteen Thousand Seven Hundred and Thirty Six ($714,736) for all
demolition and early site work related to the project scope.

§ 4.1.2 If compensation is based on a multiple of Direct Personnel Expense, Direct Personnel Expense is defined as the
direct salaries of the Construction Manager’s personnel engaged in the Project and the portion of the cost of their
mandatory and customary contributions and benefits related thereto, such as employment taxes and other statutory
employee benefits, insurance, sick leave, kolidays, vacations, pensions and similar contributions and benefits,

§ 4.2 PAYMENTS

§ 4.2.1 Payments shall be made monthly following presentation of the Construction manager's invoice and, where
applicable, shall be in proportion to services performed.

§ 4.2.2 Payments are due and payable Thirty (30) days trom the date of the Construction Manager's invoice is received
by the Owner. Amounts unpaid after the date on which payment is due shal! bear interest at the rate entered below, ar
in the absence thereof, at the legal rate prevailing from time to time at the place where the Project is located.

(nsert rate of interest agreed upon}

1.00% per annum

(Usury laws and requirements under the Federal Truth in Lending Act, similar state and local consumer credit laws
and other regulations at the Owner's and Contractor's principal places of business, the location of the Project and
elsewhere nay affect the validity of this provision, Legal advice should be obtained with respect to deletions or
modifications, and also regarding requirenients such as written disclosures or waivers.)

ARTICLE 5 COMPENSATION FOR CONSTRUCTION PHASE SERVICES
The Owner shall compensate the Construction Manager for Construction Phase services as follows:

 

AIA Documant A133™ — 2009 (formerly A1214Cifec ~ 2003}. Copyright © 1997, 2003 and 2009 by The Amezican Institule of Architects, Alt rights resarved.
WARNING: This AIA? Document ts protected by U.S. Copyright Law and Intematlenal Treaties. Unauthorized reproduction or distritutlon of this AIA
Document, or eny portion of lt, may result fn severe clvif and criminal penalties, and wil ha prosacutad to the maxtmum extent possible under the law.
This document was produced by AIA software at 09:04:09 on 01/03/2072 under Order No,8092969203_1 which expires on 03/22/2012, and is not for resale.
User Notas: {8424 19511)
Init.

 

Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 40 of 66

§ 5.7 COMPENSATION

§ 5.1.1 For the Construction Manager's performance of the Work as described in Section 2.3, the Owner shalt pay the
Construction Manager in current fimds the Contract Sum consisting of the Cost of the Work as defined in Article 6
and the Construction Manager’s Fee determined as follows:

(State a lump sum, percentage of actual Cost of the Work or other provision for determining the Construction

Manager's Fee, and explain how the Construction Manager's Fee ts to be adjusted for changes in the Work.)

2.6% of the Cost of the Wark.

{Table deleted)

{Paragraphs deleted)

§ 5.2 GUARANTEED MAXIMUM PRICE

§ 3.2.1 The sum of the Cost of the Work and the Construction Manager’s Fee are guaranteed by the Construction
Manager not to exceed the amount provided in Amendment No. 1, subject to additions and deductions by changes in
the Work as provided in the Contract Documents. Such maximum sum as adjusted by approved changes in the Work is
referred to in the Contract Documents as the Guaranteed Maximum Price. Cost which would cause the Guaranteed

Maximum Price to be exceeded shall be paid by the Construction Manager without reimbursement by the Owner,

The Construction Manager will not participate in any GMP savings.
(insert specific provisions if the Construction Manager is fo participate in any savings.)

(Paragraph deleted)

§ 5.3 CHANGES IN THE WORK

§ 5.3.1 Adjustments to the Guaranteed Maximum Price on account of changes in the Work subsequent to the execution
of Amendment No. 1 may be determined by any of the methods listed in Section 7.3.3 of A201™-.1997,

§ 5.3.2 in calculating adjustments to subcontracts (except those awarded with the Cwner's prior consent on the basis
of cost plus a fee), the tens “cost" and "fee" as used in Section 7.3.3.3 of A201™..1997 and the terms "costs" and "a
reasonable allowance for overhead and profit" as used in Section 7.3.6 of A201™ 1997 shall have the meanings
assigned to them in that document and shail not be modified by this Article 5. Adjustments to subcontracts awarded

with the Owner's prior consent on the basis of cost plus a fee shall be calculated in accordance with the terms of those
subcontracts.

§ 5.3.3 In calculating adjustments to the Contract, the terms "cost" and “costs” as used in the above-referenced
provisions of A201*M—1997 shall mean the Cost of the Work as defined in Article 6 of this Agreement, and the term
“and a reasonable allowance for main office overhead and profit" shall mean the Construction Manager’s Fee as
defined in Section 5.1.1 of this Agreement. Project Overhead directly related to the project shall be covered asa
reimbursable under Article 6.

(Paragraphs deleted)

ARTICLE 6 COST OF THE WORK FOR CONSTRUCTION PHASE

§ 6.4 COSTS TO BE REIMBURSED

§ 6.1.1 The term "Cost of the Work" shall mean costs necessarily incurved by the Construction Manager in the proper
performance of the Work, Such costs shall be atrates not higher than those customarily paid at the place of the Project
except with prior consent of the Owner, The Cost of the Work shall include only the items set forth in this Article 6.

§ 6.1.2 LABOR COSTS

“1 Wages of construction workers directly employed by the Construction Manager to perfonn the
construction of the Work at the site or, with the Owner's agreement, at off-site workshops.
2 DELETED

 

AIA Document 4133™ ~ 2099 (formerly A121 ™ Chic — 2003}. Copyight @ 1991, 2003 and 2009 by The American Insitute of Architects. A rights reserved.
WARNING: This AIA? Document ls protected by U5. Copyright Law and International Treaties. Unauthorized reproduction or distributton of this AIA? 10
Document, or any portion of it, may result In severe civil and criminal penalties, and will ba prosecuted to the maximum extent possibla under the law,

This docurnent was produced by AIA software at 05:04:09 on 01/03/2012 under Order No,8032869203_41 which expires on 03/22/2012, and is not for resale.

User Notes: (842419511)
Init.

 

Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 41 of 66

To Be Determined To Be Determined

With prior written approval of the Owner, wages and salaries of the Construction Manager’s
supervisory or administrative personnel engaged on direct project work, at factories, workshops or on
the road, in expediting the production or transportation of materials or equipment required for the
Work, but only for that portion of their time required for the Work.

Cost of all labor add-ons insofar as such cost is based on wages, salaries or other remuneration paid to
employees of the Construction Manager and included in the Cost of the Project. Labor add-ons
include, but are not limited to, taxes, such as social security and unemployment; insurance such as
workers’ compensation, liability, medical, life and disability; vacation and sick pay and other welfare
and employee benefits such as pension plans, employee retirement income plans, and 13" menth pay.
To Heu of Owner paying actual cost of labor add-ons for Construction Manager’s salaried and non-craft
hourly employees, Owner shall pay fifty-two percent (52%) of such employees’ salary to cover labor
add-ons.

§ §.1.3SUBCONTRACT COSTS
Payments made by the Construction Manager to Subcontractors in accordance with the requirements of the

subcontracts.

§ 6.1, scosts OF MATERIALS AND EQUIPMENT INCORPORATED IN THE COMPLETED CONSTRUCTION

Costs, including transportation, of materials and equipment incorporated cr to be incorporated ia the
completed construction.

Costs of materials described in the preceding Section 6.1.4.1 in excess of those actually installed but
required to provide reasonable allowance for waste and for spoilage. Unused excess materials, ifany,
shall be handed over to the Owner at the completion of the Work cr, at the Owner’s option, shall be sold
by the Construction Manager; amounts realized, if any, from such sales sliall be credited to the Owner
as a deduction from the Cost ofthe Work.

§ 61.5 COSTS OF OTHER MATERIALS AND EQUIPMENT, TEMPORARY FACILITIES AND RELATED ITEMS

‘

Costs, including transportation, installation, maintenance, dismantling and removal of materials,
supplies, temporary facilities, machinery, equipment, and hand tools not customarily owned by the
coustruction workers, which are provided by the Construction Manager at the site and filly consumed
in the performance of the Work; and cost less salvage value on such items ifuot fully consumed,
whether sold to others ox retained by the Construction Manager. Cost for items previously used by the
Construction Manager shall mean fair market value.

Rental charges for temporary facilities, machinery, equipment aud hand tools not customarily owned
by the construction workers, which are provided by the Construction Manager at the site, whether
rented from the Construction Manager or others, and costs of transportation, installation, minor repairs

and replacements, dismantling and removal thereof. Rates and quantities of equipment rented shall be
subject to the Owner’s prior approval.

Costs of removal of debris from the site.

Reproduction costs, facsimile transmissions and long-distance telephone calis, postage and express
delivery charges, telephone at the site and reasonable petty cash expenses of the site office

With owner prior approval, that portion of the reasonable travel and subsistence expenses of the
Construction Manager’s personnel incurred while traveling in discharge of duties connected with the
Work,

Cost or rental of temporary portable buildings and toilets as required, also cost of utilities, ice, water,
water containers, cups, fire extinguishers, first-aid supplies, safety equipment, safety awards aud
incentives, safety lunches, drug and alcohol testing, and off-site storage space or facilities.

Cost of constructing, leasing or rental of buildings required for field offices, tool rooms, crew shacks and
warehousing and cost of operating such facilities, including utilities, fumiture, office equipment and
supplies, telephone service, calls and telegrams, postage and expressage and sumilar items in
comnection with the Project,

Cost of producing and handling reports, schedules, manuals, drawings, specifications and other
documents required for the Project.

 

ALA Document Ad 33%" ~ 2004 (formerty A127" CMe ~ 2003). Copyright © 1291, 2003 and 2009 by The American Institute of Architects. AH rights reserved,
WARNING: This ALA® Document Is protected by U.S. Copyright Law and {nternatlanal Trestles. Unauthorized reproduction of distibution of this Aia® 44
Document, or any portion of It, may result in severe civil and criminal penalties, and willbe prosecuted to the maximum extent possibla under tha law.

This document was produced by AIA software a( 09:04:09 on 04/03/2012 under Order No.6092969263 1 which expires on 03/22/2012, and is not for resale,

User Notes:

(84241951 1}
Init.

 

Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 42 of 66

9 Cost of the premiums for all bonds including Construction Manager’s bond and bonds for
Subcontractors and Suppliers. At Construction Manager's option, Construction Manager may elect to
enroll Subcontractors in Subguard in lieu of requiring a performance and payment bond and the
premium cost of such Subguard coverage will be billed to and paid by the Project at a rate of .97%" of
the subcontract value and any subsequent adjustments.

*Rate is subject to adjustment at annual Subguard policy renewal. Premium costs using the renewal
rate wil be billed to and paid by the Project.

10 Cost of outside consultants and professional personnel as may be necessary in connection with the
services to be provided by Construction Manager with prior Owner approval.

§ 6.1.6 MISCELLANEOUS COSTS
1 That portion directly attributable to this Contract of premiums for insurance and bonds.
(if charges for self-insurance are to be included, specify the basis of reimbursement.)

2 Sales, use or similar taxes imposed by a governmental authority which are related to the Work and. for
which the Construction Manager is liable.

4 Fees and assessments for the building permit and for other pennits, licenses and inspections for which
the Constmction Manager is required by the Contract Documents to pay.

4 Fees of testing laboratories for tests required by the Contract Documents, except those related to
non-conforming Work other than that for which payment is permitted by Section 6.1.8.2.

5 Permit fees, licenses, tests and inspections, royalties, damages for infringement of patents and costs of

defending suits therefor. If royalties or losses and damages, including costs of defense, are incurred

which arise from a particular design, process or the product of a particular nianufacturer or
manufacturers specified by the Owner or Architect, such royalties, losses and damages shall be paid by
the Owner and not considered as within the GMP.

6 Costs associated with the provision of the Project Information Website and webcams

T Legal, mediation and arbitration costs, other than those arising from disputes between the Owner and
Construction Manager, reasonably incurred by the Construction Manager in the performance of the
Work and with the Owner’s written permission, which permission shall not be unreasonably withheld.

‘8 Expenses incurred in accordance with Construction Manager’s standard personnel policy for relocation
and temporary living allowances of personnel required for the Work, in case it is necessary to relocate
such personnel from distant locations with Owner prior approval.

3 AtConstruction Manager’s option, Construction Manager may elect to implement a general liability
wrap-up program providing Commercial General Liability insurance coverage to subcontractors as
well as the Construction Manager and the premium cost of such general liability wrap-up will be billed
to and paid by the Project at a rate of 1.4% of total Project cost (cost of work plus Construction
Manager’s fee).

§ 6.1.7 OTHER COSTS

1 Other costs incurred in the performance of the Work ifand to the extent approved in advance in writing
by the Owner.

§ 5.1.8 EMERGENCIES AND REPAIRS TO DAMAGED OR NONCONFORMING WORK

The Cost of the Work shall also inehide costs described in Section 6.1. 1which are incurred by the Construction

Manager:

1 In taking action to prevent threatened damage, injury or loss in case of an emergency affecting the
safety of persons and property, as provided in Section 10.6 of A20]™--1997.

Pv In repairing or correcting damaged or non-conforming Work executed by the Construction Manager
or the Construction Manager's Subcontractors or suppliers, provided that such damaged or
non-conforming Work was not caused by the negligence or failure to fulfill a specific responsibility to
the Owner set forth in this agreement of the Construction Manager or the Construction Manager’s
foremen, engineers or superintendents, or other supervisory, administrative or managerial personnel of
the Construction Manager, or the or the failure of the Construction Manager’s personnel to supervise
adequately the Work of the Subcontractors or suppliers, and only to the extent that the cost of repair or

 

Até Document AT33™ — 2009 (formerly A12i™CMc ~ 2003), Copyright © 1994. 2003 and 2009 by The American Instilute of Architects, All rights reserved.
WARRING: This AIA® Document Is protected by U.S. Copyright Law and International Treatles, Unauthorized reproduction or distributfon of this AIA” 42
Document, or any portion of it, may result In severe clyil and criminal penalties, and will be prosecuted to the maximum extent possible under tha law.

This document was produced by AIA sofware at 09:04:08 on 01/03/2012 under Order No.6032969203_1 which expires on 03/22/2012, andis not for resate,

User Notes: (842419511)
Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 43 of 66

correction is not recoverable by the Construction Manager from insurance, Subcontractors or
suppliers. The Construction Manager shall be reimbursed for 50% (Fifty percent) of the costs without
any Construction Manager Fee related to Work that falls under this category of costs.

§ 6.1.9 The costs described in Sections 6.1.1 through 6.1.8 shall be included in the Cost of the Work notwithstanding
any provision of A201™—1997 or other Conditions of the Contract which may require the Construction Manager to
pay such costs, unless such costs are excluded by the provisions of Section 6.2.

§ 62 COSTS NOT TO BE REIMBURSED

§ 6.2.1 The Cost of the Work shall not include:

1 Salavies and other compensation of the Construction Manager’s personnel stationed at the Construction
Manager’s principal office or offices other than the site office, except as specifically provided in
Sections 6.1.2.2 and 6.1.2.3.

2 Expenses ofthe Construction Manager’s principal office and offices other than the site office, except as

specifically provided in Section 6,1.

Overhead and general expenses, except as may be expressly included in Section 6.1.

The Construction Manager’s capital expenses, inchiding interest on the Construction Manager’s capital

eroployed for the Work.

‘5 Rental costs of machinery and equipment, except as specifically provided in Section 6.1.5.2.

6 Except as provided in Section 6.1.8.2, costs due to the negligence of the Construction Manager or to
the failure of the Construction Manager to fulfill a specific responsibility to the Owner set forth in this
agreement.

J? Costs incurred in the performance of Preconstruction Phase Services.

8 Except as provided in Section 6.1.7.1, any cost not specifically and expressly described in Section 6.1.

mie

| 4 Costs which would cause the Guaranteed Maxinium Price to be exceeded.

(Paragraphs deleted}

§ 6.3 DISCOUNTS, REBATES AND REFUNDS

§ 6.3.4 Construction Manager shall notify the Owner of discount opportunities and if the Owner provides payment as
necessary fo allow the Construction Manager to take the discount, then such cash discounts obtained on payments
made by the Construction Manager shail accrue to the Owner.

§ 6.3.2 Amounts which accrue to the Owner in accordance with the provisions of Section 6.3.1 shall be credited to the
Owner as a deduction from the Cost of the Work.

§ 64 ACCOUNTING RECORDS

§ 6.4.1 The Construction Manager shall keep full and detailed accounts and exercise such controls as may be
necessary for proper financial management under this Contract; the accounting and control systems shall be
satisfactory to the Owner. The Owner and the Owner’s accountants shall be afforded access to the Consfruction
Manager’s records, books, correspondence, instructions, drawings, receipts, subcontracts, purchase orders, vouchers,
memoranda and other data relating to this Project, and the Construction Manager shail preserve these for a period of
three years after final payment, or for such longer period as may be required by faw.

(Paragraphs deleted)
ARTICLE 7 CONSTRUCTION PHASE PAYMENTS

{Paragraphs deleted)

§ 7.1 PROGRESS PAYMENTS

§ 7.4.14 Based upon Applications for Payment submitted to the Architect by the Construction Manager and Certificates
for Payment issued by the Architect, the Owner shall make progress payments for Work properly performed to the
date of such application for payment on account of the Contract Sum to the Constriction Manager as provided below
and elsewhere in the Contract Documents.

§ 7.1.2 The period covered by each Application for Payment shall be one calendar month ending on the last day of the
month.

 

 

AIA Document ATa3™ ~ 2009 (formerly At21™ONc — 2003). Copyright © 1991, 2003 and 2009 by The American insiltute of Architects. Alt Fights reserved.
WARNING: This AIA” Document Is protected by U.S. Copyright Law and international ‘Treaties. Unauthorized reproduction or distribution of this AIA® 3
Document, or any portion of it, may rasult In severe clvil and criminal panaltles, and wilt bo prosecuted to the maximum extent possibla under ihe faw,

i This document was produced by AIA software at 09:04:09 on 01/03/2042 under Order No.8032969203_ 1 which expires on 03/22/2042, andis not for resale.

User Notes: (842479511)

Init.
init.

 

 

Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 44 of 66

§ 7.1.3 Provided an Application for Payment is received by the Architect not later than the Thirty-first day ofa
month, the Owner shall make payment to the Construction Manager not later than the Thirty-first day of the
following month. Ifan Application for Payment is received by the Architect affer the application date fixed above,

payment shall be made by the Owner not later than Thirty ( 30) days after the Architect receives the Application for
Payment.

§ 7.1.4 With each Application for Payment, the Construction Manager shall submit payrolls, petty cash accounts,
receipted invoices or invoices with check vouchers attached and any other evidence required by the Owner or
Architect to demonstrate that cash disbursements already made by the Construction Manager on account of the Cost of
the Work equal or exceed (1) progress payments already received by the Construction Manager; less (2) that portion of
those payments attributable to the Construction Manager’s Fee; plus (3) payralls for the period covered by the present
Application for Payment.

§ 7.1.5 With each Application for Payment, the Construction Manager shall submit the Schedule of Values which
matches the estimated Cost of Work as of the date of such Application for Payment allocated among various portions
of the Wark. Construction Manager's Fee and Contingency allowance shall each be shown as separate line items in
the Schedule of Values, In the event the Schedule of Values exceeds the GMP, the Construction Manager shail submit
to the Owner a written plan to reduce the Cost of the Work, reduce the Contingency, reduce the Construction
Managers Fee or otherwise pay the costs exceeding the GMP.

§.7.1.6 Applications for Payment shall show the percentage completion of each portion of the Work as of the end of
the period covered by the Application for Payment. The percentage completion shall be the lesser of (1) the percentage
of that portion of the Work which has actually been completed or (2) the percentage obtained by dividing (a) the
expense which has actually been incurred by the Construction Manager on account of that portion of the Work for
which the Construction Manager has made or intends to make actual payment prior to the next Application for

Payment by (b) the share of the Guaranteed Maximum Price allocated to that portion of the Work in the schedule of
values.

§ 7.1.7 Subject to other provisions of the Contract Documents, the amount of each progress payment shall be
computed as follows:
1 The Cost of the Work properly performed and compleied plus the cost of material purchased and
properly stored during the period applicable to the Application for Payment,

2 Add the Consiruetion Manager’s Fee, less retainage of Five percent ( 5.00% ). The Construction

Manager’s Fee shall be computed upon the Cost of the Work described in the two preceding Sections at
the rate stated in Section 5.1.1 or, if the Construction Manager’s Fee is stated as a fixed sum in that
Section, shall be an amount which bears the same ratio to that fixed-sum Fee as the Cost of the Work in
the two preceding Sections bears to a reasonable estimate of the probable Cost of the Work upon its
cornpletion.

(Paragraph deleted)

3 Subtract the aggregate of previous payments made by the Owner. .

4 = Subtract the shortfall, if any, indicated by the Construction Manager in the documentation required by
Section 7.1.4 to substantiate prior Applications for Payment, or resulting from errors subsequently
discovered by the Owner's accountants in such documentation.

5 Subtract amounts, ifany, for which the Architect has withheld or nullified a Certificate for Payment as
provided in Section 9.5 of A201™_—1997,

§ 7.1.8 Except with the Owner’s prior approval, payments to Subcoutractors shall be subject to retention of not less
than Five percent ( 5.00% }. The Owner and the Construction Manager shall agree upon a mutually acceptable
procedure for review and approval of payments and retention for subcontracts.

§ 7.4.9 Except with the Owner’s prior approval, the Construction Manager shail not make advance payments to
suppliers for matertais or equipment which have not been delivered and stored at the site.

 

ATA Document A133 . 2009 (formerly AtZ1™CMe — 2003}, Copyright © 1994, 2003 and 2008 by The American Institute af Architects, All rights reserved,
WARHING: This AIA” Dacument Is protected by U.S, Copyrigitt Law and Internatlonal Treaties. Unauthorlzed reproduction or disteibutlon of this AJA® 44
Decument, or any portion of it, may result In severe clvil and celminal penalties, and will ba prosecuted fo {he maximum extent possible under the law,

This document was produced by ALA software at 09:04:09 on 01/03/2012 under Order No,8032969203_1 which expires on 03/22/2042, and is not for resale,

User Notes: (842449511)
init.

 

 

Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 45 of 66

§ 7.1.10 In taking action on the Construction Manager’s Applications for Payment, the Architect shall be entitled to
rely on the accuracy and completeness of the information furnished by the Construction Manager and shall not be
deemed to represent that the Architect has made a detailed examination, audit or arithmetic verification of the
documentation submitted in accordance with Section 7.1.4 or other supporting data, that the Architect has made
exhaustive or continuous on-site inspections or that the Architect has made examinations to ascertain how or for what
purposes the Construction Manager bas used amounts previously paid on account of the Contract. Such examinations,
audits and verifications, if required by the Owner, will be performed by the Owner’s accountants acting in the sole
interest of the Owner.

§ 7.2 FINAL PAYMENT
§ 7.2.1 Final payment shall be made by the Owner to the Construction Manager when (1} the Contract has been fully
performed by the Construction Manager except for the Construction Manager’s responsibility to correct
nonconforming Work, as provided in Section 12.2.2 of A201™—1997, and to satisfy other requirements, ifany, which
necessarily survive final payment; (2) a final Application for Payment and a final accounting for the Cost of the Work
have been submitted by the Construction Manager and reviewed by the Owner’s accountants; and (3) a final
Certificate for Payment has then been issued by the Architect; such final payment shall be made by the Owner not
more than 30 days after the issuance of the Archifect’s final Certificate for Payment, or as follows:

Forty Six (46) days following the issuance of the Architect's Final Certificate.

§ 7.2.2 The amount of the final payment shall be calculated as follows:
1) Take the sum of the Cost of the Work substantiated by the Construction Manager’s final accounting
aud the Construction Manager’s. Fee, but not more than the Guaranteed Maximum Price.
2 Subtract amounts, ifany, for which the Architect withholds, in whole or in part, a final Certificate for
Payment as provided in Section 9.5.1 of A201™-1997 or other provisions of the Contract Documents,

3 Subtract the aggregate of previous payments made by the Owner.

If the aggregate of previous payments made by the Owner exceeds the amount due the Construction Manager, the
Construction Mauager shail reimburse the difference to the Owner,

§ 7.2.3 The Owner’s accountants will review and report in wnting on the Construction Manager’s final accounting
within 30 days after delivery of the final accounting to the Architect by the Construction Manager. Based upon such
Cost of the Work as the Owner's accountants report to be substantiated by the Construction Manager's final
accounting, and provided the other conditions of Section 7.2.1 have been met, the Architect will, within seven days
after receipt of the wriiten report of the Owner's accountants, either issue te the Owner a final Certificate for Payment
with a copy to the Construction Manager or notify the Construction Manager and Owner in writing of the Architect's
reasons for withholding a certificate as provided in Section 9.5.1 of A2017—1997 . The time periods stated in this
Section 7.2 supersede those stated in Section 9.4.1 of A2O1™—1997,

§ 7.2.4 If the Owner’s accountants report the Cost of the Work as substantiated by the Construction Manager’s final
accounting to be less than claimed by the Construction Manager, the Construction Manager shail be entitled to
proceed in accordance with Article 9 without a further decision of the Architect. Unless agreed to otherwise, a demand
for mediation or arbitration of the disputed amount shall be made by the Construction Manager within 60 days after the
Construction Manager’s receipt of a copy of the Architect's final Certificate for Payment. Failure to make such
demand within this 60-day period shall resulf in the substantiated amount reported by the Owner’s accountants
becoming binding on the Construction Manager. Pending a final resolution of the disputed amount, the Owner shall
pay the Construction Manager the amount certified in the Architect’s final Certificate for Payment,

ARTICLE 8 iNSURANCE AND BONDS
{Paragraph deleted)

(Table deleted}

(Paragraphs deleted)

 

ALA Document A133™ — 2009 {formerly At21™CMe — 2003}. Copycight © 1991, 2003 and 2009 by Tha American institute of Architects. Alf rights reserved,
WARNING: This AIA” Document is protected by U.S. Copyright Law and International Treaties. Unauthorizad reproduction or distribution of this AIA 45
Document, or any portion of lt, may result In severe civil and criminal penalties, and wii be prosecuted te the maximum extent possible under the law,

This document! was produced by AIA software at 09:04:09 on 01/03/2012 under Order No.8032969203_1 which expires on 03/22/2012, and is not for resale.

User Notes: {84241951 1)
init.

 

Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 46 of 66

§ 8.1 INSURANCE REQUIRED QF THE CONSTRUCTION MANAGER:

During. both phases of the Project, the Construction Manager shall purchase-and maintain insurance ag set forth in
Section 11.1 of A201IM1997, Such insurance shall be written for not léss:than thé following limits, or greater if
reqiired by law:

§ 8.1.1 Workers’ Compensation and Employers Liability meeting statutory fimits mandated by state and federal laws.
If (1) limits. in excess’ of those required by statute are-to be pravided,-or (2) the employer is not statutorily bound to.
obtain, such-insurance coverage or (3) additional covernges are required, additional coverages and Himits for suck
ingdranee shall be as follows:

TBA.

§, 6.1.2 Comnietcial General Liability incliding coverage for Premises-Operations, Independent Contractors’
Protective, Products-Completed Operations, Contractual Liability, Personal Injury and Broad Form Property Damage
(including coverage for Explosion, Collapse and Underground hazards):

$25,000,000.00 Bach Oscuraice:

$25,000,000,00 General Aggregate

$25,000, ,000;00 Personal and Advertising, Injury

$25, ‘ood, 000, 00 Products-Conmpteted Operations Aggregate.

[The policy shall be endorsed to have the General Aggregate apply to ibis Project onty:

2  Prodbéts sad Completed Operations insurance shall be mainfained for a rainhnum period of at least
Three € 3 }year{s) after either 90 days following Substantial Completion or final payment, Whichever
is earlies,

3 The Coatractual Liability insurance shall include coverage sufficient to theet the obligations in Section
3.18 of A201™_-1997,

§ 81,3 Automobile Liability (owned, non-awned and hired vehicles) for bodily injary and property damage:
: $5,000,000,00 Each Accident.

§ 8.1.4 Other coverage:
TBA

(if Upibretla Excess Liability coverage ts required aver-the primary insurance or retention, insert the coverage limits,
Conimercial General Liabilint and Automobile Liability litiits, nay b2 attained by individual polities or by a
combinttion, of pr inary policies and Umbrella and/or Excess Liability policies: If Project Managenient Protective
Liability Insurance is to be provided, state the. limits here.)

§ &2INSURANGE REQUIRED OF THE OWNER,

During both phases of die Project, the Owner stiall purchage-and maintain liability and properly insurance, including
watvers.of subrogation, as set forth in Sections L1.2 aud 11.4 of A201™ 1997, Sich irisureuce shall be avrittén for not
fess than the following limits, or greater ifrequired by law:

§ 8.2.1 Property Insurance:
$25,000.00 Deductible Per Occurrence
$50,000.00 Aggregate Deductible

§ 8.2.2 Boiler and Machinery insurance with a limit of $1,000,000.00.
(if nota. blanket policy, list he objects to he insured)

§ 8:3. PERFORMANCE BOND AND PAYMENT BOND.
§ 8.3. 1 The Construction Manager shall net Gnsert "shall" or "shall nat") furnish bonds covering faithful
performance of the Contractand payment of obligations arising thereunder. Bonds may be obtained through the

 

AIA Document. ATS — 2003 fforniery AIZ1 CMe — 2003), Copyright © 1994, 2003 and 2008 by Tha Américan Institute of Archifacts. All tights reserved,
WARNING: This, AIA® Dorument fs protected by U.S. Copyright Law and Internaltonal Treaties; Unauthorizod reproduétion er distribution of this ALAS 16
Decumant, or any portion of it, may result in severe clvil and criminal panaltles, and will be proseculed to the maximum extent possible ierder the jaw.

This document was produced by AIA software al $1:37:58 on 01/05/2012 under Order No,2032899203_1 which expires on 03/22/2012, and Is nal for resale.

User Hotes: (1213485928)
Init.

 

Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 47 of 66

Construction Manager’s usual source, and tle cost thereof shall be included in the Cost of the Work. The amount of
each bond shall be equal to ( ofthe Contract Sum.

§ 8.3.2 The Construction Manager shall deliver the required bonds to the Owner at least three days before the
commencement of any Work at the Project site.

ARTICLE 9 MISCELLANEOUS PROVISIONS

§ 9.4 DISPUTE RESOLUTION

(Paragraphs deleted)

§ 9.1.1 In an effort to resolve any claim, dispute or other matter in question arising out of or related to this Agreement
or breach thereof, either party may request mediation in accordance with the Construction Industry Mediation Rules
of the American Arbitration Association, the costs of which shall be equally shared by the parties.

§9.2 OTHER PROVISIONS

§ 9.2.1 Unless otherwise noted, the terms used in this Agreement shail have the same meaning as those in
A2017©.1997, General Conditions of the Contract for Construction.

§ 9.2.2 EXTENT OF CONTRACT

This Contract, which includes this Agreement and the other documents incorporated herein by reference, represents
the entire and integrated agreement between the Owner and the Construction Manager and supersedes all prior
negotiations, representations or agreements, either written or oral. This Agreement may be amended only by written
instrument signed by both the Owner and Construction Manager. If anything in any document incorporated into this
Agreement is inconsistent with this Agreement, this Agreement shali govern.

§ 9.2.3 OWNERSHIP AND USE OF DOCUMENTS
Article 1.6 of A201™--1997 shall appiy to both the Preconstruction and Construction Phases.

§ 9.2.4 GOVERNING LAW
The Contract shall be governed by the law of the place where the Project is located,

§ 9.2.5 ASSIGNMENT

The Owner and Construction Manager respectively bind themselves, their pariers, successors, assigns and legal
representatives to the other party hereto and to payiners, successors, assigns and legal representatives of such other
party in respect to covenants, agreements and obligations contained in the Contract Documents. Except as provided in
Section 13.2.2 of A20]™--1997, neither party to the Contract shal} assign the Contract as a whole without written
consent of the other. If either party attempts to make such an assignment without such consent, that party shall
nevertheless remain legally responsible for all obligations under the Contract.

ARTICLE 10 TERMINATION OR SUSPENSION

§ 10.1 TERMINATION

§ 10.4.1 The Owner may terminate this Contract at any tire with or without cause, and the Construction Manager may
terminate this Contract for any of the reasons described in Subparagraph 14.1.1 of AIA Document A201-1997,

§ 10.1.2 Ifthe Owner or Construction Manager terminates this Contract pursuant to this Section 10.1, the Construction
Manager shall be equitably compensated for Preconstruction Phase Services performed prior to receipt of notice of
termination; provided, however, that the compensation for such services shall not exceed the compensation set forth in
Section 4.1.1.

§ 10.1.3 Ifthe Owner or Construction Manager tenninates this Contract pursuant to this Section 10.1 after
commencement of the Construction Phase, the Construction Manager shall, inaddition to the compensation provided
in Section 10.1.2, be paid an amount calculated as follows:
1 Take the Cost of the Work incurred by the Construction Manager to the date of termination
.2 Add the Construction Manager’s Fee computed upon the Cost of the Work to the date of termination at
the rate stated in Section 5.1 or, if the Construction Manager's Fee is stated as a fixed sum in that
Section, an amount which bears the same ratio to that fixed-sum Fee as the Cost of the Work at the time
of termination bears to a reasonable estimate of the probable Cost of the Work upon its completion.

 

AIA Becument At am — 2009 {formerly A121™ CMe -- 2003}, Copyright © 1991, 2003 and 2009 by The American Institule of Architects. All rights reserved.
WARNING: Thi ALA® Document fs protected by U.S. Cepyright Law and Intemational Treatles, Unauthorized reproduction or distribution of this AIA® 47
Document, or any portion of if, may result In severe clvil end criminal penalties, and wil ba prosecuted fo the maximum extent possible under the law,

This documant was produced by AIA software at 09:04:09 on 61/03/2012 under Order No.8032969203._4 which expires on 03/22/2042, and is not for resale.

User Nofes: (842419511)
init,

 

Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 48 of 66

3 Subtract the aggregate of previous payments made by the Owner on account of the Construction Phase,

The Owner shall also pay the Construction Manager fair compensation, either by purchase or rental at the election of
the Owner, for any equipment owned by the Construction Manager which the Owner elects to retain and which is not
otherwise included in the Cost of the Work under Section 10.1.3.1. To the extent that the Owmer elects to take legal
assignment of subcontracts and purchase orders (including rental agreements), the Construction Manager shail, as a
condition of receiving the payments referred to in this Article 10, execute and deliver all such papers aud take all such
sieps, including the legal assignment of such subcontracts and other contractual rights of the Construction Manager, as
ihe Owner may require for the purpose of fully vesting in the Owner the rights and benefits of the Construction
Manager under suck subcontracts or purchase orders.

Subcontracts, purchase orders and rental agreements entered into by the Construction Manager with the Owner's
written approval prior to the execution of Amendment No. 1 shall contain provisions pamiiting assignment to the
Owner as described above. If the Owner accepts such assignment, the Owner shall reimburse or indemnify the
Construction Manager with respect to all costs arising under ihe subcontract, purchase order or rental agreement
except those which would not have been reimbursable as Cost of the Work if the contract had not been terminated. If
the Owner elects net to accept the assignment of any subcontract, purchase order or rental agreement which would
have constituted a Cost of the Work had this agreement not been tenninated, the Construction Manager shall terminate
such subcontract, purchase order or rental agreement and the Owner shall pay the Construction Manager the costs
necessarily incwred by the Construction Manager by reason of such termination.

(Paragraphs deleted}

§ 10.3 SUSPENSION

The Work may be suspended by the Owner as provided in Article 14 of A201T™—1997; in such case, the Guaranteed
Maximum Price, rf established, shall be increased as provided in Section 14.3.2 of A201™—1997 except that the term
"cost of performance of the Contract" in that Section shall be understood to mean the Cost of the Work and the term
“profit shall be understood to mean the Construction Manager’s Fee as described in Sections 3.1.1 and 5.3.4 of this
Agreenient.

ARTICLE 11. OTHER CONDITIONS AND SERVICES

TBA

ee

niered into as of the day aud year first written above.

KE

OWNER (Sigitat :
Scott Piers ot, stam ger

JRS Management L.L.C. General Partner

A

P
CONSTRUCTION MANAGER (Signature)

 
   
 

 

 

o£ JRS Properties LIT L.P.

Dat Hayuctans , Ereenspwevice Presio gum

 

{Printed name and title)

January 9, 2012

(Date)
Qanume O._ Kattan

yabhaaxx (Witness)
(fable deleted)(Paragraphs deleted}

(Printed name and title)

DAMA 3 201z

(Attest} y

 

AIA Document Ai33™ — 2009 (formerly A121™C Mc — 2003}. Copyright @ 1991, 2003 and 2009 hy The Anierican Institute of Architects. AN rights reserved,
WARNING: This AIA® Document fs protected by U.S. Copyright Law and International Treaties. Unauthorized reproduction or distribulfon of this AIA” 48
Document, or any portion of lf, may result in sevare civil and criminal penaltles, anc will be prosecuted to the maximum extont possible uniter the feu.

This document was produced by AIA software at 08:04:09 on 01/03/2012 under Order No.8032909203_1 which expires on 03/22/2012, and is not for resale.

User Notes:

(84241951 4)
 

 

ome,

Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 49 of 66

AIA Document A121"CMc — 2003 and acc
Document 565

Standard Form of Agreement Between Owner and Construction
Manager where the Construction Manager is Also the
Constructor

 
 

fin words, indicate day, month and year.)

ADDITIONS AND DELETIONS:
BETWEEN the Owner: The author of this document

as adda nformation
(Name and address) needed for its completion,
The author may also have
revised the text of the
original AIA standard form.
An Additions and Deletions
Report that notes added
information as well as
revisions to the standard
form text is available fron
the author and should be
reviewed,

 

and the Construction Manager:
(Name and address) This document has important
legal consequences,
Consultation with an
attorney is encouraged with
respect to its completion
or modification.

The 1957 Edition of AIA
Document A201, Generali
Conditions of the Contract
The Project is: for Construction, is

. et referred to herein. This
(Name, address and brief descrip tion) Agreement requires
modification if other
general conditions are
utilized.

 

 

The Architect is:
(Name and address)

 

Tbe Owner and Construction Manager agree as set forth below:
The Project includes:
* Approximately 20,000 square feet as a Foundation Center and;
* Approximately 10,000 square feet of Foundation Studios and;
* Approximately 300,000 square feet of future expansion space and;
» Approximately 4 acres of Foundation Park, which includes an approximately 1,000
Seat outdoor amphitheatre and adjacent support facilities and:
* Approximately 10,000 square feet of retail space finished to a grey space level for
futuré tenant improvements.

 

ATA Document Al2Z1™ CMe - 2003 and Acc Docusent 545. Copyright © 2992 and 2063 by The American Institute of Architects and The Associated
General Contractors of America. All rights reeervet. WARNING: This document is protected by 0.6. Copyright Law end Interpational Treating.
Unauthorized reproduction ox distribution of this docunpat, oy any portion of it, may result in seVere elvil and erininal Panelties, and i
wili be prosecuted to the meximun extent possible under the law. This document wes produced by ALA aoftware at 11:44:35 on 02/03/2009

under Order No.1000385170_1 which axpires on 1/75/2010, and ia net for resale.

User Hotes: (2862615525}

EXHIBIT C
Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 50 of 66

TABLE OF CONTENTS
ARTICLE 1 GENERAL PROVISIONS
§ 1.1 Relationship of the Parties
§ 4.2 General Conditions

ARTICLE 2 CONSTRUCTION MANAGER'S RESPONSIBILITIES
§ 2.1 Preconstruction Phase
§ 2.2 Guaranteed Maximum Price Proposal and Contract Time
§2.3 Construction Phase
§ 2.4 Professional Services
§ 2.5 Hazardous Materials

ARTICLE 3 OWNER'S RESPONSIBILITIES
§ 3.1 Information and Services
§ 3.2 Owner's Designated Representative
§ 3.3 Architect
§ 3.4 Legal Requirements

ARTICLE 4 COMPENSATION AND PAYMENTS FOR PRECONSTRUCTION PHASE SERVICES
§ 4.1 Compensation
§ 4.2 Payments

ARTICLE 5 COMPENSATION FOR CONSTRUCTION PHASE SERVICES
§ 5.1 Compensation
§ 5.2 Guaranteed Maximum Price
§ 5.3 Changes in the Work

ARTICLE 6 COST OF THE WORK FOR CONSTRUCTION PHASE
§ 6.1 Costs to Be Reimbursed
§ 6.2 Costs Not to Be Reimbursed
§ 6.3 Discounts, Rebates and Refunds
§ 6.4 Accounting Records

ARTICLE 7 CONSTRUCTION PHASE
§ 7.1 Progress Payments
§7.2 Final Payment

ARTICLE 8 INSURANCE AND BONDS
§ 8.1 Insurance Required of the Construction Manager
§ 8.2 Insurance Required of the Owner
§ 8.3 Performance Bond and Payment Bond

ARTICLE 9 MISCELLANEOUS PROVISIONS
§ 9.1 Dispute Resolution
§ §.2 Other Provisions

ARTICLE 10 TERMINATION OR SUSPENSION
§ 10.1 Termination Prior to Establishing Guaranteed Maximum Price
§ 10.2 Termination Subsequent to Establishing Guaranteed Maximum Price

§ 10.3 Suspension
ARTICLE 11 OTHER CONDITIONS AND SERVICES

 

ATA Docement Al21"o%c = 2003 and AGO Document 65. Copyright © 199) amd 2003 hy The American Institute of Architects and The husociated

General Contvacters of America. All sighte reserved. KARNING: Thie decument is protected by 0.6. Copyright Law and International traatiss.

Uneuthorized ceproduction or distribution of this decumant, oz any portion of it, may result in severe ehvil and criminal penalties, and
will be progacuted to the maximum oxtent possible under the law. This documant was produced by ATA software at 11:44:35 on 02/03/2009

under Order No,}000385%70_f which expires on 1/19/2010, and ts not for resale.
UJear Notee: {2861618915}

poms
 

Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 51 of 66

ARTICLE 1 GENERAL PROVISIONS

§ 1.4 RELATIONSHIP OF PARTIES

The Construction Manager accepts the relationship of trust and confidence established with the Owner by this
Agreement, and covenants with the Owner to furnish the Construction Manager's reasonable skill and judgment and
to cooperate with the Architect in furthering the interests of the Owner. The Construction Manager shall finish
construction administration and management services and use the Construction Manager's best efforts to perform the
Project in an expeditious and economical manner consistent with the interests of the Owner and consistent with the
jevel of skill, experience and expertise as represented in the Construction Manager’s proposal dated October 15,
2008 (the “CM Proposal”) which is incorporated herein by this reference. The Owner shall endeavor to promote
harmony and cooperation among the Owner, Architect, Construction Manager and other persons or entities
employed by the Owner for the Project.

§ 1.2 GENERAL CONDITIONS

For the Construction Phase, the General Conditions of the contract shall be the AIA® Document A201™.]997,
General Conditions of the Contract for Construction, as modified , which is incorporated herein by reference. For
the Preconstruction Phase, or in the event that the Preconstruction and Construction Phases proceed concurrently,
A2017™_1997 shall apply to the Preconstruction Phase only as specifically provided in this Agreement, The term
"Contractor" as used in A2G1™--1997 shall mean the Construction Manager.

ARTICLE 2 CONSTRUCTION MANAGER'S RESPONSIBILITIES

The Construction Manager shall perform the services described in this Article and in the CM Proposal. The services
to be provided under Sections 2.1 and 2.2 constitute the Preconstruction Phase services. If the Owner and
Construction Manager agree, after consultation with the Architect, the Construction Phase may commence before
the Preconstruction Phase is completed, in which case both phases will proceed concurrently.

§ 2.4 PRECONSTRUCTION PHASE

§ 2.1.4 PRELIMINARY EVALUATION

The Construction Manager shall provide a preliminary evaluation of the Owner's program and Project budget
requirements, each in terms of the other.

§ 2.1.2 CONSULTATION

The Construction Manager with the Architect shall jointly schedule and attend regular meetings with the Owner.
The Construction Manager shall consult with the Owner and Architect regarding site use and improvements and the
selection of materiais, building systems and equipment. The Construction Manager shall provide recommendations
on construction feasibility; actions designed to minimize adverse effects of labor or material shortages, time
requirements for procurement, installation and construction completion; and factors related to construction cost,
including estimates of alternative designs or materials, preliminary budgets and possible economies.

§ 2.4.3 PRELIMINARY PROJECT SCHEDULE

When Project requirements described in Section 3.1.1 have been sufficiently identified, the Construction Manager
shall prepare, and periodically update, a preliminary Project schedule for the Architect's review and the Owner's
approval. The Construction Manager shall obtain the Architect's approval of the portion of the preliminary Project
schedule relating to the performance of the Architect's services. The Construction Manager shall coordinate and
integrate the preliminary Project schedule with the services and activities of the Owner, Architect and Construction
Manager. As design proceeds, the preliminary Project schedule shall be updated to indicate proposed activity
sequences and durations, milestone dates for receipt and approval of pertinent information, submittal ofa
Guaranteed Maximum Price proposal, preparation and processing of shop drawings and samples, delivery of
materials or equipment requiring long-lead-time procurement, Owner's occupancy requirements showing portions of
the Project having occupancy priority, and proposed date of Substantial Completion. If preliminary Project schedule
updates indicate that previously approved schedules may not be met, the Construction Manager shall make
appropriate recommendations to the Owner and Architect.

§ 2.1.4 PHASED CONSTRUCTION
The Construction Manager shail make recommendations to the Owner and Architect regarding the phased issuance
of Drawings and Specifications to facilitate phased construction of the Work, if such phased construction is

 

ATA Document Al21™¢uec ~ 2003 and Acc Document 565. Copyright © 1591 and 2003 by The American Enstitute of Architects and The Associated

General Contracters of America. ALL rights reserved. WAANING: Thies decwusent is protected by U.S. Copyright Law and Internstionel Treaties,

Wnauthorized reproduction or distribution of this document, or any portion of it, may resuit in aevere civil and criminal penalties, and
will be prowecuted to the maximum extent possible under the law. This document was produced by AIA aoftware at 11:44:35 on 02/03/2009
under Order No.10003B5170_1 which expires on 1/18/2010, and is not for resale,

Gaer Hotes: {3861618915}

3
Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 52 of 66

appropriate for the Project, taking into consideration such factors as economies, time of performance, availability of
labor and materials, and provisions for temporary facilities.

§ 2.1.5 PRELIMINARY COST ESTIMATES

§ 2.4.5.1 When the Owner bas sufficiently identified the Project requirements and the Architect has prepared other
basic design criteria, the Construction Manager shall prepare, for the review of the Architect and approval of the
Owner, a preliminary cost estimate utilizing area, volume or similar conceptual estimating techniques.

§ 2.1.5.2 When Schematic Design Documents have been submitted by the Architect for approval by the Owner, the
Construction Manager shall prepare, for the review of the Architect and approval of the Owner, a more detailed
estimate with supporting data. During the preparation of the Design Development Documents, the Construction
Manager shall update and refine this estimate at appropriate intervals agreed to by the Owner, Architect and
Constniction Manager.

§ 2.1.5.3 When Design Development Documents have been prepared by the Architect and approved by the Owner,
the Construction Manager shall prepare a detailed estimate with supporting data for review by the Architect and
approval by the Owner. During the preparation of the Constructian Documents, the Construction Manager shall
update and refine this estimate at appropriate intervals agreed to by the Owner, Architect and Construction Manager.

§ 2.1.6.4 If any estimate submitted to the Owner exceeds previously approved estimates or the Owner's budget, the
Construction Manager shall make appropriate recommendations to the Owner and Architect. In the event such
detailed estimate indicates that the Cost of the Work for all or any portion of the Project exceeds the amoust
previously estimated, the Construction Manager will coordinate with the Architect who shall revise the design in
order to reduce the estimated Cost of the Work of the Project or to take other action as may be authorized by the

Owner.

§ 2.1.6 SUBCONTRACTORS AND SUPPLIERS

The Construction Manager shall seek to develop subcontractor interest in the Project and shall fumish to the Owner
and Architect for their information a list of possible subcontractors, including suppliers who are to furnish materials
or equipment fabricated to a special design, from whom proposals will be requested for each principal portion of the
Work. The Architect will prompily reply in writing to the Construction Manager if the Architect or Owner know of
any objection to such subcontractor or supplier. The receipt of such list shall not require the Owner or Architect to
investigate the qualifications of proposed subcontractors or suppliers, nor shall it waive the right of the Owner or
Architect later to object to or reject any proposed subcontractor or supplier.

§ 2.1.7 LONG-LEAD-TIME ITEMS

The Construction Manager shall recommend to the Owner and Architect a schedule for procurement of long-lead-
time items which will constitute part of the Work as required to meet the Project schedule, If such tong-lead-time
iteras are procured by the Owner, they shall be procured on terms and conditions acceptable to the Construction
Manager. Upon the Owner's acceptance of the Construction Manager's Guaranteed Maximum Price proposal, all
contracts for such items shall be assigned by the Owner to the Construction Manager, who shall accept
responsibility for such items as if procured by the Construction Manager. The Construction Manager shall expedite
the delivery of long-lead-time items.

§ 2.1.8 EXTENT OF RESPONSIBILITY

The Construction Manager does not watrant or guarantee estimates and schedules except as may be included as part
of the Guaranteed Maximum Price. The recommendations and advice of the Construction Manager concerning
design alternatives shal! be subject to the review and approval of the Owner and the Owner's professional
consulants. It is not the Construction Manager's responsibility to ascertain that the Drawings and Specifications are
in accordance with applicable laws, statutes, ordinances, building codes, rules and regulations. However, the
Construction Manager shall use diligence in its review of the Drawings and Specifications and if that review
indicates that any portion of the Drawings or Specifications are at variance therewith, the Construction Manager
shall promptly notify the Architect and Owner in writing.

 

AIA Ocoument AlZI™ONe ~ 2003 and AGS Goctment 565. Copyright © 1991 and 2063 by The American Institute of Architects and The Associated

General Contractors of Amexica., All rights reserved. WARNING; This document is protected by 0.8. Copyright Law and Interostional Treeties.

Onauthorived reproduction or distribution of thig document, or any portion of it, may result in sewere civil and criminal penalties, and
will bo prosseutad to the maximum axtaunt possibie under the law, This document was preduced by AIA Software ab 11:44:35 on 92/03/2009
under Order No.1000385170_1 which expires on 1/15/2010, and ig not fer resale,

User Hotes: {2861618915}
 

“|

 

Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 53 of 66

§ 2.1.9 EQUAL EMPLOYMENT OPPORTUNITY AND AFFIRMATIVE ACTION
The Construction Manager shall comply with applicable laws, regulations and special requirements of the Contract
Documents reparding equal employment opportunity and affirmative action programs.

§ 2.2 GUARANTEED MAXIMUM PRICE PROPOSAL AND CONTRACT TIME

§ 2.2.1 When the Drawings and Specifications are sufficiently complete, the Construction Manager shall propose a
Guaranteed Maximum Price, which shall be the sum of the estimated Cost of the Work and the Construction
Manager's Fee,

§ 2.2.2 As the Drawings and Specifications may not be finished at the time the Guaranteed Maximum Price proposal
is prepared, the Construction Manager shall provide in the Guaranteed Maximum Price for further development of
the Drawings and Specifications by the Architect that is consistent with the Contract Documents and reasonably
inferable therefrom. Such further development does not include such things as changes in scope, systems, kinds and
quality of materials, finishes or equipment, all of which, if required, shall be incorporated by Change Order.

§ 2.2.3 The estimated Cost of the Work shall include the Construction Manager's contingency, a sur established by
the Construction Manager for the Construction Manager's exclusive use to cover costs arising under Section 2.2.2
and other costs which are properly reimbursable as Cost of the Work but not the basis for a Change Order.

§ 2.2.4 BASIS OF GUARANTEED MAXIMUM PRICE
The Construction Manager shall include with the Guaranteed Maxirmum Price proposal a written statement of its

basis, which shall include:

‘A

2
a

A list of the Drawings and Specifications, including all addenda thereto and the Conditions of the
Contract, which were used in preparation of the Guaranteed Maximum Price proposal.

A list of allowances and a statement of their basis.

A list of the clarifications and assumptions made by the Construction Manager in the preparation of
the Guaranteed Maximum Price proposal to supplement the information contained in the Drawings
and Specifications.

The proposed Guaranteed Maximum Price, including a statement of the estimated cost organized by
trade categories, allowances, contingency, and other items and the Fee that comprise the Guaranteed
Maximum Price.

The Date of Substantial Completion upon which the proposed Guaranteed Maximum Price is based,
and a schedule of the Construction Documents issuance dates upon which the date of Substantial
Compietion is based.

§ 2.2.5 The Construction Manager shail meet with the Owner and Architect to review the Guaranteed Maximum
Price proposal and the written statement of its basis. In the event that the Owner or Architect discover any
inconsistencies or inaccuracies in the information presented, they shall promptly notify the Construction Manager,
whe shalf make appropriate adjustments to the Guaranteed Maximum Price proposal, its basis, or both.

§ 2.2.6 Unless the Owner accepts the Guaranteed Maximum Price proposal in writing on or before the date specified
in the proposal for such acceptance and so notifies the Construction Manager, the Guaranteed Maximum Price
proposa! shali not be effective without written acceptance by the Construction Manager,

§ 2.2.7 Prior to the Owner's acceptance of the Construction Manager's Guaranteed Maximum Price proposal and
issuance of a Notice to Proceed, the Construction Manager shall not incur any cost to be reimbursed as part of the
Cost of the Wark, except as the Owner may specifically authorize in writing.

§ 2.2.8 Upon acceptance by the Owner of the Guaranteed Maximum Price proposal, the Guaranteed Maximum Price
and its basis shail be set forth in Amendment No. 1. The Guaranteed Maximum Price shall be subject to additions
and deductions by a change in the Work as provided in the Contract Documents, and the Date of Substantial
Completion shall be subject to adjustment as provided in the Contract Documents.

§ 2.2.9 The Owner shail authorize and cause the Architect to revise the Drawings and Specifications to the extent
necessary to reflect the agreed-upon assumptions and clarifications contained in Amendment No. 1. Such revised
Drawings and Specifications shalt be furnished to the Construction Manager in accordance with schedules agreed to

 

AIA Document ALZiMCcMe ~ 2003 and AGE Domument 365. Copyright © 1981 and 2003 by The American Institute of Architects and The Associated

Seneral Contractors cf America. All rights reserved. WARNING: This document La protected by U.S, Copyright Law and International Treaties.
Unautherired reproduction or digetzibitieon of thia document, or any portion of it, may reauit in sevare civil and criminel penalties, and

will bo proseceted to the mbxinin extent possible under tha law. This document was produced by AIA seftware at 21:44:35 on 02/03/2005
under Order No.1600385170_3} which expires on i/§9/2010, and ia not for resale.

Uner Notes:

(286628915)

5
Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 54 of 66

by the Owner, Architect and Construction Manager. The Construction Manager shall promptly notify the Architect
and Owner if such revised Drawings and Specifications are inconsistent with the agreed-upon assumptions and
clarifications, :

§ 2.2.10 The Guaranteed Maximum Price shall include in the Cost of the Work only those taxes which are enacted at
the time the Guaranteed Maximum Price is established.

§ 2.3 CONSTRUCTION PHASE
§ 2.3.1 GENERAL
§ 2.3.1.4 The Construction Phase shall commence on the earlier of:
(1) the Owner's acceptance of the Construction Manager's Guaranteed Maximum Price proposal and
issuance of a Notice to Proceed, or
(2} the Owner's first authorization to the Construction Manager to:
(a} award a subcontract, or
(b) undertake construction Work with the Construction Manager's own forces, or
(c) issue a purchase order for materials or equipment required for the Work,

§ 2.3.2 ADMINISTRATION
§ 2.3.2.4 Except as expressly authorized by the Owner in writing, all Work shall be performed under construction

Subcontracts or by other appropriate agreements with the Construction Manager, the terms of such Subcontracts or
other appropriate agreements shall be subject to mutual agreement between the Owner and the Construction
Manager. The Construction Manager shall obtain bids from Subcontractors and from suppliers of materials or
equipment fabricated to a special design for the Work from the list previously reviewed and, after analyzing such
bids, shall deliver such bids to the Owner and Architect. The Owner will then determine, with the advice of the
Construction Manager and subject to the reasonable objection of the Architect, which bids will be accepted. The
Owner may designate specific persons or entities from whom the Construction Manager shall obtain bids; however,
if the Guaranteed Maximum Price has been established, the Owner may not prohibit the Construction Manager from
obtaining bids from other qualified bidders. The Construction Manager shall not be required to contract with anyone
to whom the Construction Manager bas reasonable objection.

§ 2.3.2.2 If the Guaranteed Maximum Price has been established and a specific bidder armong those whose bids are
delivered by the Construction Manager to the Owner and Architect (1} is recommended to the Owner by the
Construction Manager; (2) is qualified to perform that portion of the Work; and (3) bas submitted a bid which
conforms to the requirements of the Contract Documents without reservations or exceptions, but the Owner requires
that another bid be accepted, then the Construction Manager may require that a change in the Work be issued to
adjust the Contract Time and the Guaranteed Maximum Price by the difference between the bid of the person or
entity recommended to the Owner by the Construction Manager and the amount of the subcontract or other
agreement actually signed with the person or entity designated by the Owner.

§ 2.3.2.3 Subcontracts and apreements with suppliers fiunishing materials or equipment fabricated to a special design
shall conform to the payment provisions of Sections 7.1.8 and 7.1.9 and shall not be awarded on the basis of cost
plus a fee without the prior consent of the Owner.

§ 2.3.2.4 The Construction Manager shall schedule and conduct meetings at which the Owner, ArchitectConstruction
Manager and specifically invited Subcontractors can discuss the status of the Work. The Construction Manager
shall prepare and promptly distribute meeting minutes.

§ 2.3.2.5 Promptly after the Owner's acceptance of the Guaranteed Maximum Price proposal, the Construction
Manager shall prepare a schedule in accordance with Section 3.10 of A201™ 1997, including the Owner's

occupancy requirements.

§ 2.3.2.6 The Construction Manager shall provide monthly written reports to the Owner and Architect on the
progress of the entire Work. The Construction Manager shall maintain a daily log containing a record of weather,
Subcontractors working on the site, number of workers, Work accomplished, problems encountered and other
sirnilar relevant data as the Owner may reasonably require. The jog shall be available to the Qwmer and Architect.

 

“AIA Document ALZI™CNe - 2003 and AGC Document 56%. Copyright © 1991 and 2003 hy The American Inetitute of Architects and The Associated

General Contractors of America, All rights reserved. WARNING; This document ie protected by U.$. Copyright Law and Intermationel Treatiea.

Unauthorized zepreduction ox distribution of this decument, of any portion of if, may rasuls in anvere civii and criminal paneltias, end
will be prosecuted to the maximum extant possible under the law. This document was produced by AIA software at 11:44:35 on 62/03/2009
ander Order Ne.1000385170_1 which expires on 1/19/2010, and is not for resale.

User Notas: (2861618915)

pore ee
ay

 

Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 55 of 66

§ 2.3.2.7 The Construction Manager shall develop a system of cost control for the Work, including regular
monitoring of actual costs for activities in progress and estimates for uncompleted tasks and proposed changes. The
Construction Manager shal! identify variances between actual and estimated costs and report the variances to the
Owner and Architect at regular intervals.

§ 2.4 PROFESSIONAL SERVICES
Section 3.12.10 of A201™-1997 shall apply to both the Preconstruction and Construction Phases,

§ 2.5 HAZARDOUS MATERIALS
Section 10.3 of A201™—1997 shall apply to both the Preconstruction and Construction Phases.

ARTICLE 3 OWNER'S RESPONSIBILITIES

§ 3.1 INFORMATION AND SERVICES

§ 3.1.1 The Owner shall provide full information in a timely manner regarding the requirements of the Project,
including a program which sets forth the Owner's objectives, constraints and criteria, including space requirements
and relationships, flexibility and expandability requirements, special equipment and systems, and site requirements.

§ 3.1.2 The Owner shall, at the written request of the Construction Manager prior to commencement of the
Construction Phase and thereafter, furnish to the Construction Manager reasonable evidence that financial
arrangements have been made to fulfill the Owner’s obligations under the Contract, Furnishing of such evidence
shall be a condition precedent to commencement or continuation of the Work. After such evidence has been
furnished, the Owner shall not materially vary such financial arrangements without prior notice to the Construction

Manager.

§ 3.1.3 The Owner shall establish and update an overall budget for the Project, based on consultation with the
Construction Manager and Architect, which shall include contingencies for changes in the Work and other costs
which are the responsibility of the Owner.

§ 3.1.4 STRUCTURAL AND ENVIRONMENTAL TESTS, SURVEYS AND REPORTS

In the Preconstruction Phase, the Owner shall furnish the following with reasonable prompmess and at the Owner's
expense, Except to the extent that the Construction Manager knows of any inaccuracy, the Construction Manager
shall be entitled to rely upon the accuracy of any such information, reports, surveys,-drawings and tests described in
Sections 3.1.4.1 through 3.1.4.4 but shall exercise customary precautions relating to the performance of the Work.

§ 3.1.4.1 Reports, surveys, drawings and tests conceming the conditions of the site which are required by law.

§ 3.4.4.2 Surveys describing physical characteristics, legal limitations and utility locations for the site of the Project,
and a wniten legal description of the site. The surveys and legal information shall include, as applicable, grades and
lines of streets, alleys, pavements and adjoining property and structures; adjacent drainage; nghts-of-way,
restrictions, easements, encroachments, zoning, deed restrictions, boundaries and contours of the site; locations,
dimensions and necessary data pertaining to existing buildings, other improvements and trees; and information
conceming available utility services and lines, both public and private, above and below grade, including inverts and
depths. All information on the survey shall be referenced to a project benchmark.

§ 3.1.4.3 The services of a geotechnical engineer when such services are requested by the Construction Manager.
Such services may include but are not limited to test borings, test pits, determinations of soil bearing values,
percolation tests, evaluations of hazardous materials, ground corrosion and resistivity tests, including necessary
operations for anticipating subsoil conditions, with reports and appropriate professional recommendations.

§ 3.1.4.4 Structural, mechanical, chemical, air and water pollution tests, tests for hazardous materials, and other
laboratory and environmental tests, inspections and reports which are required by law.

§ 3.4.4.5 The services of other consultants when such services are reasonably required by the scope of the Project and
are requested by the Construction Manager.

 

ATA Documant Al2Zi™ONc ~ 27003 and AGC Document 565. Copyright © 18991 and 2003 by The American Institute of Architecta and The Associated
General Contractors of America. ALL righte reserved, WARNING: Thia document is protected by f.5. Capyright Baw and International Treaties.
Unnsuthoriced reproduction or distribution of thie decuweant, or any Portion of it, may result in severe civil and criminal penalties, and
will be prosecuted to thea maximum extent poesible under the law. This document was produced by AIA software at 11:44:35 on 62/03/2009
under Order No.1000385170 12 which expires on 1/39/2010, and is not for resale.

Quer Notes: 428616169135}

7
Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 56 of 66

§ 3.2 OWNER'S DESIGNATED REPRESENTATIVE

The Owner shall designate in writing a representative who shall have express authority to bind the Owner with
respect to all matters requiring the Owner's approval or authorization. This representative shall have the authority to
make decisions on behalf of the Owner concerning estimates and schedules, construction budgets, and changes in
the Work, and shall render such decisions promptly and furnish information expeditiously, so as to avoid
unreasonable delay in the services or Work of the Construction Manager. Except as otherwise provided in Section
4.2.1 of A201™—1997, the Architect does not have such authority.

§ 3.3 ARCHITECT

The Owner shall retain an Architect and other design professionals to provide Basic Services, including all civil,
landscaping, architectural, structural, mechanical and electrical engineering services, other than cost estimating
services, described in the edition of AIA® Document B141™, current as of the date of this Agreement. Such
services shall be provided in accordance with time schedules agreed to by the Owner, Architect and Construction
Manager. Upon request of the Construction Manager, the Owner shail furnish to the Construction Manager a copy of
the Owner's Apreement with the Architect, from which compensation provisions may be deleted.

§ 3.4 LEGAL REQUIREMENTS

The Owner shall determine and advise the Architect and Construction Manager of any special legal requirements
relating specifically to the Project which differ from those generally applicable to construction in the jurisdiction of
the Project. The Owner shall fiumish such legal services as are necessary to provide the information and services
required under Section 3.1. Construction Manager and its Subcontractors and Suppliers shall perform all Work in
conformance with the requirement of the Construction Documents and all applicable building codes and
requirements of governmental authorities having jurisdiction over the Project.

ARTICLE 4 GOMPENSATION AND PAYMENTS FOR PRECONSTRUCTION PHASE SERVICES

The Owner shall compensate and make payments to the Construction Manager for Preconstruction Phase services as

follows:

§ 4.1 COMPENSATION
§ 4.1.1 For the services described in Sections 2.1 and 2.2, the Construction Manager's compensation shall be

calculated as follows:
(State basis af compensation, whether a stipulated sum, multiple of Direct Personnel Expense, actual cost, ete.

include a statement of reimbursable cost items as applicable}

 

§ 4.12

wen

Compensation for Preconstruction Phase Services shall be equitably adjusted if such services extend beyond
fiwoi months from the date of this Agreement.

    

§ 4.1.3 If compensation is based on a multiple of Direct Personnel Expense, Direct Personnel Expense is defined as
the direct salaries of the Construction Manager's personnel engaged in the Project and the portion of the cost of their
mandatory and customary contributions and benefits related thereto, such as employment taxes and other statutory
employee benefits, insurance, sick leave, holidays, vacations, pensions and similar contributions and benefits,

§ 4.2 PAYMENTS
§ 4.2.4 Payments shall be made monthly following presentation of the Construction Manager's invoice and, where

applicable, shall be in proportion to services performed.

§ 4.2.2 Payments are due and payable farhiny, (336! ) days from the date the Construction Manager's invoice is
received by the Owner. Amounts unpaid after the date on which payment is due shall bear interest at the rate entered
below, or in the absence thereof, at the legal rate prevailing from time to time at the place where the Froject is
located.

(insert rate of interest agreed upon.)

   
  

ope A ene z eae
ee

SS ayia

 

 

AIA Document ALZI% He —- 2003 and AGC Documant 565. Copyright © 1991 and 2003 by The American Institute of Architects and The Associated

Genera) Contractors af America. Al} rights reserved. WARNING: This document is protected by U.S. Copyxight Law aad internstional Treaties.

Unsuthorized reproduction or distribution of this document, or any portion af it, may result in savere civil and criminal penalties, and
will be prosecuted to the maximum extent possible under the lew. This document was produced by AIA software at 11:44:35 on 92/03/2005
under Order No.1000385270_1 which expires on 1/19/2010, and is not for resale.

Deer Hotes: {2861€18525)
|

 

Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 57 of 66

(Usury laws and requirements under the Federal Truth in Lending Act, similar state and local consumer credit laws
and other regulations at the Owner's and Contractor's principal places of business, the iocation af the Project and
elsewhere may affect the validity of this provision. Legal advice should be obtained with respect to deletions or
modifications, and also regarding requirements such as written disclosures or waivers.)

ARTICLE § COMPENSATION FOR CONSTRUCTION PHASE SERVICES
The Gvmer shall compensate the Construction Manager for Construction Phase services as follows:

§ §.1 COMPENSATION

§ 5.1.1 For the Construction Manager's performance of the Work as described in Section 2.3, the Owner shall pay the
Construction Manager in current funds the Contract Sum consisting of the Cost of the Work as defined in Article 6
and the Construction Manager's Fee determined as follows:

(State a jump sum, percentage of actual Cost of the Work or other provision Jor determining the Construction
Manager's Fee, and explain how the Construction Manager's Fee is to be adjusted for changes in the Work)

 

§ 5.2 GUARANTEED MAXIMUM PRICE

§ §,2.1 The sum of the Cost of the Work and the Construction Manager's Fee are guaranteed by the Construction
Manager not to exceed the amount provided in Amendment No. 1, subject to additions and deductions by changes in
the Work as provided in the Contract Documents. Such maximum sum as adjusted by approved changes in the Work
is referred to in the Contract Documents as the Guaranteed Maximum Price. Cost which would cause the
Guaranteed Maximum Price to be exceeded shall be paid by the Construction Manager without reimbursement by
the Owner,

 
 
 
    

  
  

  

‘ Chater

2 :
ae es EEN EO a ae ga
Se tinn sirens So a Sage ase Perpeodere:

(nsert specific provisions if the Construction Manager is to participate in any savings.)

§ 5.3 CHANGES IN THE WORK
§ 5.3.1 Adjustments fo the Guaranteed Maximum Price on account of changes in the Work subsequent to the
execution of Amendment No. 1 may be determined by any of the methods listed in Section 7.3.3 of A201™-1997,

§ 5.3.2 In calculating adjustments to subcontracts (except those awarded with the Owner's prior consent on the basis
of cost plus a fee), the terms “cost" and “fee" as used in Section 7.3.3.3 of A201™-1997 and the terms “costs" and
"a reasonable allowance for overhead and profit" as used in Section 7.3.6 of A201™-1997 shall have the meanings
assigned to them in that document and shall not be modified by this Article 5. Adjustments to subcontracts awarded
with the Owner's prior consent on the basis of cost plus a fee shal] be calculated im accordance with the terms of
those subcontracts.

§ 5.3.3 In calculating adjustments to the Contract, the terms "cost" and "costs" as used in the above-referenced
provisions of A2017™-1997 shall mean the Cost of the Work as defined in Article 6 of this Agreement, and the term
“and a reasonable allowance for main office overhead and profit" shall mean the Construction Manager's Fee as
defined mn Section 5.1.1 of this Agreement, Project Overhead directly related to the project shall be covered as a
reimbursable under Article 6.

ARTICLE 6 COST OF THE WORK FOR CONSTRUCTION PHASE

§ 6.1 COSTS TO BE REIMBURSED

§ 6.4.1 The term “Cost of the Work" shall mean costs necessarily incurred by the Construction Manager in the proper
performance of the Work. Such costs shall be at rates not higher then those customarily paid at the place of the

 

ATA Doctment AlZi™CNe + 2003 and AGC Docunant 565, Copyright © 1951 end #003 by The American Institute of Architects and The Associated
General Contractors of America, Ali rights reserved. WARNING: This document is protected by 0.8. Copyright Law and Intermationsl Treatios.
Unauthorized reproduction or distributicn of this document, ox any portion of it, may ragulet in severe ¢fvil and crimina)] penalties, ant
wilL bo pronycuted to the maximum axtent possible under the law. This document was produced by AIA software at 11:44:35 on G2/03/2005
yndar Order No,1000385170_2 which expires on 1/19/2010, and is not for resale,

Deer Notes: 12861618935)

3
Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 58 of 66

Project except with prior consent of the Owner. The Cost of the Work shail include only the items set forth in this
Article 6.

§ 6.4.2 LABOR COSTS
‘1 ‘Wages of construction workers directly employed by the Construction Manager to perform the
construction of the Work at the site or, with the Owner's agreement, at off-site workshops.
2 DELETED

Classification Name

 

-3 With prior written approval of the Owner, wages and salaries of the Construction Manager's
supervisory or administrative personnel engaged on direct project work, at factories, workshops or on
the road, in expediting the production or transportation of materials or equipment required for the
Work, but only for that portion of their time required for the Work.

4 Cost of all labor add-ons insofar as such cost is based on wages, salaries or other remuneration paid
to employees of the Construction Manager and included in the Cost of the Project, Labor add-ons
include, but are not limited to, taxes, such as social security and unemployment; insurance such as
workers’ compensation, lability, medical, life and disability; vacation and sick pay and other welfare
and employee benefits such as pension plans, employee retirement income plans, and 13" month pay.
in lieu of Gwner paying actual cost of labor add-ons for Construction Manager’s salaried and non-
craft hourly employees, Owner shall pay fifty-two percent (52%) of such employees’ salary to cover
labor add-ons.

§ 6.1.3 SUBCONTRACT COSTS
Payments made by the Construction Manager to Subcontractors in accordance with the requirements of the

subcontracts.

§ 6.1.4 COSTS OF MATERIALS AND EQUIPMENT INCORPORATED IN THE COMPLETED CONSTRUCTION
-1 Costs, including transportation, of materials and equipment incorporated or to be incorporated in the
completed construction.

2 Costs of materials described in the preceding Section 6.1.4.1 in excess of those actually installed but
required to provide reasonable allowance for waste and for spoilage. Unused excess materials, if any,
shall be handed over to the Owner at the completion of the Work or, at the Owner's option, shall be
sold by the Construction Manager; amounts realized, if any, from such sales shall be credited to the
Owner as a deduction from the Cost of the Work.

§ 6.1.5 COSTS OF OTHER MATERIALS AND EQUIPMENT, TEMPORARY FACILITIES AND RELATED ITEMS

+1“ Costs, including transportation, installation, maintenance, dismantling and removal of materials,
supplies, temporary facilities, machinery, equipment, and hand tools not customarily owned by the
construction workers, which are provided by the Construction Manager at the site and fully consumed
in the performance of the Work; and cost less salvage value on such items if not fully consumed,
whether sold to others or retained by the Construction Manager. Cost for items previously used by the
Construction Manager shall mean fair market value,

2 Rental charges for temporary facilities, machinery, equipment and hand tools not customarily owned
by the construction workers, which are provided by the Construction Manager at the site, whether
rented from the Construction Manager or others, and costs of transportation, installation, minor
repairs and replacements, dismantling and removal thereof. Rates and quantities of equipment rented
shall be subject to the Owner's prior approval.

 

ALA Decunsnt AlZ1™¢Ne ~ 2003 and AGC Decument 565. Copyright © 1991 and 2003 by The American Institute of Architects and The Associated

General Contractors of Americt. Ajl eights reserved. WARNING: This decument ia protected by U,5. Copyright Law and Intemational treatiaa.

Dnauthotited reproduction or digeribution of this document, or any portion of it, may result in navere civil and criminel pengitias, and
will be protecuted to the maximum extent possihie under the law. This document was produced by AIA software at 21:44:35 on 02/03/2009
under Order No,1000365270_1 which expires on 1/19/2020, and is not for resale.

Gaer Notes: {286]618515)

teen

 

10}
Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 59 of 66

3 Costs of removal of debris from the site.

4 Reproduction costs, , facsimile ttansmissions and long-distance telephone calls, postage and express
delivery charges, telephone at the site and reasonable petty cash expenses of the site office

.5 With owner prior approval, that portion of the reasonable travel and subsistence expenses of the
Construction Manager's personnel incurred while traveling in discharge of duties connected with the
Work.

6 Cost or rental of temporary portable buildings and toilets as required, also cost of utilities, ice, water,
water containers, cups, fire extinguishers, first-aid supplies, safety equipment, safety awards and
incentives, safety lunches, drug and alcohol testing, and off-site storage space or facilities.

Cost of constructing, leasing or rental of buildings required for field offices, tool rooms, crew shacks
and warehousing and cost of operating such facilities, including utilities, furniture, office equipment
and supplies, telephone service, calls and telegrams, postage and expressage and similar items in
connection with the Project.

4 Cost of producing and handling reports, schedules, manuals, drawings, specifications and other
documents required for the Project.

- .§ Cost of the premiums for al] bonds including Construction Manager's bond and bonds for

Subcontractors and Suppliers, At Construction Manager’s option, Construction Manager may elect to

enrol] Subcontractors in Subguard in lieu of requiring a performance and payment bond and the

premium cost of such Subguard coverage will be billed to and paid by the Project at a rate of 97%*

of the subcontract value and any subsequent adjustments.

*Rate is subject to adjustment at annual Subguard policy renewal. Premium costs using the renewal rate
will be billed to and paid by the Project.

10 Cost of outside consultants and professional personnel as may be necessary in connection with the

services to be provided by Construction Manager with prior Owner approval.

§ 6.1.6 MISCELLANEOUS COSTS
A That portion directly attributable to this Contract of premiums for insurance and bonds,
(Of charges jor self-insurance are to be included, specify the basis of reimbursement.)

.2 Sales, use or similar taxes imposed by a governmental authority which are related to the Work and for
which the Construction Manager is liable.
3 Fees and assessments for the building permit and for other permits, licenses and inspections for which
the Construction Manager is required by the Contract Documents to pay.
A Fees of testing laboratories for tests required by the Contract Documents, except those related to
non-conforming Work other than that for which payment is permitted by Section 6.1.8.2.
.5 Permit fees, licenses, tests and inspections, royalties, damages for infringement of patents and costs
4 of defending suits therefor. If royalties or losses and damages, including costs of defense, are
incurred which arise from a particular design, process or the product ofa particular manufacturer or
manufacturers specified by the Owner or Architect, such royalties, losses and damages shall be paid
by the Owner and not considered as within the GMP.
4 Costs associated with the provision of the Project InformationWebsite and webcams

= ji
. =. Legal, mediation and arbitration costs, other than those arising from disputes between the Owner
aad and Construction Manager, reasonably incurred by the Construction Manager in the performance of
the Work and with the Owner's written permission, which permission shall not be unreasonably
withheld.
4 Expenses incurred in accordance with Construction Manager's standard personnel policy for

relocation and temporary living allowances of personne! required for the Work, in case it is necessary
to relocate such personne! from distant locations with Owner prior approval.
40 = At Construction Manager’s option, Construction Manager may elect to implement a general liability
to , wrap-up program providing Commercial General Liability insurance coverage to subcontractors as
well as the Construction Manager and the premium cost of such general liability wrap-up will be
billed to and paid by the Project at a rate of 1.4% of total Project cost (cost of work plus Construction
Manager’s fee).

 

eae

 

ATA Document Al2i™cée - 2603 and AGC Document 565. Copyright © 1991 and 2603 by The American Institute of Architects and The Asseciated
General Contractors of America, All rights reaerved. WARNING: Thies document iz pretected by 9.5. Copyright Law and International Treaties,
Daguthori¢ed reproduction or diatribution of this documant, or any portion of it, may result in severe civil and criminal penalties, and LL
wil ba prosecuted to the maximum axtent possible under the law, Thia doctent was produced by AIA software at 14:44:35 on 02/03/2009

< under Order No.1009385170_1 which expires on 1/18/2010, and ia net for resale.
Deer Rotee: (2863638515)

pore
Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 60 of 66

§ 6.1.7 OTHER COSTS
A Other casts incurred in the performance of the Work if and to the extent approved in advance in
writing by the Quner.

§ 6.1.8 EMERGENCIES ANG REPAIRS TO DAMAGED OR NONCONFORMING WORK
The Cost of the Work shall also include costs described in Section 6.1.1which are incurred by the Construction
Manager:

:1 In taking action to prevent threatened damage, injury or loss in case of an emergency affecting the
safety of persons and property, as provided in Section 10.6 of A201™.1997,

2 In repairing or correcting damaged or non-conforming Work executed by the Construction Manager
or the Construction Manager’s Subcontractors or suppliers, provided that such damaged or non-
conforming Work was not caused by the negligence or failure to fulfill a specific responsibility to the
Owner set forth in this agreement of the Construction Manager or the Construction Manager's
foremen, engineers or superintendents, or other supervisory, administrative or managerial personnel
of the Construction Manager, or the or the failure of the Construction Manager’s personnel te
supervise adequately the Work of the Subcontractors or suppliers, and only to the extent that the cost
of repair or correction is not recoverable by the Construction Manager from insurance,
Subcontractors or suppliers. The Construction Manager shall be reimbursed for 50% (Fifty percent)
of the costs without any Construction Manager Fee related to Work that falls under this category of
costs.

§ 6.4.8 The costs described in Sections 6.1.1 through 6.1.8 shail be included in the Cost of the Work notwithstanding
any provision of A201™ _1997 or other Conditions of the Contract which may require the Construction Manager to
pay such costs, unless such costs are excluded by the provisions of Section 6.2.

§ 6,2 COSTS NOT TO BE REIMBURSED
§ 6.2.4 The Cost of the Work shall not include:

11 Salaries and other compensation of the Construction Manager's personnel stationed at the
Construction Manager's principal office or offices other than the site office, except as specifically
provided in Sections 6.1.2.2 and 6.1.2.3.

2 Expenses of the Construction Manager's principal office and offices other than the site office, except
as specifically provided in Section 6.1.

3. Overhead and general expenses, except as may be expressly included in Section 6.1.

4 The Construction Manager's capital expenses, inciuding interest on the Construction Manager's
capital employed for the Work.

-5 Rental costs of machinery and equipment, except as specifically provided in Section 6.1.5.2.

6 Except as provided in Section 6.1.8.2, costs due to the negligence of the Construction Manager or to
the failure of the Construction Manager to fulfill a specific responsibility to the Owner set forth in
this agreement.

Wf Costs incurred in the performance of Preconstruction Phase Services.

3 Except as provided in Section 6.1.7.1, any cost not specifically and expressly described in Section
6.1.

& Costs which would cause the Guaranteed Maximum Price to be exceeded.

§ 6.3 DISCOUNTS, REBATES AND REFUNDS

§ 6.3.1 Construction Manager shall notify the Owner of discount opportunities and if the Owner provides payment as
necessary to allow the Construction Manager to take the discount, then such cash discounts obtained on payments
made by the Construction Manager shal] accrue to the Owner.

§ 6.3.2 Amounts which aceme to the Owner in accordance with the provisions of Section 6.3.1 shall be credited to
the Owner as a deduction from the Cost of the Work.

 

ATA SBocument Al2I™GHe - 2003 and AGC Document 565, Copyright © 1931 and 2003 by The American Inatitute of Architects ond the Associated

Genera: Contractors of Amerita, ALl righta reserved. WAREING; This document ie protected by 0.8. Copyright Law and Interngtlonal Treaties.

Unauthorized repreduetion oz digtribytion of this docwant, or any portion of 1¢, may roeult in severe civil and criminal Penalties, and
Wilk ba prosecuted to the maxinun extent poseible under the law. This document was prodvced by AIA software at 12:44:35 on 02/03/2009
under Order No.1000385170 1 which expires on 1/13/2010, and is not for regale.

Uuer Notes: 12661616915)

 

a2:
 

Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 61 of 66

§ 6.4 ACCOUNTING RECORDS

§ 8.4.4 The Construction Manager shall keep full and detailed accounts and exercise such controls as may be
necessary for proper financial management under this Contract; the accounting and control systems shall be
satisfactory to the Owner. The Owner and the Owner's accountants shall be afforded access to the Construction
Manager's records, books, correspondence, instructions, drawings, receipts, subcontracts, purchase orders, vouchers,
memoranda and other data relating to this Project, and the Construction Manager shall preserve these for a period of
three years after final payment, or for such longer period as may be required by law.

ARTICLE 7 CONSTRUCTION PHASE PAYMENTS

§7.1 PROGRESS PAYMENTS

§ 7.1.1 Based upon Applications for Payment submitted to the Architect by the Construction Manager and
Certificates for Payment issued by the Architect, the Owner shall make progress payments for Work properly
performed to the date of such application for payment on account of the Contract Sum to the Construction Manager
as provided below and elsewhere in the Contract Documents.

§ 7.1.2 The period covered by each Application for Payment shall be one calendar month ending on the last day of
the month.

 

    
 

 

§ 7.1.3 Provided an Application for Payment is received by the Architect not later than the iiityshitey day of a
month, the Owner shal] make payment to the Construction Manager not later than the Prey tie day of the
Banal month. If an Application for Payment is received by the Architect after the application date fixed above,
payment shall be made by the Owner not later than ( bas } days after the Architect receives the Application
for Payment.

bay

 

§ 7.1.4 With each Application for Payment, the Construction Manager shall submit payrolls, petty cash accounts,
receipted inveices or invoices with check vouchers attached and any other evidence required by the Owner or
Architect to demonstrate that cash disbursements already made by the Construction Manager on account of the Cost
ofthe Work equal or exceed (1) progress payments already received by the Construction Manager; less (2) that
portion of those payments attributable to the Construction Manager's Fee; plus (3) payrolls for the period covered by
the present Application for Payment.

§ 7.4.5 With each Application for Payment, the Construction Manager shall submit the Schedule of Values which
matches the estimated Cost of Work as of the date of such Application for Payment allocated among various
portions of the Work. Construction Manager's Fee and Contingency allowance shail each be shown as separate line
items in the Schedule of Values. In the event the Schedule of Values exceeds the GMP, the Construction Manager
shall submit to the Owner a written plan to reduce the Cost of the Work, reduce the Contingency, reduce the
Construction Managers Fee or otherwise pay the costs exceeding the GMP.

§ 7.1.6 Applications for Payment shall show the percentage completion of each portion of the Work as of the end of
the period covered by the Application for Payment. The percentage completion shall be the lesser of (1} the
percentage of that portion of the Work which has actually been completed or (2) the percentage obtained by dividing
(a) the expense which has actually been incurred by the Construction Manager on account of that portion of the
Work for which the Construction Manager has made or intends to make actual payment prior to the next Application
for Payment by (b) the share of the Guaranteed Maximum Price allocated to that portion of the Wark in the schedule
of values.

§ 7.1.7 Subject to other provisions of the Contract Documents, the amount of each progress payment shall be

computed as follows:
100) The Cost of the Work properly performed and completed plus the cost of material purchased and

properly stored during the period applicable to the Application for Payment.

   
 

    
 

  

Sadr fe Se ee

2
3. Add the Construction Manager's Fee, less retainage of fhivepercents ( (S200%: ). The Construction
Manager's Fee shall be computed upon the Cost of the Work described in the two preceding Sections

at the rate stated in Section 5.1.1 or, if the Construction Manager's Fee is stated as a fixed sum in that

 

ALA Document Al21™CHe - 2003 and AGC Document 565. Copyright © 19821 and 2003 by The American Institute of Architects and the Associated

Seneral Contractors of America. All rights reserved. MARHING: This docuuent is protected by U.S. Copyright Lew and Intersationsl Treatian,
Unauthorized reproduction or distribution of this document, ox any portion of it, tay result if aevere civil and criminal penalties, and 13
will be prosecuted to tha maxizum extent possible under the jaw. This document was produced by ALA software at 11:44:35 on 02/03/2009

winder O¢der Wo.1000385170_1 which expires on 1/39/2050, and is net for resale.

User Notes: (2861616935)
Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 62 of 66

Section, shall be an amount which bears the same ratio to that fixed-sum Fee as the Cost of the Work

in the two preceding Sections bears to a reasonable estimate of the probable Cost of the Work upon

its completion.

Subtract the aggregate of previous payments made by the Owner.

Subtract the shortfall, if any, indicated by the Construction Manager in the documentation required by

Section 7.1.4 to substantiate prior Applications for Payment, or resulting from errors subsequently

discovered by the Owmer's accountants in such documentation.

4 Subtract amounts, if any, for which the Architect has withheld or nullified a Certificate for Payment
as provided in Section 9.5 of A201™-1997,

in

§7.4, 8 Exce pt with the Owner's prior approval, payments to Subcontractors shall be subject to retention of not less
a ). The Owner and the Construction Manager shall agree upon a mutually acceptable
procedure for review ond approval of payments and retention for subcontracts.

 

§ 7.1.9 Except with the Owner's prior approval, the Construction Manager shall not make advance payments to
suppliers for materials or equipment which have not been delivered and stored at the site.

§ 7.1.10 In taking action on the Construction Manager's Applications for Payment, the Architect shail be entitled to
rely on the accuracy and completeness of the information furnished by the Construction Manager and shall not be
deemed to represent that the Architect has made a detailed examination, audit or arithmetic verification of the
documentation submitted in accordance with Section 7.1.4 or other supporting data, that the Architect has made
exhaustive or continuous on-site inspections or that the Architect has made examinations to ascertain how or for
what purposes the Construction Manager has used amounts previously paid on account of the Contract. Such
examinations, audits and verifications, if required by the Owner, will be performed by the Owner's accountants
acting in the sale interest of the Owner.

§ 7.2 FINAL PAYMENT
§ 7.2.1 Final payment shali be made by the Owner to the Construction Manager when (1) the Contract has been fully

performed by the Construction Manager except for the Construction Manager's responsibility to correct
nonconforming Work, as provided in Section 12.2.2 of A201™—1997, and to satisfy other requirements, if any,
which necessarily survive final payment; (2) a final Application for Payment and a final accounting for the Cost of
the Work have been submitted by the Construction Manager and reviewed by the Owner's accountants; and (3) a
fina! Certificate for Payment has then been issued by the Architect, such final payment shall be made by the Owner
not more than 30 days after the issuance of the Architect's final Certificate for Payment, or as follows:

        

Ponty Suc (46) days iollowmp she aesuan itu Caiiwic 2 eee

 

§ 7.2.2 The amount of the final payment shall be calculated as follows:
1 Take the sum of the Cost of the Work substantiated by the Construction Manager's final accounting
and the Construction Manager's Fee, but not more than the Guaranteed Maximum Price,
2 Subtract amounts, if any, for which the Architect withholds, in whole or in part, a final Certificate for
Payment as provided in Section 9.5.1 of A201™—1997 or other provisions of the Contract
Documents.
.1 Subtract the aggregate of previous payments made by the Owner.

Ifthe aggregate of previous payments made by the Owner exceeds the amount due the Construction Manager, the
Construction Manager shall reimburse the difference to the Owner.

§ 7.2.3 The Owner's accountants will review and report in writing on the Construction Manager's final accounting
within 30 days after delivery of the final accounting to the Architect by the Construction Manager. Based upon such
Cost of the Work as the Owner's accountants report to be substantiated by the Construction Manager's fina]
accounting, and provided the other conditions of Section 7.2.1 have been met, the Architect will, within seven days
after receipt of the written report of the Owner's accountants, cither issue to the Owner a final Certificate for
Payment with a copy to the Construction Manager or notify the Construction Manager and Owner in writing of the
Architect's reasons for withholding a certificate as provided in Section 9.5.1 of A201™_1997 . The time periods
stated in this Section 7.2 supersede those stated in Section 9.4.1 of A201™ 1997,

AIA Document Al21™%Cxe - 2003 and AGC Document 565. Copyright & 1981 and 2003 by The American Institute cf Architects and The Assaciated

General Cantracters of America. All righte resexved. WARNING: This documant is protected by 0.5, Copyright Lew and International Treaties.

Urauthorigced reproduction or distribution of thia decumant, or any portion of it, may ceanuit in severe civil and crininel penalties, and
will be prosecuted to the maximum extent posible under the lew. This dorument was produced by AIA software at 11:44:35 on 02/03/2009
under Order No.1000385170_i which expires an 1/19/2010, and is not for resale.

Dacr Hotes: 12864616915)

pote nanan ae
Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 63 of 66

§ 7.2.4 ifthe Owner's accountants report the Cost of the Work as substantiated by the Construction Manager's final
accounting to be less than claimed by the Construction Manager, the Construction Manager shall be entitled to
proceed in accordance with Article 9 without a further decision of the Architect. Unless agreed to atherwise, a
demand for mediation or arbitration of the disputed amount shall be made by the Construction Manager within 60
days after the Construction Manager's receipt of a copy of the Architect's final Certificate for Payment. Failure to
make such demand within this 60-day period shall result in the substantiated amount reported by the Owner's
accountants becoming binding on the Construction Manager. Pending a final resolution of the disputed amount, the
~ Owner shall pay the Construction Manager the amount certified in the Architect's final Certificate for Payment.

§7.2.5

ARTICLE 8 INSURANCE AND BONDS

§ 8.1 INSURANCE REQUIRED OF THE CONSTRUCTION MANAGER

During both phases of the Project, the Construction Manager shall purchase and maintain insurance as set forth in
co Section 11.1 of A20}™-1997, Such insurance shall be written for not less than the following limits, or greater if

required by law:

§ 8.4.4 Workers' Compensation and Employers Liability meeting statutory limits mandated by state and federal laws.
If (1) limits in excess of those required by statute are to be provided, or (2) the employer is not statutorily bound to
obtain such insurance coverage or (3} additional coverages are required, additional coverages and limits for such
insurance shall be as follows:

 

§ 8.1.2 Commercial General Liability including coverage for Premises-Operations, Independent Contractors’
Protective, Products-Completed Operations, Contractual Liability, Personal Injury and Broad Form Property
Damage ( includin coverage for Explosion, Collapse aud Underground hazards):

   

} | General Aggregate
ee iG; Personal and Advertising Injury
tit 1G: D0 o j:00: Products-Completed Operations Aggregate

1 The policy shal! be endorsed to have the General Aggregate apply to this Project only.
2 Products and Completed Operations insurance shail be maintained for a minimum period of at least
Pures (18! ) year(s) after either 90 days following Substantial Completion or final payment,

whichever is ¢arlier.
3 The Contractual Liability insurance shall include coverage sufficient to meet the obligations in

“3 Section 3.18 of A2047™_1997.

§ 38.43 Automobile Liability (owned, non-owned and hired vehicles) for bodily injury and property damage:
3000:00: Each Accident

  
      

 

Of Umbrella Excess Liability coverage is required over the primary insurance or retention, insert the coverage

. limits. Commercial General Liability and Automobile Liability limits may be attained by individual policies or by a
~ combination of primary policies and Umbrella and/or Excess Liability policies. If Project Management Protective
Liability Insurance is to be provided, state the limits here.)

Ls § 8.2 INSURANCE REQUIRED OF THE OWNER
During both phases of the Project, the Owner shall purchase and maintain liability and property insurance, including
~ waivers of subrogation, as set forth in Sections 11.2 and 11.4 of A201™ 1997, Such insurance shall be written for

not less than the following limits, or greater if required by law:

ATA Doctiment ALZL™OMe — 2003 and AGC Document §65. Copyright © 1991 and 2003 by The American Institute of Architects and The Associated
General Conteeetors of America. All sights reserved, KARNING: Thie document is protected by 0.5. Copyright Law and International Trectios,
Unsutherieed reproduction of distribution of this document, oz any portion of it, may result in severe civil and oriminal penalties, and 15
will ba prosecuted to the asaxizuaz extent possible under the law. This dortment was produced by ATA software at 12:44:35 on 02/04/2065

met ander Order No,L000365170_1 which expires on 1/19/2019, and ie not for resale.

Veer Noten: {2861618915}

 
Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 64 of 66

§ 8.2.1 Property Insurance:

  

 

§ 8.2.2 Boiler and Machinery insurance with a limit of: FRGOGDG000
(if not a blanket policy, list the objects to be insured)

 

§ 8.3 PERFORMANCE BOND AND PAYMENT BOND

Perea g Ena

§ 8.3.1 The Construction Manager fSBaliaoe (insert "shall" or "shall not") furnish bonds covering faithful

  

performance of the Contract and payment of obligations arising thereunder. Honds may be obtained through the
Construction Manager's usual source, and the cost thereof shall be included in the Cost of the Work. The amount of

each bond shall be equal to HRs ( me ) of the Contract Sum.

§ 8.3.2 The Construction Manager shall deliver the required bonds to the Owner at least three days before the
commencement of any Work at the Project site.

ARTICLES MISCELLANEOUS PROVISIONS

§ 9.1 DISPUTE RESOLUTION
§ 9.1.1 in an effort to resolve any claim, dispute or other matter in question arising out of or related to this

Agreement or breach thereof, cither party may request mediation in accordance with the Construction Industry
Mediation Rules of the American Arbitration Association, the costs of which shall be equally shared by the parties.

§ 9.2 OTHER PROVISIONS
§ 9.2.1 Unless otherwise noted, the terms used in this Agreement shall have the same meaning as those in A2Q] T-

1997, General Conditions of the Contract for Construction.

§ 9.2.2 EXTENT OF CONTRACT

This Contract, which includes this Agreement and the other documents incorporated herein by reference, represents
the entire and integrated agreement between the Owner and the Construction Manager and supersedes all prior
negotiations, representations or agreements, cither written or oral. This Agreement may be amended only by written
instrument signed by both the Owner and Construction Manager. If anything in any document incorporated into this
Agreement is inconsistent with this Agreement, this Agreement shall govern.

§ 9.2.3 OWNERSHIP AND USE OF DOCUMENTS
Article 1.6 of A201™—1997 shall apply to both the Preconstruction and Construction Phases.

§ 9.2.4 GOVERNING LAW
The Contract shall be governed by the law of the place where the Project is located.

§ 9.2.5 ASSIGNMENT

The Owner and Construction Manager respectively bind themselves, their parmers, successors, assigns and iepal
representatives to the other party hereto and fo partners, successors, assigns and legal representatives of such other
party in respect to covenants, agreements and obligations contained in the Contract Documents. Except as provided
in Section 13.2.2 of A20]™-1997, neither party to the Contract shall assign the Contract as a whole without written
consent of the other. If either party attempts to make such an assignment without such consent, that party shall
nevertheless remain legally responsible for all obligations under the Contract.

ARTICLE 10 TERMINATION OR SUSPENSION

§ 10.1 TERMINATION:

§ 10.1.1 The Owner may terminate this Contract at any time with or without cause, and the Construction Manager
may terminate this Contract for any of the reasons described in Subparagraph 14.1.1 of ALA Document A201-1997.

 

ATA Document ALZI™CNe ~ 2003 and AGC Document 565. Copyright © 1892 and 2003 by The American Inatitute of Architects and The Agsociated

General Contractors of America, ALL sights reserved, WARNING: This decumebt is protected by 0.8. Copyright Law end International Treatios,

Hnnuthorired reproduction ox distribution of this domimeant, oF any portion of it, may reavlt in severs civil and criminal penalties, aad
will be prosecuted to the mexinus extent porsihie under the law. This document was produced by AIA softwere at 11:44:35 on 02/04/2009
under Order No.1000385170_1 which expires on 1/19/2010, and is not far reaale,

Daer Fotes: 12861616925}

 

po
bls

 

Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 65 of 66

§ 10.1.2 Ifthe Owner or Construction Manager terminates this Contract pursuant to this Section 10.1, the
Construction Manager shall be equitably compensated for Preconstruction Phase Services performed prior to receipt
of notice of termination; provided, however, that the campensation for such services shall not exceed the
compensation set forth in Section 4.1.1.

§ 10.1.3 Ifthe Owner or Construction Manager terminates this Contract pursuant to this Section 10.) after
commencement of the Construction Phase, the Construction Manager shall, in addition to the compensation
provided in Section 10.1.2, be paid an amount calculated as follows:
1. Take the Cost of the Work incurred by the Construction Manager to the date of termination
wz Add the Construction Manager's Fee computed upon the Cost of the Work to the date of termination
at the rate stated in Section 5.1 or, if the Construction Manager's Fee is stated as a fixed sum in that
Section, an amount which bears the same ratio to that fixed-sum Fee as the Cost of the Work at the
time of termination bears to a reasonable estimate of the probable Cost of the Work upon its
completion.
Subtract the aggregate of previous payments made by the Qwner on account of the Construction
Phase.

The Owner shall also pay the Construction Manager fair compensation, either by purchase or rental at the election of
the Owner, for any equipment owned by the Construction Manager which the Owner elects to retain and which is
not otherwise included in the Cost of the Work under Section 10.1.3.1, To the extent that the Owner elects to take
legal assignment of subcontracts and purchase orders (including rental agreements), the Construction Manager shall,
as a condition of receiving the payments referred to in this Article 10, execute and deliver all such papers and take
all such steps, including the legal assignment of such subcontracts and other contractual rights of the Construction
Manager, as the Owner may require for the purpose of fully vesting m the Owner the rights and benefits of the
Construction Manager under such subcontracts or purchase orders,

Subcontrects, purchase orders and rental agreements entered into by the Construction Manager with the Owner's
written approval prior to the execution of Amendment No. 1 shall contain provisions permitting assignment to the
Owner as described above. If the Owner accepts such assignment, the Owner shall reimburse or indemnify the
Construction Manager with respect to all costs arising under the subcontract, purchase order of rental agreement
except those which would not have been reirabursable as Cost of the Work if the contract had not been terminated. If
the Owner elects not to accept the assignment of any subcontract, purchase order or rental agreement which would
have constituted a Cost of the Work had this agreement not been terminated, the Construction Manager shall
terminate such subcontract, purchase order or rental agreement and the Owner shall pay the Construction Manager
the costs necessarily incurred by the Construction Manager by reason of such termination.

§ 10.3 SUSPENSION

The Work may be suspended by the Owner as provided in Article 14 of A201™—1997; in such case, the Guaranteed
Maximum Price, if established, shall be increased as provided in Section 14.3.2 of A201™~1997 except that the
term "cost of performance of the Contract" in that Section shall be understood to mean the Cost of the Work and the
term "profit" shall be understood to mean the Construction Manager's Fee as described in Sections 5.1.1 and 4.3.4 of
this Agreement.

ARTICLE 11 OTHER CONDITIONS AND SERVICES

smeecemioiooe
es

 

 

ATA Pocttaent ALZU"GMe ~ 2003 and AGC Document 565. Cepyright © 1991 and 2003 by The American Institute of Architecta and The Asacciated
General Contractors of America. Ali rights reserved, WARNING: This document is protected by 0.5. Copyright Law and internutionzl Treaties.
Dasuthorized eeproduction or distribution of this decusent, or any portion of it, may remit in eavare civil and criminel penaltiaa, and 17
wiLL be prosecuted te thea maximus extent possible unde: the lew, This document was prodyced by AIA software at 12:44:35 on 02/03/2005

wnder Order Ne. 1000385170_2 which expires on 1/19/2010, and is not for resale.

eee Hotes: (2861619915)
Case 1:19-cv-00266-DCN Document 1-2 Filed 07/11/19 Page 66 of 66

This Agreement entered into as of the day and year first written above.

CONSTRUCTION MANAGER

OWNER
DEER MObrtetol LAA ~~

 

 

 

 

ATA Gocument Al21™¢Me - 2003 and AGC Document 565. Copyright © 1991 and 2003 by The Ameyican Institute of Architecta and The Asseciated
Generel Contractors of America. All righte xeservad. WARNING: Thie document ia protected by 0.8. Copyright Law and International Treaties.
Unauthorized reproduction or distribution of this documant, or any Portion of it, may result le severe civil and criminal penalties, and
will] be prosecuted to the maximum extent possible tnder the Raw. This document was produced by AIA softwere at 11144735 on 02/09/7009
undex Order No.1000385170_1 which expires on 1/19/2010, and ia sat for resale.

Veer Hates: {286361 8915)
